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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
    UNITED STATES SECURITIES                       )
    AND EXCHANGE COMMISSION,                       )
                                                   )
                         Plaintiff,                )      Civil Action No. 18-cv-5587
                                                   )
    v.                                             )      Hon. John Z. Lee
                                                   )
    EQUITYBUILD, INC., EQUITYBUILD                 )      Magistrate Judge Young B. Kim
    FINANCE, LLC, JEROME H. COHEN,                 )
    and SHAUN D. COHEN,                            )
                                                   )
                         Defendants.               )
                                                   )

                         RECEIVER’S SEVENTH STATUS REPORT
                                  (First Quarter 2020)

         Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Docket

No. 16), as supplemented by Order entered March 14, 2019 (Docket No. 290) and Order entered

February 21, 2020 (Docket No. 634) (collectively, the “Receivership Defendants”), and pursuant

to the powers vested in him by Order of this Court, respectfully submits this Seventh Status Report

for the quarter ending March 31, 2020.1




1
  The deadline for filing this status report was extended by the General Orders issued by Chief
Judge Rebecca Pallmeyer to July 16, 2020 (see Docket Nos. 662, 678, and 689). The Receiver is
nevertheless submitting the report in order to provide the information sooner, and intends to file
future status reports according to the original schedule described in the Order Appointing Receiver,
irrespective of the COVID-19 extension orders that have reset those dates.
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I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         The Receiver, together with his legal counsel, Rachlis Duff & Peel, LLC (“RDP”),

accountants BrookWeiner, LLC (“BrookWeiner”) and Whitley Penn LLP (“Whitley Penn”),

forensic consultant Prometheum Technologies, Inc. (“Prometheum”), asset management and real

estate brokerage services provider SVN Chicago Commercial, LLC (“SVN”), and claims

administration service provider Axos Fiduciary Services (“Axos”), have undertaken, without

limitation, the following activities since the submission of his Sixth Status Report (Docket No.

624):

         a.     Identification and Preservation of Assets

         Since the filing of his Sixth Status Report, the Receiver continued using reasonable efforts

to determine the nature, location, and value of all property interests of the Receivership

Defendants, including monies, funds, securities, credits, effects, goods, chattels, lands, premises,

leases, claims, rights, and other assets, together with all profits, interest, or other income

attributable thereto, of whatever kind, which the Receivership Defendants owned, possessed, had

a beneficial interest in, or controlled directly or indirectly.

         At the end of the First Quarter 2020, there were 95 properties in the Receivership Estate,

including 93 properties in the Chicago area, one in Houston, Texas, and one in Naples, Florida.2

This does not include a property in Plano, Texas, that Defendant Shaun Cohen has used at times

as a residence. The Receiver’s primary focus has been and continues to be the preservation,




2
 There were 116 properties in the Receivership Estate at the inception of the Receivership, which
did not include the single-family home that was confirmed as a Receivership Asset. (See Docket
No. 603) The Receiver sold six properties in the second quarter of 2019, eleven properties in the
fourth quarter of 2019, and two properties in the first quarter of 2020. In addition, six properties
have been sold since March 31, 2020, or are scheduled to close in May 2020.


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operation, maintenance, and sale of the properties within the Receivership Estate, as well as the

implementation and handling of claims administration.

         As previously stated, the Receiver, in connection with his counsel, asset manager/real

estate broker, and property managers, continues to plan for cash flow needs at underperforming

properties, to control and minimize expenditures where possible, and to address health, safety, and

other essential needs at each property. To that end, the Receiver and his counsel have regularly

communicated with the property managers to address operational and cash needs. The Receiver

and his retained professionals also have reviewed monthly financial reporting and analyzed the

cash position of the Estate. In consultation with his asset managers, the Receiver has assessed the

prudence and necessity of property maintenance and repair work. Consistent with the Liquidation

Plan filed with the Court (Docket No. 166), the Receiver remains committed, in accordance with

the advice of his retained professionals, the property managers, and asset management consultants,

and subject to availability of funds, to undertake capital improvements needed to address health

and safety concerns, cure building code violations, or yield increases in occupancy that would

drive commensurate increases in property value.3

         The Receiver has also made substantial payments of delinquent 2018 property taxes. Since

the filing of the January 30, 2020 status report (Docket No. 624), the Receiver has paid

$375,587.84 in real estate taxes in Cook County, Illinois and Harris County, Texas. See Exhibit

1. Additionally, the Receiver continues to pay delinquent real estate taxes at the closings of the




3
  Because most purchasers of properties from the EquityBuild portfolio have made substantial
post-closing property improvements and have demonstrated a willingness to pay higher prices for
properties that are not encumbered by leases, the Receiver intends not to enter into or renew any
additional leases from and after June 18, 2020.


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sales of receivership properties. As of March 31, 2020, however, delinquent 2018 property taxes

across the portfolio totaled $313,190.24.

       Through an auction process that commenced on May 4, 2018, the delinquent 2016 Cook

County property taxes assessed against 431 E 42nd Place (a parcel of vacant land the Receiver

discovered in the third quarter of 2019) were sold to a third-party investor. The Receiver expects

to convey the property by public sale and pay the redemption cost (approximately $4,100) before

the November 9, 2020 deadline imposed by the county.

       The Receiver is maintaining casualty and liability insurance for all assets in the portfolio

and paid $105,976 in insurance premiums during the First Quarter 2020. The cost of maintaining

this insurance decreases, however, with each conveyance. Additionally, the Receiver expects to

obtain a partial refund of the annual insurance premium paid on the Naples property (Jerry Cohen's

personal residence) in the approximate amount of $1,594.77 due to the sale of that property during

the second quarter of 2020.

       b.      Property Sales

       The sales of two receivership properties closed during the First Quarter 2020. The sale of

8047-55 S Manistee Avenue, which was confirmed by the Court on January 17, 2020 (Docket No.

616), closed on February 5, 2020, generating net proceeds of $867,058.48. The sale of 701 S 5th

Avenue, which was confirmed by the Court on October 15, 2019 (Docket 545), closed on March

31, 2020, generating net proceeds of $520,541.83. Consistent with the Court’s orders approving

these sales, the Receiver segregated the net proceeds into separate subaccounts. (Docket Nos. 615,

616)

       On November 25, 2019, the Receiver filed a motion to sell the property at 1050 8th

Avenue N (Docket No. 589) to which Defendant Jerome Cohen objected (Docket No. 593). During




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the First Quarter 2020, the Court overruled Cohen’s objection, granted the motion, appointed three

appraisers, and allowed the Receiver to sell the property by private sale. (Docket No. 612) On

March 2, 2020, following a due diligence review by the purchaser, the Receiver entered into an

amended contract for sale, and then, on March 6, 2020, moved to confirm the sale of the property.

(Docket No. 649). The Court granted the motion on April 2, 2020 (Docket No. 683), and the

closing occurred on April 24, 2020.

       On January 24, 2020, the Receiver filed a Sixth Motion For Court Approval Of The Process

For Public Sale Of Real Estate By Sealed Bid, seeking leave to market and solicit bids for 36

multifamily properties. (Docket No. 618) Certain institutional lenders jointly filed objections, but

those objections did not relate to ten of the properties subsumed within the motion, and, to that

extent, the Court granted the motion in part on February 21, 2020 (Docket No. 635), authorizing

the Receiver to market and conduct sealed bid public sales of the following assets:

       •   7300-04 South St. Lawrence Avenue, Chicago, Illinois 60706
       •   7760 South Coles Avenue, Chicago, Illinois 60649
       •   8000 South Justine Street, Chicago, Illinois 60620
       •   8107-09 South Ellis Avenue, Chicago, Illinois 60619
       •   8209 South Ellis Avenue, Chicago, Illinois 60619
       •   8214-16 South Ingleside Avenue, Chicago, Illinois 60619
       •   1700-08 West Juneway Terrace, Chicago, Illinois 60626
       •   5450-52 South Indiana Avenue, Chicago, Illinois 60615
       •   6437-41 South Kenwood Avenue, Chicago, Illinois 60637
       •   11117-11119 South Longwood Drive, Chicago, Illinois 60643

       The Receiver advertised the public sale of the foregoing properties for four consecutive

weeks between February 27 and March 19, and set March 31, 2020 as the deadline to submit offers.

After selecting the highest and best bids, the Receiver moved to confirm the sales of these

properties on May 11, 2020. (Docket No. 690)

       Meanwhile, briefing on the motion continued with respect to the remaining 26 properties,

with the Receiver filing a reply on March 6, 2020. (Docket No. 651) On March 26, 2020, however,


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certain institutional lenders filed a motion (Docket No. 668) attempting to delay the Court’s ruling

indefinitely and stay all further efforts to sell the remaining properties subsumed within the motion

in light of the COVID-19 pandemic.

       On March 31, 2020, the Court granted the remainder of the motion, authorizing the

Receiver to market and conduct sealed bid public sales of the following 26 properties:

       •   4611-17 South Drexel Boulevard, Chicago, Illinois 60653
       •   6217-27 South Dorchester Avenue, Chicago, Illinois 60637
       •   6250 South Mozart Street, Chicago, Illinois 60629
       •   7255-57 South Euclid Avenue, Chicago, Illinois 60649
       •   2736-44 West 64th Street, Chicago, Illinois 60629
       •   4317-19 South Michigan Avenue, Chicago, IL 60653
       •   6355-59 South Talman Avenue, Chicago, Illinois 60629
       •   6356 South California Avenue, Chicago, Illinois 60629
       •   7051 South Bennett Avenue, Chicago, Illinois 60629
       •   7201-07 South Dorchester Avenue, Chicago, Illinois 60619
       •   7442-48 South Calumet Avenue, Chicago, Illinois 60619
       •   7508 South Essex Avenue, Chicago, Illinois 60649
       •   7701-03 South Essex Avenue, Chicago, Illinois 60649
       •   7953-59 South Marquette Road, Chicago, Illinois 60617
       •   816-20 East Marquette Road, Chicago, Illinois 60621
       •   1422-24 East 68th Street, Chicago, Illinois 60637
       •   2800-06 East 81st Street, Chicago, Illinois 60617
       •   4750 South Indiana Avenue, Chicago, Illinois 60615
       •   5618-20 South Martin Luther King Drive, Chicago, Illinois 60637
       •   6558 South Vernon Avenue, Chicago, Illinois 60637
       •   7840-42 South Yates Avenue, Chicago, Illinois 60649
       •   3074 East Cheltenham Place, Chicago, Illinois 60649
       •   7201 South Constance Avenue, Chicago, Illinois 60649
       •   1131-41 East 79th Place, Chicago, Illinois 60619
       •   7024-32 South Paxton Avenue, Chicago, Illinois 60649
       •   4533-47 South Calumet Avenue, Chicago, Illinois 60653

       The Receiver is currently listing half (13) of the above properties for sale. In connection

therewith, and among other promotional efforts, the Receiver is advertising these properties for

public bid for four consecutive weeks in May 2020, with a June 3, 2020 deadline for the submission

of offers. The Receiver hopes to be able to move to confirm the sale of these properties by the end



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of the second quarter of 2020 or early in the third quarter. The Receiver is also working to list the

remaining properties for sale shortly thereafter.

       On March 3, 2020, the Receiver filed his Seventh Motion For Court Approval Of The

Process For Public Sale Of Real Property By Sealed Bid, seeking approval to list a portfolio of 37

single-family residences that contain four dwelling units or less. (Docket No. 645) The Court

granted the motion on April 2, 2020 (Docket No. 682), authorizing the Receiver to market the

following portfolio of properties:

       •   1017 West 102nd Street, Chicago, IL 60643
       •   1516 East 85th Place, Chicago, IL 60619
       •   2136 W 83rd Street, Chicago, IL 60620
       •   417 Oglesby Avenue, Chicago, IL 60409
       •   7922 S Luella Avenue, Chicago, IL 60617
       •   7925 S Kingston Avenue, Chicago, IL 60617
       •   7933 S Kingston Avenue, Chicago, IL 60617
       •   8030 S Marquette Avenue, Chicago, IL 60617
       •   8104 S Kingston Avenue, Chicago, IL 60617
       •   8403 S Aberdeen Street, Chicago, IL 60620
       •   8405 S Marquette Avenue, Chicago, IL 60617
       •   8529 S Rhodes Avenue, Chicago, IL 60619
       •   8800 S Ada Street, Chicago, IL 60620
       •   9212 S Parnell Avenue, Chicago, IL 60620
       •   10012 S LaSalle Avenue, Chicago, IL 60628
       •   11318 S Church Street, Chicago, IL 60643
       •   3213 S Throop Street, Chicago, IL 60608
       •   3723 W 68th Place, Chicago, IL 60629
       •   406 E 87th Place, Chicago, IL 60619
       •   61 E 92nd Street, Chicago, IL 60619
       •   6554 S Rhodes Avenue, Chicago, IL 60637
       •   6825 S Indiana Avenue, Chicago, IL 60637
       •   7210 S Vernon Avenue, Chicago, IL 60619
       •   7712 S Euclid Avenue, Chicago, IL 60649
       •   7953 S Woodlawn Avenue, Chicago, IL 60619
       •   8107 S Kingston Avenue, Chicago, IL 60617
       •   8346 S Constance Avenue, Chicago, IL 60617
       •   8432 S Essex Avenue, Chicago, IL 60617
       •   8517 S Vernon Avenue, Chicago, IL 60619
       •   2129 W 71st Street, Chicago, IL 60636
       •   9610 S Woodlawn Avenue, Chicago, IL 60628


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         •    5437 S Laflin Street, Chicago, IL 60609
         •    6759 S Indiana Avenue, Chicago, IL 60637
         •    1401 W 109th Place, Chicago, IL 60643
         •    310 E 50th Street, Chicago, IL 60615
         •    6807 S Indiana Avenue, Chicago, IL 60637
         •    1414-18 E 62nd Place, Chicago, IL 60637

         In December 2019, the Receiver listed for sale the property at 1102 Bingham (a parcel of

land in Houston, Texas, containing a single-family home and six adjacent vacant lots), and that

property remains on the market as of the time of this filing.

         The Receiver has been unable to resolve a lien dispute that precludes the filing of a motion

to confirm the sale of 7237-43 South Bennett, which remains under contract. Unless the dispute

can be resolved with the property manager asserting the lien, the Receiver intends to file a motion

to adjudicate the validity and priority of the lien.

         c.       Code Violations and Property Damage

         A number of properties in the portfolio have been cited for building code and other alleged

violations of local law. The Receiver and his counsel continue to work closely with the property

managers, who are all working with the appropriate representatives of the City to remedy all

alleged violations, to address life and safety issues, and to preserve the respective properties.

         During the First Quarter 2020, the Receiver or former EquityBuild counsel were served

with 26 new notices of violation issued by various departments of City of Chicago.4 The Receiver’s

counsel appeared in administrative court on these matters on 12 occasions during the First Quarter

2020, and the Receiver directed the property managers to pay judgments or fines in 19 of those


4
  These violations are not the product of inattentiveness by the property managers, but, rather,
appear as an effort by the City of Chicago to target EquityBuild properties, stemming from pre-
receivership delinquencies. A substantial number of the alleged violations are minor in nature, and,
because the City has not consistently complied with the Receiver’s requests to receive direct
notice, the Receiver at times has not received notice of the alleged violations until after a default
judgment has been entered.


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actions during the quarter. Overall, the Receiver achieved dismissal of 23 administrative

proceedings filed by the City of Chicago during the First Quarter 2020.

       As of March 31, 2020, there remained 24 known pending City of Chicago matters

involving code violations. These included nine pending City of Chicago municipal housing court

matters, 14 pending City of Chicago administrative proceedings filed by the Buildings

Department, and 1 pending administrative proceeding filed by the Department of Sanitation.

       On January 16, 2020, there was an arson incident at 7210 S. Vernon, one of the properties

in the single family home portfolio. There were no injuries but damage was sustained to the roof,

common areas, and bedrooms. The tenants needed to be relocated and the property was secured

and winterized. As the repairs appeared likely to be within the deductible for the property, and the

property is expected to be marketed and sold as soon as can be achieved within the single family

home portfolio, the property remains secured and will be until it is sold. On February 9, 2020,

there was a fire at the 35-unit building located at 7749 S. Yates. Reports to the Receiver reflect

that it was started accidentally by a member of the tenant’s family. The damage was primarily to

one unit and extending to the unit above. As the property was already under contract for sale,

following inspections the parties negotiated a $150,000 credit at closing to account for the damage

to the property.

       d.      Financial Reporting and Rents Restoration

       In accordance with the February 13, 2019 Order (Docket No. 223), the Receiver continues

to provide institutional lenders with monthly accounting relating to rents generated by, and

expenses incurred in connection with, the 89 properties on which they assert liens. To that end,

monthly reports have been sent to lenders’ counsel covering the periods ending March 31, 2019,




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through February 29, 2020.5 Reports for each property include the following information: (a) net

operating income, (b) expenditures made by the Receiver for the benefit of the property (primarily

for insurance, real estate taxes, and funds sent to the property manager to cover expenses not

payable through operating income), (c) net income distributed to the Receiver or to other property

accounts from which funds were previously borrowed, and (d) a computation of the amount (if

any) of rentals remaining to be restored to the property pursuant to the February 13, 2019 Order.

(Docket No. 223) Each report also includes a computation of the cumulative amount (if any)

reimbursable from each property, representing the amount that has been expended for the benefit

of the property from sources other than its operating income.

       The total amount of rent to be restored pursuant to the Court’s February 13, 2019 order

was $767,192.75. This amount had been reduced to $415,099.79 as of February 29, 2020

(reporting for the month of March 2020 has not been finalized).6 As of February 29, 2020, the

aggregate amount reimbursable from properties (calculated as described in the preceding

paragraph) was approximately $2,375,000, which exceeds the amount of remaining rent

restoration due by more than $1.9 million. The Receiver anticipates filing a motion in the second

quarter of 2020 that is similar to the motion filed with respect to 6160 S Martin Luther King (see

Docket No. 460), seeking the Court’s approval to use proceeds from the sale of those properties

on which the Receiver expended funds in excess of rents (a) for the purpose of rent restoration in

accordance with the Court’s Order of February 13, 2019, and (b) to reimburse the Receivership

for any remaining reimbursable amount in excess of such rent restoration.



5
  Beginning in September 2019, the Receiver and his counsel also began generating monthly
reports for properties not encumbered by institutional debt.
6
  The Receiver’s Sixth Status Report, filed January 30, 2020, estimated that approximately
$404,000 remained to be restored as of December 31, 2019. This figure has since been corrected
to $445,717.06.


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       e.      Other Receivership Assets

       The Receiver continues to evaluate whether certain non-Illinois properties are or should be

considered Receivership assets and thus subsumed within the Estate. These include properties that

have or may have been purchased with EquityBuild investor funds. Based on evidence gathered

to-date, and as stated in previous status reports, these include without limitation, various properties

in Plano, Texas, and Jackson, Mississippi. Moreover, as indicated in prior status reports, Shaun

Cohen and Jerome Cohen each own a life insurance policy. (Docket Nos. 107 at 16, 258 at 14, &

348 at 13)

       f.      Open Litigation

       During the First Quarter 2020, the Receiver – working with his counsel and counsel for

WPD Management counsel – finalized the settlement, release, and dismissal of the matter

captioned Hudson v. WPD Management, et al., Case No. 19 M1 40154, Circuit Court of Cook

County, First Municipal Division.

       The matter captioned Foley v. EquityBuild, Inc., Case No. 16 L 8903, Circuit Court of

Cook County, is scheduled for mediation on June 10, 2020.

       During the First Quarter 2020, the Receiver—working with his counsel and insurance

counsel—completed written discovery in the matter captioned Barnes v. EquityBuild, et al., Case

No. 19 L 7852, Circuit Court of Cook County. The Plaintiff’s deposition has not been scheduled

due to the interruptions caused by the COVID-19 outbreak.

       Oral discovery was proceeding in the matter captioned Byrd v. EquityBuild et al., Case No.

18 L 1993, Circuit Court of Cook County, but depositions did not proceed due to witness

unavailability and the COVID-19 outbreak.           Plaintiff’s counsel has not agreed to remote

depositions, and, accordingly, the September 2020 trial date has been continued by agreement.




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       g.      Notice of Appointment of Receiver

       The Receiver continued his efforts to notify all necessary and relevant individuals and

entities of the appointment and to protect and preserve the assets of the Receivership Estate. To

that end, as they are identified, the Receiver continues to deliver notices to individuals or entities

that have been identified as potentially possessing property, business, books, records, or accounts

of the Receivership Defendants, or who may have retained, managed, held, insured, or

encumbered, or otherwise been involved with, any of the assets of the Receivership Defendants.

       h.      Investor Communications

       The Receiver has provided numerous resources to keep claimants informed. To provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-

equitybuild) for claimants and other interested parties to obtain information and certain court

filings related to the Receivership Estate. A copy of this Status Report will be posted thereon.

       Court filings and orders are also available through PACER, which is an electronic filing

system used for submissions to the Court. Investors and others seeking court filings and orders

can visit www.ilnd.uscourts.gov for information about accessing filings through PACER.

       Beyond those avenues, the Receiver continues to receive and respond to numerous emails

and voicemails from claimants and their representatives.         The Receiver and his staff have

responded to several hundred such inquiries during the First Quarter 2020, in addition to numerous

oral and other written communications. The Receiver will continue to work to ensure that

information is available and/or otherwise provided as quickly and completely as practicable, asks

all stakeholders and interested parties for patience during this lengthy process, and reiterates that

responding to individual inquiries depletes Receivership assets. The quarterly status reports and




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the Receiver’s other court filings remain the most efficient means of communicating information

regarding the activities of the Receivership Estate.

        i.      Control of Receivership Property and Records

        The Receiver has continued efforts to locate and preserve all EquityBuild property and

records. The Receiver is maintaining three platforms of records and data, and also is investigating

a potential service for hosting the records in a database that the Receiver and his staff can use to

investigate and respond to inquiries. The Receiver anticipates filing a motion with the Court to

seek approval for engaging a hosting service in the second quarter of 2020.

        j.      Securing Bank and Investment Accounts

        The Receiver notified, contacted, and conferred with the banks and other financial

institutions identified as having custody or control of funds, accounts, or other assets held by, in

the name of, or for the benefit of, directly or indirectly, the Receivership Defendants. The Receiver

is still pursuing records from certain institutions.

        k.      Factual Investigation

        The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild principals,

to whose email accounts the Receiver has access; (ii) bank records from EquityBuild and its

affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based and other electronic

media, plus a limited number of hard copy records); (iv) available underlying transaction

documents received to-date from former Chicago-based EquityBuild counsel; and (v) files

produced by former EquityBuild counsel, accountants, and employees.




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       l.      Tax Issues

       The Receiver informed investors by letter dated September 21, 2018, that he cannot provide

advice on tax matters. Moreover, the Receiver and his retained professionals do not plan to issue

1099-INT’s. With respect to valuation, loss, or other tax issues, investors and their tax advisors

may wish to seek independent tax advice and to consider IRS Rev. Proc. 2009-20 and IRS

Rev. Rul. 2009-9.

       Whitley Penn was retained to prepare income tax returns for EquityBuild and its affiliates

for the tax years 2016 and 2017. Whitley Penn has indicated that it is working to prepare and file

tax returns for 32 entities.7 Twelve entities were previously classified by Whitley Penn as having

an undetermined tax filing status, but based on further information from former EquityBuild

employees, Whitley Penn determined these entities have no filing requirement.8 As to the entities

for which a return is being prepared, Whitley Penn has compiled income and expense reports for

a majority of them. Whitley Penn states that loan balances, escrow balances, and property

management statements that are needed to accurately report balance sheet activity for these entities

have been provided by the Receiver.




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  These thirty two entities are 11318 S Church St Associates, 1401 W 109th Associates, 1516 E
85th Pl Associates, 4750 Indiana LLC, 4755 S Saint Lawrence Associates, 526 W 78th LLC, 6759
S Indiana Associates, 6807 S Indiana Associates, 8809 S Wood Associates, 1700 W Juneway LLC,
4533-37 S Calumet LLC, 5450 S Indiana LLC, 7749-59 S Yates LLC, South Side Development
Fund 1 LLC, South Side Development Fund 4 LLC, South Side Development Fund 5 LLC, SSDF1
Holdco 2 LLC, SSDF2 Holdco 3 LLC, SSDF3 Holdco 1, SSDF4 Holdco 1 LLC, SSDF4 Holdco
2 LLC, SSDF4 Holdco 3 LLC, SSPH Portfolio 1 LLC, EquityBuild Inc., 3400 Newkirk LLC,
South Side Development Fund 3 LLC, SSDF1 Holdco 1 LLC, SSDF2 Holdco 1, SSDF3 Holdco
2 LLC, SSDF5 Holdco 1 LLC, SSPH Holdco 1, and SSDF2 Holdco 2 LLC.
8
  These twelve entities are 1422 E 68th LLC, 7107-29 S Bennett LLC, 7823 Essex LLC, EB South
Chicago 1 LLC, EB South Chicago 1 Manager LLC, EB South Chicago 2 LLC, SSDF2 Holdco 2
LLC, SSDF5 Holdco 2 LLC, SSPH Holdco 2 LLC, 1632 Shirley LLC, 8217 Dorchester LLC, and
Hybrid Capital Fund LLC.


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       Additionally, BrookWeiner was retained to perform accounting, tax, and related work in

connection with the accounting for ongoing business operations of the Receivership

Defendants. BrookWeiner has compiled monthly property statements and property spreadsheets

and assisted with cash flow analysis matters.

       m.      Accounts Established by the Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash proceeds from the sale of the Receivership property. The interest-bearing checking

account is used by the Receiver to collect liquid assets of the Estate and to pay portfolio-related

and administrative expenses. The Receiver also established separate interest-bearing accounts to

hold funds from the sale of real estate, as directed by Court order, until such time as it becomes

appropriate to distribute such funds, upon Court approval, to the various creditors of the Estate,

including but not limited to the defrauded investors or lenders. Attached as Exhibit 2 is a schedule

reflecting the balance of funds in these property specific accounts as of March 31, 2020.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the First Quarter 2020

is attached hereto as Exhibit 3. The SFAR discloses the funds received and disbursed from the

Receivership Estate during this reporting period. As reported in the SFAR, cash on hand as of

March 31, 2020 equaled $335,196.50, exclusive of the proceeds from the sale of the Naples

property and $50,000 in earnest money recovered from a title company. The information reflected

in the SFAR is based on records and information currently available to the Receiver. The Receiver

and his advisors are continuing with their evaluation and analysis.




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III.      RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

          The Receiver’s Schedules of Receipts and Disbursements (“Schedule”) for the First

Quarter 2020 are attached hereto as Exhibit 4.           These Schedules in the aggregate reflect

$1,403,989.17 in total receipts and $1,073,610.39 in total disbursements.

IV.       RECEIVERSHIP PROPERTY

          All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 5. A list of real estate within the Receivership Estate was also included

in his First Status Report. (See Docket No. 107, Exhibit 1)

          The Master Asset List identifies 53 checking accounts in the names of the affiliate entities

identified as Receivership Defendants, reflecting transfers of $105,870.94 to the Receiver’s

account. (See also Docket No. 348 at 23-24 for additional information relating to these funds.)

          The Master Asset List does not include funds received or recovered after March 31, 2020.

Nor does it include assets and potentially recoverable assets for which the Receiver is still

evaluating the value, potential value, and/or ownership interests. The Receiver is in the process of

evaluating certain other types of assets that may be recoverable by the Receivership Estate,

including but not limited to charitable donations, loans, gifts, settlements for which payment has

not yet been received, and other property transferred to family members, former employees, and

others.

V.        LIQUIDATED AND UNLIQUIDATED CLAIMS HELD BY THE RECEIVERSHIP
          ESTATE

          The Receiver and his attorneys are analyzing and identifying potential claims, including,

but not limited to, potential fraudulent transfer claims and claims for aiding and abetting the fraud

of the Receivership Defendants.




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VI.    CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

       As previously reported to the Court, the Receiver intends to implement a claims resolution

process that is fair, efficient, and comprehensive, and that provides finality and certainty for all

claimants. To that end, the Receiver participated in discussions with the Court and interested

parties in late 2019 to consider and decide upon a process for the fair and efficient resolution of

disputed claims. Part of those discussions involved ways to provide access to information through

a document repository to streamline the handling of claims, to litigate priority disputes, and to

manage discovery related matters.

       On February 28, 2020, the Receiver filed a Motion for Approval of Process for Resolution

of Disputed Claims (Docket No. 638), which proposed a process to resolve the claims against

properties with both investor lender and institutional debt. Although the Court initially entered a

briefing schedule requiring objections to be filed on March 23, 2020, and replies to objections on

April 6, 2020, these deadlines have since been extended as a result of the COVID-19 pandemic.

Subsequent general orders of the District Court have extended the deadline for objections to June

8, 2020, and the deadline for the Receiver’s reply to June 22, 2020. No ruling date has been

established.

       The Receiver attached as Exhibit 1 to the foregoing motion a partial and updated version

of the exhibit initially introduced in the October 15, 2019 status report on claims (Docket No. 548),

listing on a property-by-property basis—for those properties with institutional debt only—the

following information about each individual claim: (i) claimant name, (ii) total amount claimed,

(iii) claimant category, and (iv) the amount loaned or invested in the particular property (where it

could be determined from the face of the claim form). (Docket 638 at Ex. 1) The Receiver has

continued to work on the accuracy and completeness of its records regarding submitted claims.




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Because the claims vendor was unable to automatically extract data correctly from the claim forms

in many instances—for example where investors rolled proceeds into new investments—the

Receiver, his counsel, and his claims vendor manually reviewed each of the nearly 2400 individual

claims in an effort to improve the accuracy and completeness of these records.9 This review was

completed in early May and resulted in numerous updates and the creation of a comprehensive

exhibit (the “Master Claims Exhibit”) of all claims that were submitted.

       On May 20, 2020, the Receiver gave notice of filing two amended exhibits to the pending

Claims Process Motion (Docket No. 693). The first amended exhibit updated the Receiver’s list

of claims against those properties with institutional debt, which were set forth in Exhibit 1 to the

Claims Process Motion. The Receiver also filed an amended proposed confidentiality order (to

replace the one that had been submitted as Exhibit 3 to the Claims Process Motion), in order to

address comments and feedback received on the proposed confidentiality order received from

counsel for one of institutional lenders and the SEC.

       For properties in the Receivership Estate that are encumbered exclusively by investor-

lender mortgages with no institutional debt, the Receiver anticipates filing a separate motion to

address any issues relating to the claims associated with those properties. (See Docket 638, ¶ 23.)

The Receiver also has broached the possibility of requesting a referral to the Magistrate Judge for

settlement purposes to address issues regarding properties encumbered exclusively by institutional

lender debt. Id.




9
  Because many of the Proof of Claim (“POC”) forms submitted to the Receiver included claims
against more than one property, and many claimants submitted more than one POC for the same
claims, the most accurate measure of the total number of claims is the number of unique claims
against a particular property or fund, which total nearly 2400. About 165 of these claims, however,
are asserted against properties that are not part of the Receivership Estate, because they were sold
or otherwise disposed of before the Order Appointing Receiver was entered.


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       Multiple claimant inquiries received after the Claims Process Motion addressed the fact

that only certain properties (those with institutional debt) were listed on Exhibit 1 to the Claims

Process Motion. In an effort to provide information as to properties that did not appear on that

previously filed exhibit, the Receiver has attached as Exhibit 6 hereto a copy of the Master Claims

Exhibit that includes claims against all properties in the Receivership Estate, as well as against

equity funds created by the Defendants and claims against properties that that appear to have been

sold or otherwise disposed of prior to the establishment of the Receivership.

       Since the filing of the Claims Process Motion, the Receiver’s current claims portal vendor,

Axos, has worked to organize the claim forms and supporting documentation that claimants have

submitted to the Receiver on a property-by-property basis, so that once the process and

confidentiality order are approved by the Court, these folders can be exported and hosted in a

claims document repository to which competing claimants will be granted access consistent with

Court orders.

       The identification and compilation of claims submitted in this matter has been

extraordinarily complex and time-consuming due to the unique circumstances and facts in this

case. For example, it appears that in many instances anticipated proceeds of investor-lender loans

rolled into new offerings rather than being paid off at maturity. It also appears that in some

circumstances the mortgages securing loans may have been released without investor-lenders’

knowledge or consent, allowing the Defendants to refinance the properties with new loans without

retiring the existing loans. Moreover, some investor-lenders may have been induced to exchange

secured loans for unsecured loans or equity positions through false representations. Additionally,

claims against many properties are complicated by cross-collateralized mortgages.




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        The claims process has also been complicated by, among other things: (i) improperly

completed proofs of claim, (ii) claims relating to properties that were conveyed to third parties

prior to the establishment of the Receivership; and (iii) claims lacking reference to properties, or

relating solely to what appear to be equity investment vehicles.

        Accordingly, despite the claims review and analysis undertaken to date, and the Receiver’s

good faith belief that the Master Claims Exhibit accurately reflects the claims that have been

submitted, the Receiver has not yet been able to review all of the documents submitted with each

claim form, and thus makes no conclusions or recommendations to the Court or to the claimants

as to the validity, certainty, eligibility, or priority of any particular claim at this time.

        Claimants and interested parties are encouraged to review the Master Claims Exhibit and

promptly notify the Receiver of any errors, omissions, or inaccuracies with respect to the

information set forth therein.

        All claimants have the responsibility to ensure that the Receiver at all times has current and

up-to-date contact information so that the Receiver may provide important information relating to

the claims process, the claimant’s claim, or the Receivership Estate. Claimants may provide

changes to or updated contact information to the Receiver at equitybuildclaims@rdaplaw.net.

VII.    PROFESSIONAL FEES AND EXPENSES

        As of March 31, 2020, there were $479,912.64 in unpaid professional fees and expenses

that had been previously approved by the Court. In addition, there are pending fee applications

before the Court for the third and fourth quarters of 2019 in the total of amount of $779,471.3310

for all professionals. While the Receiver believes it is likely the Receivership Estate would have



10
  This amount has been reduced from the total amount reflected in the fee application for the
fourth quarter of 2019 to account for Roetzel & Andres, real estate counsel in Naples, Florida,
being paid out of sale proceeds at the closing on sale of the Naples property.


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 funds sufficient to pay these fees and expenses11, he has requested that claims-related fees and

 expenses be paid pursuant to a receiver’s lien against the properties in the Estate and/or from the

 proceeds of sales of properties which are the subject of each phase of the proceedings as outlined

 in the Claims Process Motion and anticipates subsequent filings requesting a receiver’s lien for

 other fees and expenses. The Receiver believes that this approach is the most fair and equitable

 manner to spread the administrative costs of the Receivership across the Estate and corresponds to

 the efforts that have been and will be required to preserve, maintain, and liquidate the real estate

 assets of the Estate and implement the claims process to determine who is entitled to distributions

 from the proceeds of property sales or from the general assets of the Estate.12

 VIII. CONCLUSION

         At this time, the Receiver recommends the continuation of the Receivership for at least the

following reasons:

         1.     Preservation, maintenance, and operation of the assets in the Receivership Estate;

         2.     The continued investigation and analysis of current assets and potentially

 recoverable assets for which the Receiver is still evaluating the value, potential value, and/or

 ownership interests;




 11
    Sources of such funds include but are not limited to recovered funds, net proceeds of the sale of
 the Naples property, equity in excess of debt in properties sold and to be sold, proceeds of
 previously sold properties that did not have recorded liens, funds returned to the Receiver’s
 account from properties for which expenses were paid out of the Receiver’s account in order to
 preserve and maintain them, and claims the Receiver is evaluating and may bring.
 12
    The date for filing the fee application for the first quarter of 2020 was originally May 15, 2020,
 but was extended by the first three General Orders so that it is now due by July 31, 2020. (See,
 e.g., Docket No. 689.) The Receiver is working on the first quarter fee application at present and
 plans to file it before the current deadline. Furthermore, as with future status reports, the Receiver
 intends to file fee applications according to the original schedule described in the Order Appointing
 Receiver, irrespective of the COVID-19 extension orders that have reset those dates.


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       3.      The continued efforts of the Receiver to dispose of            various assets of the

Receivership Estate on the best possible terms;

       4.      The continued investigation and analysis of the potential claims against the

Receivership Estate, including, but not limited to, the claims and records of investors;

       5.      The continued investigation, analysis, and recovery of potential fraudulent transfer

claims and claims against third parties;

       6.      The continued analysis and formulation, in consultation with the SEC and the

Court, of a just and fair distribution plan for the creditors of the Receivership Estate; and

       7.      The discharge of any other legal and/or appointed duties of the Receiver as

identified in the August 17, 2018 Order Appointing Receiver, or as the Court deems necessary.


Dated: May 28, 2020                                    Kevin B. Duff, Receiver

                                               By:     /s/    Michael Rachlis
                                                       Michael Rachlis (mrachlis@rdaplaw.net)
                                                       Rachlis Duff & Peel, LLC
                                                       542 South Dearborn Street, Suite 900
                                                       Chicago, IL 60605
                                                       Phone (312) 733-3950; Fax (312) 733-3952




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                                  CERTIFICATE OF SERVICE

        I hereby certify that I provided service of the foregoing Receiver’s Seventh Status Report,

via ECF filing, to all counsel of record on May 28, 2020.

        I further certify that I caused true and correct copies of the foregoing to be served upon the

following individuals or entities by electronic mail:

        -       Defendant Jerome Cohen (jerryc@reagan.com);

        -       All known EquityBuild investors; and

        -       All known individuals or entities that submitted a proof of claim in this action (sent

                to the e-mail address each claimant provided on the claim form).

        I further certify that the Receiver’s Seventh Status Report will be posted to the

Receivership webpage at: http://rdaplaw.net/receivership-for-equitybuild




                                                        /s/ Michael Rachlis

                                                        Michael Rachlis
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
                                                        Phone (312) 733-3950
                                                        Fax (312) 733-3952
                                                        mrachlis@rdaplaw.net




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                        Exhibit 1
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                                          Exhibit 1
                           Property Taxes Paid First Quarter 2020
                     SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587


        Property Address                                                Tax Payments
        1700-08 W. Juneway                                                 $20,351.11
        7109-19 S. Calumet                                                  $3,057.46
        7109-19 S. Calumet                                                  $3,916.83
        7109-19 S. Calumet                                                  $4,077.72
        9610 S. Woodlawn                                                    $1,615.76
        1401 W. 109th                                                       $1,042.99
        310 E. 50th                                                         $3,428.05
        6250 S. Mozart/2832-36 W. 63rd                                     $13,762.33
        7255-57 S. Euclid/1940-44 E. 73rd                                   $8,368.15
        4317-19 S. Michigan                                                 $5,977.24
        11117-11139 S. Longwood                                            $20,422.00
        5618-20 S. King                                                     $2,127.68
        5618-20 S. King                                                     $5,139.60
        6951 S. Merrill                                                    $14,270.34
        4533 S. Calumet                                                     $3,751.67
        4533 S. Calumet                                                     $3,664.22
        4533 S. Calumet                                                     $3,867.15
        4533 S. Calumet                                                     $3,799.71
        5450 S. Indiana                                                     $5,271.05
        6437 S. Kenwood                                                    $10,049.52
        1017 W. 102nd                                                       $1,298.50
        1516 E. 85th                                                        $1,470.83
        2136 W. 83rd                                                        $1,044.93
        417 S. Oglesby                                                      $2,885.89
        7922 S. Luella                                                      $1,752.65
        7925 S. Kingston                                                    $1,261.89
        7933 S. Kingston                                                    $1,262.00
        8030 S. Marquette                                                   $1,221.80
        8104 S. Kingston                                                    $1,619.67
        8403 S. Aberdeen                                                    $1,528.82
        8405 S. Marquette                                                   $1,329.78
        8529 S. Rhodes                                                      $1,717.98
        8800 S. Ada St                                                      $1,129.87
        9212 S. Parnell                                                       $956.93
        10012 LaSalle                                                       $1,006.92
        11318 S. Church                                                     $1,119.32
        3213 S. Throop                                                      $3,182.38
        3723 W. 68th                                                        $1,799.33
        406 E. 87th                                                         $1,358.48
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        61 E. 92nd                                              $1,119.61
        6554 S. Rhodes                                          $1,628.25
        6825 S. Indiana                                         $1,674.08
        7210 S. Vernon                                          $1,457.76
        7712 S. Euclid                                          $1,837.37
        7953 S. Woodlawn                                        $2,740.63
        8107 S. Kingston                                        $1,398.12
        8346 S. Constance                                       $1,657.70
        8432 S. Essex                                           $1,405.21
        8517 S. Vernon                                          $1,340.34
        2129 W. 71st                                              $823.31
        5437 S. Laflin                                            $741.61
        5437 S. Laflin                                            $333.44
        6759 S. Indiana                                         $1,929.60
        4520 S. Drexel                                         $40,142.16
        4611 S. Drexel                                         $25,888.76
        6217 S. Dorchester                                      $9,949.23
        6217 S. Dorchester                                      $7,959.31
        7024 S. Paxton                                         $20,520.53
        7836 South Shore                                       $14,313.89
        7448 S. Calumet                                         $7,088.01
        2453 E. 75th                                           $13,681.57
        7701 S. Essex                                           $9,406.36
        816 E. Marquette                                        $5,969.40
        1422 E. 68th                                            $3,053.09
        2800-2806 E. 81st                                       $5,016.73
        4750 S. Indiana                                         $3,799.89
        7840 S. Yates                                           $4,991.39
        1102 Bingham                                           $16,811.94
                                      Total                   $375,587.84




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                        Exhibit 2
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                                                         Exhibit 2

                                                SEC v. EquityBuild, Inc., et al.
                                                        No. 18-cv-5587
                            Balances of Funds in Property Specific Accounts as of March 31, 2020


                                                   Account Balance
 Account Number         Account Name                                                  Reason for Change (if any)
                                                (as of March 31, 2020)

0025              7301 S Stewart Ave                         $302,049.05 Post-closing reconciliation by property manager
                                                                         1/3/20, $535.93; interest earned 2/2/20, $339.52;
                                                                         interest earned 3/1/20, $288.40; interest earned
                                                                         3/31/20, $309.32.
0033              5001-05 S Drexel                         $2,662,797.52 Interest earned 2/2/20, $2,993.42; interest earned
                                                                         3/1/20, $2,542.53; interest earned 3/31/20,
                                                                         $2,726/83.
0041              7927-49 S Essex                            $717,890.82 Interest earned 2/2/20, $807.03; interest earned
                                                                         3/1/20, $685.47; interest earned 3/31/20, $735.15.

0058              8100-14 S Essex                           $924,683.91 Interest earned 2/2/20, $1,039.50; interest earned
                                                                        3/1/20, $882.92; interest earned 3/31/20, $946.92.

0066              6160-6212 S King                          $496,876.55 Interest earned 2/2/20, $558.57; interest earned
                                                                        3/1/20, $474.43; interest earned 3/31/20, $508.83.

0108              8047 S. Manistee                          $868,718.34 Property sale closed 2/5/20, $867,058.48; interest
                                                                        earned 3/1/20, $770.25; interest earned 3/31/20,
                                                                        $889.61.
0116              5955 S. Sacramento                        $500,150.73 Interest earned 2/2/20, $562.25; interest earned
                                                                        3/1/20, $477.56; interest earned 3/31/20, $512.18.

0124              6001-05 S. Sacramento                     $381,672.82 Interest earned 2/2/20, $429.07; interest earned
                                                                        3/1/20, $364.43; interest earned 3/31/20, $390.85.

0132              7026-42 S. Cornell                        $948,918.70 Interest earned 2/2/20, $1,066.74; interest earned
                                                                        3/1/20, $906.06; interest earned 3/31/20, $971.74.

0157              7834-44 S. Ellis                         $1,664,777.25 Post-closing reconciliation by property manager
                                                                         1/3/20, $626.03; interest earned 2/2/20, $1,871.44;
                                                                         interest earned 3/1/20, $1,589.59; interest earned
                                                                         3/31/20, $1,704.81.
0199              7625 S. East End                         $1,215,648.16 Interest earned 2/2/20, $1,305.00; interest earned
                                                                         3/1/20, $1,108.43; post-closing reconciliation by
                                                                         property manager 3/2/20, $54,731.87; interest
                                                                         earned 3/31/20, $1,244.88.
0207              7635 S. East End                         $1,124,151.62 Interest earned 2/2/20, $1,222.94; interest earned
                                                                         3/1/20, $1,038.73; post-closing reconciliation by
                                                                         property manager 3/2/20, $36,247.44; interest
                                                                         earned 3/31/20, $1,151,19.
0215              7748 S. Essex                            $1,221,715.31 Interest earned 2/2/20, $1,373.41; interest earned
                                                                         3/1/20, $1,166.53; interest earned 3/31/20,
                                                                         $1,251.10.
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                                                    Exhibit 2

                                           SEC v. EquityBuild, Inc., et al.
                                                   No. 18-cv-5587
                       Balances of Funds in Property Specific Accounts as of March 31, 2020


0223           7750 S. Muskegon                        $600,442.91 Deposit by Receiver of insurance premium refund
                                                                   1/8/20, $9,630.08; interest earned 2/2/20, $665.90;
                                                                   interest earned 3/1/20, $567.83; post-closing
                                                                   reconciliation by property manager 3/2/20,
                                                                   $5,725.07; interest earned 3/31/20, $614.87.


               TOTAL FUNDS HELD:                    $13,630,493.69
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                        Exhibit 3
          Case: 1:18-cv-05587 Document #: 698Exhibit
                                              Filed:305/28/20 Page 31 of 122 PageID #:14725

                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                      Reporting Period 1/1/2020 to 3/31/2020

Fund Accounting (See Instructions):
                                                                             Detail          Subtotal        Grand Total
Line 1        Beginning Balance (As of 1/1/2020):                         $1,303,043.37                      $1,303,043.37
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets¹                                 $15,000.00
Line 4        Interest/Dividend Income                                       $4,647.43
Line 5        Business Asset Liquidation²                                   $84,313.19
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous - Other³                                          $1,802.90
                Total Funds Available (Line 1-8):                                                            $1,408,806.89
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals⁴               ($581,555.13)
   Line 10b Business Asset Expenses⁵                                       ($492,055.26)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                                $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($1,073,610.39)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                     $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
          Case: 1:18-cv-05587 Document #: 698Exhibit
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                   Reporting Period 1/1/2020 to 3/31/2020

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-9):                                                  ($144,679.61)
Line 13         Ending Balance (As of 3/31/2020):                                                 $335,196.50
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                            $335,196.50
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                          $335,196.50

           ¹ Inter-account transfer
           ² Liquidation of Defendants' Wells Fargo accounts
           ³ Refund of overpayment on utilities for sold properties: 6160
           S MLK - $79.62, 7927 S Essex - $128.51; refund on Naples
           property insurance, $1,594.77.
           ² On January 7, 2020 (Dkt. 614), the Court approved the
           Receiver's applications for professional fees for the first and
           second quarters of 2019, totaling $1,046,923.68; these fees
           are a portion of that Court-approved amount; the remainder
           has not yet been paid by the Receiver. On December 20,
           2019, the Receiver filed an application for approval and
           payment of professional fees in the amount of $485,094.92,
           which remains pending before the Court. (Dkt. 608) The
           Receiver plans to file a fee application for the fourth quarter
           of 2019 in mid-February 2020.
Case: 1:18-cv-05587 Document #: 698Exhibit
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       STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                      Receivership; Civil Court Docket No. 18-cv-05587
                         Reporting Period 1/1/2020 to 3/31/2020

 ³ Insurance ($105,976.00); property taxes ($22,415.92);
 property repairs & other expenses ($21,907.06); property
 utilities ($38,120.18); property management expenses
 ($280,131.94); mortgage payments on Naples property
 ($6,954.16); property appraisals ($1,550.00); inter-account
 transfers ($15,000.00): TOTAL $492,055.66.




                                                    Receiver:
                                                                                  /s/ Kevin B. Duff
                                                                    (Signature)

                                                                Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                                    (Printed Name)

                                                        Date:                     May 15, 2020
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                        Exhibit 4
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                                               Exhibit 4

                        EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                        1/1/2020 - 3/31/2020
                               Schedule of Receipts and Disbursements

Beginning Balance
1/1/20                                                                                             $1,303,043.37

RECEIPTS

                                             Received From                      Amount

                                 1/17/2020 Interest                                  $2,326.22

                                  2/2/2020 Interest                                  $1,368.55

                                  3/1/2020 Interest                                      $521.36

                                           Paper Street (refunds on utilities
                                           for sold properties: 6160 S MLK -
                                 3/11/2020 $79.62; 7927 S Essex - $128.51)               $208.13

                                 3/31/2020 Interest                                      $393.46

                                             TOTAL RECEIPTS:                                       $1,307,861.09

DISBURSEMENTS

                                             Paid To                          Amount
                                             First Funding (installment on
                                             premium financing for general
        Wire Transfer             1/6/2020   liability & umbrella insurance)     ($21,735.26)
                                             Paper Street (utilities for 5959
                                             Sacramento, 7201 Constance,
                                             7237 Bennett, 7656 Kingston,
        Wire Transfer             1/6/2020   8000 Justina, 2736 W 64th)          ($12,929.70)
                                             FPL (electric service at Naples
       Online payment             1/6/2020   property)                               ($87.73)
                                             The Appraisal Shoppe, Inc.
               20019              1/8/2020   (appraisal for Naples property)        ($450.00)
                                             WPD (November property
        Wire Transfer             1/8/2019   expense shortfall)¹                 ($62,000.00)
                                             Paper Street (down payment on
                                             boiler replacement at 7656
        Wire Transfer            1/15/2020   Kingston)                            ($5,093.00)
                                             FPL (electric service at Naples
       Online payment            1/19/2020   property)                               ($33.78)
                                             1102 Bingham account (for
                                             installment payments on past due
                                             real estate taxes through April
       Funds Transfer            1/31/2020   2020)                               ($16,811.94)

                                           Paper Street (two installment
        Wire Transfer            1/31/2020 payments on past due water bills)        ($1,448.20)
                                           First Funding (installment on
                                           premium finance agreement for
        Wire Transfer            1/31/2020 gen'l liability & umbrella policy)      ($21,735.26)
                                           RDP (Receiver & Special
                                           Counsel 1Q2019 fees &
        Wire Transfer            1/31/2020 expenses)                              ($525,009.37)
                                           WPD (December 2019 property
        Wire Transfer             2/4/2020 management expenses)²                   ($16,950.00)
                                           Paper Street (boiler replacement
                                           at 7656 S Kingston - final
        Wire Transfer             2/4/2020 payment)                                ($11,882.98)
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                                                             Exhibit 4

                               EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                               1/1/2020 - 3/31/2020
                                      Schedule of Receipts and Disbursements

                                                         Paper Street (DAWGS for 3
           Wire Transfer                        2/4/2020 months at 7237 S Bennett)             ($4,591.08)
                                                         Paper Street (utilities at 7201 S
                                                         Dorchester, 7201 S Constance,
           Wire Transfer                        2/4/2020 2738 W 64th)³                         ($3,673.97)
                                                         Paper Street (January property
           Wire Transfer                        2/4/2020 management expenses)⁴                ($27,159.02)
                                                         Paper Street (reserve for 648 N
           Wire Transfer                        2/5/2020 Avers)                                ($3,000.00)
          Funds Transfer                        2/7/2020 To account 0348                      ($15,000.00)

                                                        Paper Street (addt'l January
           Wire Transfer                      2/25/2020 property management expenses)⁵        ($52,680.65)
                                                        WPD (January property
           Wire Transfer                      2/25/2020 management expenses)⁶                 ($26,000.00)
                                                        Paper Street (property
                                                        management expenses for
           Wire Transfer                       3/2/2020 February)⁷                             ($3,282.12)
                                                        Paper Street (management
                                                        expenses (utilities) at various
           Wire Transfer                       3/2/2020 properties)⁸                          ($13,594.19)
                                                        Paper Street (utilities at 8342
                                                        Ellis - $1,157,02; 8209 Ellis -
                                                        $1,025.88; 7201 Dorchester -
           Wire Transfer                       3/3/2020 $102.62; 638 Avers - $161.41)          ($2,446.93)
                                                        Axos Bank (EB retained
                    20020                     3/11/2020 professional fees)                     ($2,310.00)
                                                        Axos Fiduciary Services (EB
                    20021                     3/11/2020 retained professional fees)           ($12,234.09)
                                                        Paper Street (addt'l February
                                                        property management
           Wire Transfer                      3/13/2020 expenses)⁹                            ($73,560.15)
                                                        WPD (February property
           Wire Transfer                      3/13/2020 management expenses)¹⁰                ($15,500.00)

                                                        First Funding (final installment on
                                                        premium financing agreement for
           Wire Transfer                      3/13/2020 gen'l liability & umbrella policy)    ($22,770.51)
                                                        First Funding (final installment on
                                                        premium financing agreement for
           Wire Transfer                      3/13/2020 property policy)                       ($4,419.69)


                                                           TOTAL DISBURSEMENTS:                              ($978,389.62)



                                                           Grand Total Cash on Hand at
                                                           3/31/2020:                                        $329,471.47


¹ 8201 S Kingston - $1,000;   ⁶ 7051 S Bennett - $7,000;
8047 Manistee - $8,000;       8047 Manistee - $8,000;
7110 S Cornell - $7,000;      7750 S Muskegon - $5,000;
7750 S Muskegon - $22,000;    7749 S Yates - $6,000;
7749 S Yates - $24,000;       TOTAL: $26,000
TOTAL: $62,000
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                                                                 Exhibit 4

                                   EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                                   1/1/2020 - 3/31/2020
                                          Schedule of Receipts and Disbursements

² 7501 S Bennett - $3,000;       ⁷ 7760 S Coles - $500;
8047 Manistee - $2,000;          638 N Avers - $526.88;
7750 S Muskegon - $2,000;        7237 S Bennett - $680;
7749 S Yates - $9,950;           7201 S Constance -
TOTAL: $16,950                   $1,119.12;
                                 6356 S California - $456.12;
                                 TOTAL: $3,282.12

³ 7201 S Dorchester -            ⁸ 638 N Avers - $484.96;
$2,708.10;                       6751 S Merrill - $793.87;
7201 S Constance - $432.54;      7201 S Constance -
2738 W 64th - $533.33;           $4,109.17;
TOTAL: $3,673.97                 7201 S Dorchester -
                                 $2,651.72;
                                 7237 S Bennett - $3,253.95;
                                 8334 S Ellis - $1,281.32;
                                 8352 S Ellis - $1,020.20;
                                 TOTAL: $13,594.19


⁴ 8002 S Justine - $7,332.04;    ⁹ 7760 S Coles - $368;
2736 W 64th - $5,083.66;         8209 S Ellis - $6,715.55;
6356 S California - $3,158.29;   638 N Avers - $2,011.51;
2616 W 64th - $6,453.88;         6751 S Merrill - $8,362;
7201 S Dorchester -              7201 S Constance -
$1,249,72;                       $17,801.95;
 638 N Avers - $1,320.98         6356 S California -
7237 S Bennett - $2,560.45;      $10,545.77
TOTAL: $27,159.02                7201 S Dorchester -
                                 $3,243.16;
                                 7656 S Kingston - $1,714.45;
                                 8236 S Ellis - $9,021.74;
                                 416 E 66th St - $7,247.07;
                                 7237 S Bennett - $3,253.95;
                                 8214 S Ingleside - $3,275.00;
                                 TOTAL: $73,560.15


⁵ 8214 S Ingleside -             ¹⁰ 7051 S Bennett - $7,000;
$6,383.58;                       1414 E 62nd Pl - $2,000;
7300 St Lawrence - $7,174.43     8047 Manistee - $4,000;
7656 S Kingston - $2,787.27;     7749 S Yates - $2,500;
6807 S Indiana - $12,512.26;     TOTAL: $15,500
8000 S Justine - $8,569.66;
638 N Avers - $452.15;
7201 S Constance -
$9,527.70;
2736 W 64th - $4,244.27;
8342 S Ellis - $1,029.33;
TOTAL: $52,680.65
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                                           Exhibit 4

                    EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                    1/1/2020 - 3/31/2020
                           Schedule of Receipts and Disbursements


Beginning Balance
1/1/20                                                                                            $0.00

RECEIPTS

                                    Received From                   Amount
                                    Funds disbursed to Receivership
                          1/22/2020 from Defendants' Wells Fargo        $84,313.19

                          1/31/2020 Transfer from account #1081               $15,000.00

                           2/2/2020 Interest                                       $21.38
                                    First Mortgage Bank (refund on
                                    property insurance for Naples
                          2/11/2020 property)                                  $1,594.77
                           3/1/2020 Interest                                       $10.53
                          3/31/2020 Interest                                       $5.93

                                    TOTAL RECEIPTS:                                         $100,945.80

DISBURSEMENTS

                                    Paid To                               Amount

                                    First Bank Mortgage (Febrary
2001                        1/23/20 2020 Naples mortgage payment)             ($3,477.08)
                                    City of Naples (Naples utility bill
2002                        1/23/20 for Nov & Dec 2019)                         ($267.74)
                                    First Funding (premium finance
Wire Out                    1/23/20 agreement on property policy)            ($17,657.64)
                                    Zenon P Landscaping (trash
                                    pickup & lawn maintenance at
2003                        1/28/20 Naples property)                            ($160.00)
                                    to 1102 Bingham account for
Funds transfer              1/28/20 property taxes                            ($5,603.98)
                                    Paper Street (gas bill at 7237 S
Wire Out                    1/28/20 Bennett property)                         ($3,435.51)
                                    Appraisal Source LLC (appraisal
2004                        1/31/20 of Naples property)                         ($500.00)
                                    Wayne & Dudly Appraisers
2005                        1/31/20 (appraisal of Naples property)              ($600.00)
                                    First Mortgage Bank (March 2020
                                    mortgage payment on Naples
2006                        1/31/20 property)                                 ($3,477.08)
                                    BrookWeiner, LLC (1Q &
2007                        1/31/20 2Q2019 fees)                             ($39,604.50)
                                    Prometheum Technologies, Inc.
2008                        1/31/20 (1Q & 2Q2019 fees)                        ($2,397.17)
                                    First Funding (premium finance
Wire Out                    1/31/20 agreement on property policy)            ($17,657.64)
                                    FPL (electric service for Naples
Online payment              2/12/20 property)                                   ($100.68)
                                    Zenon P Landscaping (trash
                                    pickup & lawn maintenance at
20009                       2/17/20 Naples property)                            ($180.00)
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                                        Exhibit 4

                 EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                 1/1/2020 - 3/31/2020
                        Schedule of Receipts and Disbursements

                                 FPL (electric service for Naples
Online payment           3/22/20 property)                          ($101.75)

                                 TOTAL DISBURSEMENTS:                           ($95,220.77)

                                 Grand Total Cash on Hand at
                                 3/31/2020:                                      $5,725.03
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                        Exhibit 5
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                                                         Exhibit 5

                                                   Master Asset List
                                       Receiver’s Account (as of 3/31/2020)
Institution                               Account Information               Amount
AXOS Fiduciary Services                   Checking #0181                                                        $329,471.47
AXOS Fiduciary Services                      Checking #0348                                                        $5,725.03
                                                                                                                      Total:
                                                                                                                $335,196.50

                                       Receivership Defendants’ Accounts
Institution      Account Information                               Current Value¹ Amount Transferred
                                                                                  to Receiver’s
                                                                                  Account
Wells Fargo      Checking (53 accounts in the names of the            $84,313.19³          $105,870.94⁴
                 affiliates and affiliate entities included as
                 Receivership Defendants)²
Wells Fargo      Checking (account in the names of Shaun                                    $23,065.43⁵
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership         $21,828.73
                 Defendants)
                                                                                                                      Total:
                                                                                                                $128,936.37

                             EquityBuild Real Estate Portfolio (in Illinois)
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                           Other, Non-Illinois Real Estate
Description                                                    Appraised Market Value
1102 Bingham Street                                                               Approximately $995,000⁶
Houston, TX 77077

Single family home in Naples, Florida                                                                         ±$950,000.00⁷

                                                                       Approximate mortgage amount: $500,000.00
                                                                      Approximate value less mortgage: $499,000.00

Single family home in Plano, Texas                                                                            ±$450,000.00

                                                                         Approximate mortgage amount: $400,000.00
                                                                        Approximate value less mortgage: $50,000.00


     ¹ The Current Value reflects the approximate balance in the frozen bank accounts.
     ² The Receiver is investigating whether each of these accounts is properly included within the Receivership Estate.
     ³ Value as of 1/8/20 update provided by Wells Fargo, and includes the balance of an account of Jerry and Patricia
     Cohen added to the Receivership Estate by 12/13/19 court order (Dkt. 603), which account totals more than
     $60,000; this amount was transferred to the Receiver’s Account on 1/22/20, and is included as part of the Receiver’s
     Account as of 3/31/20.
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⁴ This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
the Receiver’s Account as of 3/31/19.
⁵ This amount was transferred to the Receiver’s account as of 11/8/18, and is included as part of the total balance of
the Receiver’s Account as of 3/31/19.
⁶ Receiver’s listing price, after approval of the motion to sell the Bingham Street property. (Dkt. No. 544)
⁷ Following the approval of motion to sell the Naples property (Dkt. No. 612), the sale of the property closed on
April 24, 2020.




                                                          2
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                        Exhibit 6
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                                                                                                   Exhibit 6
                                                                                         Master Claims Spreadsheet
                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address           Alternative Address            Type                                     Claimant Name                      Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                  (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                       Amount in Claim             Form              Property
                                                                                                                                                          Category as
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
   58        5955 S Sacramento Avenue     2948‐56 W 60th Street      Estate Property   1839 Fund I LLC                                                          $49,937.00 Investor‐Lender             $42,330.00
   74          3074 Cheltenham Place        7836 S Shore Drive       Estate Property   1839 Fund I LLC                                                          $90,075.00 Investor‐Lender             $50,000.00
   80             2736 W 64th Street                                 Estate Property   1839 Fund I LLC                                                          $29,514.00 Investor‐Lender             $24,500.00
   84           7051 S Bennett Avenue                                Estate Property   1839 Fund I LLC                                                          $87,717.00 Investor‐Lender             $70,470.00
   91            7701 S Essex Avenue                                 Estate Property   1839 Fund I LLC                                                         $105,200.00 Investor‐Lender             $95,000.00
   93        7953‐59 S Marquette Road      2708‐10 E 80th Street     Estate Property   1839 Fund I LLC                                                          $47,562.00 Investor‐Lender             $39,483.00
  117           3915 N Kimball Avenue                                Former Property   1839 Fund I LLC                                                                       Investor-Lender           $50,000.00
  906                   SSDF6                                        Fund              1839 Fund I LLC                                                          $92,879.00 Investor‐Lender             $92,879.00
  101         6949‐59 S Merrill Avenue    2134‐40 East 68th Street   Estate Property   6951 S. Merrill Fund I LLC (d/b/a Capital Investors)                 $1,588,407.87     Equity Investor       $1,550,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property   88 Legacy LLC                                                            $56,000.03 Investor‐Lender             $50,000.00
    9            8100 S Essex Avenue      2449‐57 East 81st Street   Estate Property   Aaron Beauclair                                                          $40,000.00 Investor‐Lender             $10,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property   Aaron Beauclair                                                          $40,000.00 Investor‐Lender             $10,000.00
   72         7024‐32 S Paxton Avenue                                Estate Property   Aaron Beauclair                                                          $40,000.00 Investor‐Lender             $10,000.00
   78         7201 S Constance Avenue      1825‐31 E 72nd Street     Estate Property   Aaron Beauclair                                                          $40,000.00 Investor‐Lender             $10,000.00
  124          6801 S East End Avenue                                Former Property   Aaron Beauclair                                                          $40,000.00 Investor‐Lender             $10,000.00
  123        7107‐29 S Bennett Avenue                                Former Property   Adam Epstein                                                             $50,000.00 Investor‐Lender             $50,000.00
    3          5001 S Drexel Boulevard       909 E 50th Street       Estate Property   Adir Hazan                                                              $150,000.00 Investor‐Lender             $50,000.00
    6         6437 S Kenwood Avenue                                  Estate Property   Adir Hazan                                                              $150,000.00 Investor‐Lender             $50,000.00
   63        4520‐26 S Drexel Boulevard                              Estate Property   Adir Hazan                                                              $151,333.00    Equity Investor         $100,000.00
   74          3074 Cheltenham Place         7836 S Shore Drive      Estate Property   Adir Hazan                                                              $150,000.00 Investor‐Lender             $50,000.00
   82         6355‐59 S Talman Avenue      2616‐22 W 64th Street     Estate Property   Adir Hazan                                                              $150,000.00 Investor‐Lender             $50,000.00
  901                   SSDF 1                                       Fund              Adir Hazan                                                              $151,333.00    Equity Investor          $10,000.00
  904            LEGACY FUND SSDF 4                                  Fund              Adir Hazan                                                              $151,333.00    Equity Investor          $51,333.00
10 to 12                 CCF1                                        Fund              Adir Hazan                                                              $150,000.00 Investor‐Lender             $50,000.00
13 to 15                 CCF2                                        Fund              Adir Hazan                                                              $150,000.00 Investor‐Lender             $50,000.00
  911          Hybrid Capital Fund, LLC                              Fund              Advanta IRA Services FBO Krushna Dundigalla Acct#8004195                $100,000.00    Equity Investor         $100,000.00
    5           7749 S Yates Boulevard                               Estate Property   Advanta IRA Services LLC, FBO Dwight L. Plymale IRA #8006189             $80,826.56 Investor‐Lender             $97,000.00
    1           1700 Juneway Terrace                                 Estate Property   Agee Family Trust c/o Scott R. Agee                                     $130,000.00 Investor‐Lender             $40,000.00
    6          6437 S Kenwood Avenue                                 Estate Property   Agee Family Trust c/o Scott R. Agee                                     $130,000.00 Investor‐Lender             $15,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property   Agee Family Trust c/o Scott R. Agee                                     $130,000.00 Investor‐Lender             $25,000.00
 96‐99          8326‐58 S Ellis Avenue                               Estate Property   Agee Family Trust c/o Scott R. Agee                                     $130,000.00 Investor‐Lender             $50,000.00
10 to 12                 CCF1                                        Fund              Agee Family Trust c/o Scott R. Agee                                     $130,000.00    Equity Investor          $75,000.00
13 to 15                 CCF2                                        Fund              Agee Family Trust c/o Scott R. Agee                                     $130,000.00    Equity Investor          $55,000.00
    4         5450‐52 S Indiana Avenue       118‐132 E Garfield      Estate Property   Aksel Allouch                                                            $50,000.00 Investor‐Lender             $50,000.00
   67            1131‐41 E 79th Place                                Estate Property   Alan & Sheree Gravely                                                    $75,000.00 Investor‐Lender             $75,000.00
  902            SSDF 2 Holdco 3, LLC                                Fund              Alan & Sheree Gravely                                                    $75,000.00    Equity Investor          $75,000.00


                                                                                                       1
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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address           Type                                     Claimant Name                Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                    (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                         Amount in Claim            Form               Property
                                                                                                                                                            Category as
                                                                                                                                                        Identified on Claim
                                                                                                                                                               Form)
   62              7834‐44 S Ellis Avenue                                    Estate Property   Alan Rubin                                                         $50,000.00 Investor‐Lender             $50,000.00
    1              1700 Juneway Terrace                                      Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender
    4            5450‐52 S Indiana Avenue             118‐132 E Garfield     Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender
    5             7749 S Yates Boulevard                                     Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender
   58           5955 S Sacramento Avenue            2948‐56 W 60th Street    Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender
   59           6001 S Sacramento Avenue            2945‐51 W 60th Street    Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender
   75           7625‐33 S East End Avenue                                    Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender             $22,993.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender
  90              7656 S Kingston Avenue          2514‐2520 East 77th Street Estate Property   Alcalli Sabat                                                     $109,396.68 Investor‐Lender
   9                8100 S Essex Avenue            2449‐57 East 81st Street Estate Property    ALEX BRESLAV                                                      $247,000.00 Investor‐Lender             $50,000.00
  60               7026 S Cornell Avenue                                     Estate Property   ALEX BRESLAV                                                      $247,000.00 Investor‐Lender             $50,000.00
  71                 701 S 5th Avenue                    414 Walnut          Estate Property   ALEX BRESLAV                                                      $247,000.00 Investor‐Lender             $40,000.00
   86           7442‐48 S Calumet Avenue                                     Estate Property   Alex Breslav                                                      $247,000.00 Investor‐Lender             $50,000.00
   87               7508 S Essex Avenue             2453‐59 E 75th Street    Estate Property   ALEX BRESLAV                                                      $247,000.00 Investor‐Lender             $57,000.00
   82            6355‐59 S Talman Avenue            2616‐22 W 64th Street    Estate Property   ALICE HAN                                                          $51,498.62 Investor‐Lender             $50,000.00
  115              109 N Laramie Avenue                                      Former Property   Alison Schankman                                                   $99,365.61 Investor‐Lender
  117             3915 N Kimball Avenue                                      Former Property   Alison Schankman                                                   $99,365.61 Investor‐Lender             $25,000.00
  142            5209 W Warwick Avenue                                       Former Property   Alison Schankman                                                   $99,365.61 Investor‐Lender             $74,000.00
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street    Estate Property   Alton Motes (Alton P. Motes Trust UTA 12‐15‐11)                   $245,841.62 Investor‐Lender             $43,000.00
   74             3074 Cheltenham Place               7836 S Shore Drive     Estate Property   Alton Motes and Vicki Elaine Washburn JTWROS                      $245,841.62 Investor‐Lender             $80,000.00
    1              1700 Juneway Terrace                                      Estate Property   Aluvelu Homes LLC                                                 $169,271.00 Investor‐Lender             $20,000.00
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield     Estate Property   Aluvelu Homes LLC                                                 $169,271.00 Investor‐Lender             $20,000.00
    9               8100 S Essex Avenue            2449‐57 East 81st Street Estate Property    Aluvelu Homes LLC                                                 $169,271.00 Investor‐Lender             $50,000.00
   59           6001 S Sacramento Avenue            2945‐51 W 60th Street    Estate Property   Aluvelu Homes LLC                                                 $169,271.00 Investor‐Lender             $54,271.00
   71                701 S 5th Avenue                    414 Walnut          Estate Property   Aluvelu Homes LLC                                                 $169,271.00 Investor‐Lender             $20,000.00
   85          7201‐07 S Dorchester Avenue            1401 E 72nd Street     Estate Property   Aluvelu Homes LLC                                                 $169,271.00 Investor‐Lender              $5,000.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property   AMark Investment Trust                                            $699,490.82 Investor‐Lender            $125,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   AMark Investment Trust                                            $699,490.82 Investor‐Lender            $375,000.00
  116       1102 Bingham St, Houston TX 77007                                Estate Property   American Estate & Trust, LC FBO Bruce Klingman's IRA               $72,333.33 Investor‐Lender             $63,033.00
    1              1700 Juneway Terrace                                      Estate Property   American Estate and Trust FBO Layne Jones IRA                      $20,699.99 Investor‐Lender             $20,000.00
   5              7749 S Yates Boulevard                                     Estate Property   American Estate and Trust, LC FBO Edward J. Netzel IRA             $10,000.00 Investor‐Lender             $10,000.00
  N/A                       N/A                                              Other             American Express                                                   $54,472.25        Other
    2           4533‐37 S Calumet Avenue                                     Estate Property   Amit Hammer                                                       $295,980.00 Investor‐Lender            $100,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Amit Hammer                                                       $295,980.00 Investor‐Lender             $30,000.00
   69              6250 S Mozart Avenue             2832‐36 W 63rd Street    Estate Property   Amit Hammer                                                       $295,980.00 Investor‐Lender             $10,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Amit Hammer                                                       $295,980.00 Investor‐Lender             $50,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name        Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                 Category as
                                                                                                                                             Identified on Claim
                                                                                                                                                    Form)
   95             8201 S Kingston Avenue                                  Estate Property   Amit Hammer                                               $295,980.00 Investor‐Lender             $50,000.00
  124             6801 S East End Avenue                                  Former Property   Anant Topiwala                                             $52,517.48 Investor‐Lender             $50,000.00
  116       1102 Bingham St, Houston TX 77007                             Estate Property   Anatoly B. Naritsin                                        $55,417.00 Investor‐Lender             $50,000.00
13 to 15                    CCF2                                          Fund              Anatoly B. Naritsin                                        $56,987.14   Equity Investor           $55,417.00
   71                 701 S 5th Avenue                414 Walnut          Estate Property   Andrew Matviishin                                          $64,600.00 Investor‐Lender             $55,000.00
    4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   Anjie Comer                                                $25,000.00   Equity Investor
   87               7508 S Essex Avenue           2453‐59 E 75th Street   Estate Property   Anjie Comer                                                $25,000.00   Equity Investor
    2           4533‐37 S Calumet Avenue                                  Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $50,000.00
    4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $15,000.00
    6             6437 S Kenwood Avenue                                   Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $15,500.00
   60              7026 S Cornell Avenue                                  Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender              $3,500.00
   61              7237 S Bennett Avenue                                  Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender              $7,921.00
   64           4611‐15 S Drexel Boulevard                                Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $35,459.00
   69              6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $50,000.00
   71                 701 S 5th Avenue                 414 Walnut         Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $50,000.00
   82            6355‐59 S Talman Avenue          2616‐22 W 64th Street   Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $16,882.00
   84              7051 S Bennett Avenue                                  Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender              $2,618.00
   88             7546 S Saginaw Avenue                                   Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $63,000.00
   89             7600 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender              $5,000.00
   92             7748‐50 S Essex Avenue          2450‐52 E 78th Street   Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender             $28,000.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Annie Chang                                               $246,935.34 Investor‐Lender              $6,620.00
  904           SSDF4 (Legacy Fund SSDF4)                                 Fund              Annie Chang                                               $246,935.34   Equity Investor           $50,000.00
  904           SSDF4 (Legacy Fund SSDF4)                                 Fund              Annie Chang                                               $246,935.34 Investor‐Lender             $50,000.00
   68          6217‐27 S Dorchester Avenue                                Estate Property   Annmarie Shuster                                           $47,000.00 Investor‐Lender             $47,000.00
   56                8209 S Ellis Avenue                                  Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                      $176,122.67 Investor‐Lender            $115,000.00
   80                2736 W 64th Street                                   Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                      $176,122.67 Investor‐Lender             $10,000.00
  116       1102 Bingham St, Houston TX 77007                             Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                      $176,122.67 Investor‐Lender             $50,000.00
   68          6217‐27 S Dorchester Avenue                                Estate Property   Arman Kale Heaton, Natoshia Lamborn Heaton                 $52,416.68 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Armoogam, Clifton                                          $29,940.00 Investor‐Lender             $21,500.00
  904                      SSDF4                                          Fund              Arnold Kunio Kameda (Roth IRA via iPlan Group)             $50,000.00   Equity Investor           $50,000.00
    4            5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property   Arthur and Dinah Bertrand                              $1,000,000.00 Investor‐Lender              $50,000.00
   59           6001 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property   Arthur and Dinah Bertrand                              $1,000,000.00 Investor‐Lender               $7,552.00
   76           7635‐43 S East End Avenue                                 Estate Property   Arthur and Dinah Bertrand                              $1,000,000.00 Investor‐Lender             $217,448.00
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property   Arthur and Dinah Bertrand                              $1,000,000.00 Investor‐Lender             $100,000.00
   78            7201 S Constance Avenue          1825‐31 E 72nd Street   Estate Property   Arthur and Dinah Bertrand                              $1,000,000.00 Investor‐Lender             $100,000.00
   80                2736 W 64th Street                                   Estate Property   Arthur and Dinah Bertrand                              $1,000,000.00 Investor‐Lender             $100,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                              Amount in Claim             Form              Property
                                                                                                                                                 Category as
                                                                                                                                             Identified on Claim
                                                                                                                                                    Form)
  115             109 N Laramie Avenue                                       Former Property   Arthur and Dinah Bertrand                           $1,000,000.00 Investor‐Lender              $50,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property   Arthur and Dinah Bertrand                           $1,000,000.00 Investor‐Lender             $150,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   Arthur and Dinah Bertrand                           $1,000,000.00 Investor‐Lender             $225,000.00
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property   Arthur Bertrand                                         $78,079.82 Investor‐Lender              $4,825.00
  76            7635‐43 S East End Avenue                                    Estate Property   Arthur Bertrand                                         $78,079.82 Investor‐Lender              $2,875.00
  86            7442‐48 S Calumet Avenue                                     Estate Property   Arthur Bertrand                                         $78,079.82 Investor‐Lender             $50,000.00
   89            7600 S Kingston Avenue            2527‐29 E 76th Street     Estate Property   Arthur Bertrand                                         $78,079.82 Investor‐Lender             $17,300.00
  110        5618 S Martin Luther King Drive                                 Estate Property   Arthur Bertrand                                         $78,079.82 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Arvind Kinjarapu                                       $145,500.00 Investor‐Lender             $35,000.00
  95             8201 S Kingston Avenue                                      Estate Property   Arvind Kinjarapu                                       $145,500.00 Investor‐Lender            $100,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Arvind Kinjarapu                                       $145,500.00 Investor‐Lender             $10,500.00
  89             7600 S Kingston Avenue            2527‐29 E 76th Street     Estate Property   Aryeh (Judah) Smith                                     $50,000.00 Investor‐Lender             $50,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Asbury R. Lockett                                      $100,000.00    Equity Investor         $100,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Asbury R. Lockett                                                    Investor‐Lender          $100,000.00
   56               8209 S Ellis Avenue                                      Estate Property   Ashwin D Patel                                         $100,000.00 Investor‐Lender            $100,000.00
   1              1700 Juneway Terrace                                       Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $15,000.00
   3             5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Asians Investing In Real Estate LLC                    $415,000.00    Equity Investor          $95,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $70,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $60,000.00
  59           6001 S Sacramento Avenue            2945‐51 W 60th Street     Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $60,000.00
  60              7026 S Cornell Avenue                                      Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $69,402.00
   62             7834‐44 S Ellis Avenue                                     Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $65,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Asians Investing In Real Estate LLC                    $415,000.00    Equity Investor         $160,000.00
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $50,000.00
  71                 701 S 5th Avenue                  414 Walnut            Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $65,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street      Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $60,000.00
   75           7625‐33 S East End Avenue                                    Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $50,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $25,000.00
  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $60,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $55,000.00
   88            7546 S Saginaw Avenue                                       Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender             $115,000.00
  89             7600 S Kingston Avenue            2527‐29 E 76th Street     Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $50,000.00
  92             7748‐50 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender             $130,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender             $150,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender             $119,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property   Asians Investing In Real Estate LLC                 $1,278,402.00 Investor‐Lender              $50,000.00


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                                                                                                   Exhibit 6
                                                                                         Master Claims Spreadsheet
                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address           Alternative Address             Type                                     Claimant Name                         Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                     (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                          Amount in Claim            Form               Property
                                                                                                                                                             Category as
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
  124        6801 S East End Avenue                                 Former Property    Asians Investing In Real Estate LLC                                     $1,278,402.00 Investor‐Lender              $25,000.00
  133        4109 N Kimball Avenue                                  Former Property    Asians Investing In Real Estate LLC                                     $1,278,402.00 Investor‐Lender              $69,402.00
10 to 12              CCF1                                          Fund               Asians Investing In Real Estate LLC                                        $415,000.00   Equity Investor          $100,000.00
13 to 15              CCF2                                          Fund               Asians Investing In Real Estate LLC                                        $415,000.00   Equity Investor           $60,000.00
    5        7749 S Yates Boulevard                                 Estate Property    Austin Capital Trust Company on behalf of Summit Trust Company,             $77,520.06 Investor‐Lender             $25,000.00
                                                                                       custodian FBO David R Theil MD
  81         4317 S Michigan Avenue                                 Estate Property    Austin Capital Trust Company on behalf of Summit Trust Company,           $77,520.06     Investor‐Lender           $19,000.00
                                                                                       custodian FBO David R Theil MD
  92         7748‐50 S Essex Avenue       2450‐52 E 78th Street     Estate Property    Austin Capital Trust Company on behalf of Summit Trust Company,           $77,520.06     Investor‐Lender           $31,000.00
                                                                                       custodian FBO David R Theil MD
   7        7109‐19 S Calumet Avenue                                Estate Property    B & H Creative Investments LLC                                           $428,533.00 Investor‐Lender              $220,000.00
  904                 SSDF4                                         Fund               B & H Creative Investments LLC                                           $428,533.00   Equity Investor
   4        5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
   5         7749 S Yates Boulevard                                 Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
   6         6437 S Kenwood Avenue                                  Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
   9           8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
  60          7026 S Cornell Avenue                                 Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
  64       4611‐15 S Drexel Boulevard                               Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
  68       6217‐27 S Dorchester Avenue                              Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
  94        816‐20 E Marquette Road                                 Estate Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
  904         LEGACY FUND SSDF 4                                    Fund               Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
13 to 15              CCF2                                          Fund               Bancroft, Ed                                                             $258,060.00 Investor‐Lender and
                                                                                                                                                                              Equity Investor
  123       7107‐29 S Bennett Avenue                                Former Property    Bancroft, Ed                                                             $258,060.00 Investor‐Lender               $10,000.00
  61         7237 S Bennett Avenue                                  Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft             $258,060.00 Investor‐Lender and
                                                                                       Roth)                                                                                  Equity Investor



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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address           Type                                     Claimant Name                      Claimed Amount       Claim Category as Amount Claimed
Number                                                                                                                                                        (Total Claimed     Identified on Claim to be Invested in
                                                                                                                                                             Amount in Claim            Form             Property
                                                                                                                                                                Category as
                                                                                                                                                            Identified on Claim
                                                                                                                                                                   Form)
  71                701 S 5th Avenue                   414 Walnut         Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft            $258,060.00 Investor‐Lender and
                                                                                             Roth)                                                                                 Equity Investor
  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft            $258,060.00 Investor‐Lender and
                                                                                             Roth)                                                                                 Equity Investor
  78            7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft            $258,060.00 Investor‐Lender and
                                                                                             Roth)                                                                                 Equity Investor
  83             6356 S California Avenue          2804 W 64th Street     Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft            $258,060.00 Investor‐Lender and
                                                                                             Roth)                                                                                 Equity Investor
  86            7442‐48 S Calumet Avenue                                  Estate Property    Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft            $258,060.00 Investor‐Lender and
                                                                                             Roth)                                                                                 Equity Investor
  84             7051 S Bennett Avenue                                    Estate Property    Barbara Burton                                                           $99,000.00 Investor‐Lender            $99,000.00
  2             4533‐37 S Calumet Avenue                                  Estate Property    Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian               $406,000.00 Investor‐Lender
                                                                                             ELShahawi, members
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian             $406,000.00    Investor‐Lender
                                                                                             ELShahawi, members
10 to 12                  CCF1                                            Fund               Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian             $406,000.00     Equity Investor        $300,000.00
                                                                                             ELShahawi, members
    2          4533‐37 S Calumet Avenue                                   Estate Property    Bauer Latoza Studio, Ltd.                                              $30,525.00      Trade Creditor          $3,075.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Bauer Latoza Studio, Ltd.                                              $30,525.00      Trade Creditor        $274,500.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    BC57, LLC                                                           $6,439,502.67   Institutional Lender
   75          7625‐33 S East End Avenue                                  Estate Property    BC57, LLC                                                           $6,439,502.67   Institutional Lender
   76          7635‐43 S East End Avenue                                  Estate Property    BC57, LLC                                                           $6,439,502.67   Institutional Lender
   77         7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property    BC57, LLC                                                           $6,439,502.67   Institutional Lender
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    BC57, LLC                                                           $6,439,502.67   Institutional Lender
   61            7237 S Bennett Avenue                                    Estate Property    BCL Associates, LLC                                                    $10,266.66     Investor‐Lender         $50,000.00
  120            7823‐27 S Essex Avenue                                   Former Property    Bedford, Bert and Sadie                                                $45,477.28     Investor‐Lender         $46,131.00
    3            5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Benjamin J Serebin                                                    $289,736.11      Equity Investor       $300,000.00
13 to 15                  CCF2                                            Fund               Benjamin J Serebin                                                    $289,736.11      Equity Investor       $150,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property    Bernadette Chen (Eleven St Felix St. Realty                         $1,000,000.00      Equity Investor        $50,000.00
  123           7107‐29 S Bennett Avenue                                  Former Property    Bernadette Chen (Eleven St Felix St. Realty                         $1,000,000.00      Equity Investor        $50,000.00
  124            6801 S East End Avenue                                   Former Property    Bernadette Chen (Eleven St Felix St. Realty                         $1,000,000.00      Equity Investor        $31,619.00
    2          4533‐37 S Calumet Avenue                                   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                        $1,000,000.00      Equity Investor        $50,000.00
    3            5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                        $1,000,000.00      Equity Investor
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                        $1,000,000.00      Equity Investor        $50,000.00
    8             1414 East 62nd Place                                    Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                        $1,000,000.00      Equity Investor        $50,000.00
    9             8100 S Essex Avenue             2449‐2457 E. 81st St.   Estate Property    Bernadette Chen (Eleven St Felix St. Realty)                        $1,000,000.00      Equity Investor        $31,619.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name                        Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
   49         7300‐04 St Lawrence Avenue                                  Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
   70              638 N Avers Avenue                                     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor          $100,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor          $100,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
   88            7546 S Saginaw Avenue                                    Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $68,381.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
  904                     SSDF4                                           Fund              Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
10 to 12                   CCF1                                           Fund              Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
13 to 15                   CCF2                                           Fund              Bernadette Chen (Eleven St Felix St. Realty)                           $1,000,000.00    Equity Investor           $50,000.00
   84            7051 S Bennett Avenue                                    Estate Property   Best Capital Funding Inc                                                   $28,000.00 Investor‐Lender             $25,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property   BETH DENTON (Elisabeth Denton)                                             $51,751.49 Investor‐Lender             $50,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property   BETH DENTON (IRA Services Trust Company CFBO Beth Denton)                  $20,699.99 Investor‐Lender             $20,000.00
   94           816‐20 E Marquette Road                                   Estate Property   Betty Mize (iPlanGroup Agent for Custodian FBO Betty Beal Mize             $38,000.00 Investor‐Lender             $38,000.00
                                                                                            IRA
   40           7953 S Woodlawn Avenue                                    Estate Property   Blessing Strategies, LLC                                                 $29,784.00 Investor‐Lender               $12,500.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Blessing Strategies, LLC                                                 $29,784.00 Investor‐Lender                $7,000.00
  123          7107‐29 S Bennett Avenue                                   Former Property   Blessing Strategies, LLC                                                 $29,784.00 Investor‐Lender               $22,282.00
  904                    SSDF4                                            Fund              Blessing Strategies, LLC                                                 $29,784.00   Equity Investor              $7,000.00
13 to 15                  CCF2                                            Fund              BLT Florida, LLC                                                        $100,000.00 Investor‐Lender              $100,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                          $463,999.95 Investor‐Lender              $150,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                          $463,999.95 Investor‐Lender               $84,255.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                          $463,999.95 Investor‐Lender              $100,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                          $463,999.95 Investor‐Lender               $65,745.00
    2          4533‐37 S Calumet Avenue                                   Estate Property   Bluebridge Partners Limited                                             $791,620.17 Investor‐Lender              $100,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Bluebridge Partners Limited                                             $791,620.17 Investor‐Lender              $100,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Bluebridge Partners Limited                                             $791,620.17 Investor‐Lender              $150,000.00
   71               701 S 5th Avenue                   414 Walnut         Estate Property   Bluebridge Partners Limited                                             $791,620.17 Investor‐Lender               $77,177.00
   86          7442‐48 S Calumet Avenue                                   Estate Property   Bluebridge Partners Limited                                             $791,620.17 Investor‐Lender              $290,000.00
 96‐98            8326‐58 S Ellis Avenue                                  Estate Property   Bluebridge Partners Limited                                             $791,620.17 Investor‐Lender               $73,971.00
  124            6801 S East End Avenue                                   Former Property   Bluebridge Partners Limited                                             $791,620.17 Investor‐Lender              $100,000.00
    2          4533‐37 S Calumet Avenue                                   Estate Property   BMO Harris Bank N.A.                                                  $1,719,582.97 Institutional Lender



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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Bolanle Addo (Madison Trust Company Custodian FBO Bolanle             $50,000.00 Investor‐Lender             $50,000.00
                                                                                               Addo)
   86          7442‐48 S Calumet Avenue                                      Estate Property   Bonaparte Properties LLC                                            $25,000.00     Investor‐Lender           $25,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Bonnie Young                                                        $65,333.41     Investor‐Lender
   59          6001 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   Brad and Linda Lutz                                                $813,582.00     Investor‐Lender           $67,876.00
   75          7625‐33 S East End Avenue                                     Estate Property   Brad and Linda Lutz                                                $813,582.00     Investor‐Lender          $325,962.00
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Brad and Linda Lutz                                                $813,582.00     Investor‐Lender            $5,000.00
  115            109 N Laramie Avenue                                        Former Property   Brad and Linda Lutz                                                $813,582.00     Investor‐Lender           $39,663.00
  123          7107‐29 S Bennett Avenue                                      Former Property   Brad and Linda Lutz                                                $813,582.00     Investor‐Lender          $339,414.00
  62             7834‐44 S Ellis Avenue                                      Estate Property   Braden Galloway                                                    $227,800.02     Investor‐Lender
  64           4611‐15 S Drexel Boulevard                                    Estate Property   Braden Galloway                                                    $227,800.02     Investor‐Lender
  100        11117‐11119 S Longwood Drive                                    Estate Property   Braden Galloway                                                    $227,800.02     Investor‐Lender
   2           4533‐37 S Calumet Avenue                                      Estate Property   Brett Burnham (                                                    $215,335.54     Investor‐Lender           $80,000.00
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
  60              7026 S Cornell Avenue                                      Estate Property   Brett Burnham (                                                    $215,335.54     Investor‐Lender           $30,000.00
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Brett Burnham (                                                    $215,335.54     Investor‐Lender           $25,000.00
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
  93            7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property   Brett Burnham (                                                    $215,335.54     Investor‐Lender           $25,000.00
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
  115             109 N Laramie Avenue                                       Former Property   Brett Burnham (
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
  124            6801 S East End Avenue                                      Former Property   Brett Burnham (                                                    $215,335.54     Investor‐Lender            $5,000.00
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
  133            4109 N Kimball Avenue                                       Former Property   Brett Burnham (                                                    $215,335.54     Investor‐Lender
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Brett Burnham (Burnham 401k Trust)                                 $215,335.54     Investor‐Lender            $8,000.00
  112             7450 S Luella Avenue             2220 East 75th Street     Estate Property   Brett Burnham (Burnham 401k Trust)                                 $215,335.54     Investor‐Lender            $5,000.00
  904                    SSDF4                                               Fund              Brett Burnham (iPlanGroup Agent for Custodian FBO Brett            $215,334.00     Investor‐Lender
                                                                                               Burnham)
  904                     SSDF4                                              Fund              Brian and Kim Mouty                                                 $50,000.00      Equity Investor          $50,000.00
  110        5618 S Martin Luther King Drive                                 Estate Property   Brian Shea                                                         $122,256.00     Investor‐Lender           $26,500.00
  118            400 S Kilbourn Avenue                                       Former Property   Brian Shea                                                         $122,256.00     Investor‐Lender           $63,000.00
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Brian Whalley                                                       $25,000.00     Investor‐Lender           $25,000.00
   3            5001 S Drexel Boulevard              909 E 50th Street       Estate Property   Bright Venture, LLC                                                $231,142.74      Equity Investor          $50,000.00
   4           5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property   Bright Venture, LLC                                                 $41,928.77     Investor‐Lender           $40,000.00


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                                                                                                    Exhibit 6
                                                                                          Master Claims Spreadsheet
                                                                              SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address           Alternative Address             Type                                     Claimant Name                 Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                              (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                   Amount in Claim            Form               Property
                                                                                                                                                      Category as
                                                                                                                                                  Identified on Claim
                                                                                                                                                         Form)
   72         7024‐32 S Paxton Avenue                                Estate Property    Bright Venture, LLC                                                 $41,928.77 Investor‐Lender             $25,000.00
102‐106        7927‐49 S Essex Avenue                                Estate Property    Bright Venture, LLC                                                $231,142.74   Equity Investor           $70,000.00
10 to 12      7301‐09 S Stewart Avenue                               Fund               Bright Venture, LLC                                                $231,142.74   Equity Investor           $52,500.00
            7500‐06 S Eggleston Avenue
                3030‐32 E 79th Street
 13‐15           2909 E 78th Street                                  Fund               Bright Venture, LLC                                              $231,142.74     Equity Investor           $50,000.00
               7549‐59 S Essex Avenue
             8047‐55 S Manistee Avenue
  123         7107‐29 S Bennett Avenue                               Former Property    Brion Conklin                                                     $65,421.00     Investor‐Lender          $116,531.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Brook & Sarah Swientisky; J&S Investment, LLC                    $134,400.01      Equity Investor          $50,000.00
  904                   SSDF4                                        Fund               Brook & Sarah Swientisky; J&S Investment, LLC                    $134,400.01      Equity Investor          $80,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)          $115,000.00     Investor‐Lender           $50,000.00
10 to 12                 CCF1                                        Fund               Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)          $115,000.00     Investor‐Lender           $25,000.00
13 to 15                 CCF2                                        Fund               Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)          $115,000.00     Investor‐Lender           $40,000.00
    3          5001 S Drexel Boulevard       909 E 50th Street       Estate Property    Bryan Corey Purkis , Trustee Vivant Ventures Trust               $179,250.00      Equity Investor         $150,000.00
   61          7237 S Bennett Avenue                                 Estate Property    BTRUE LLC Barry J. Oates                                          $93,600.00      Equity Investor           $5,200.00
   74          3074 Cheltenham Place        7836 S Shore Drive       Estate Property    BTRUE LLC Barry J. Oates                                          $93,600.00      Equity Investor          $38,400.00
  100      11117‐11119 S Longwood Drive                              Estate Property    BTRUE LLC Barry J. Oates                                          $93,600.00      Equity Investor          $50,000.00
  N/A                    N/A                                         Other              Buildout Inc.                                                      $1,200.00       Independent
                                                                                                                                                                            Contractor
  901                 SSDF1                                          Fund               Cadaval Investment Trust FBO Dana Cadaval Solo 401k               $50,000.00      Equity Investor          $50,000.00
  901                 SSDF1                                          Fund               Cadaval Investment Trust FBO Manuel Cadaval Solo 401k            $100,000.00      Equity Investor         $100,000.00
  N/A                  N/A                                           Other              Cagan Management Group, Inc.                                   $1,000,000.00          Other
   70          638 N Avers Avenue                                    Estate Property    CAMA SDIRA LLC FBO Robert Guiney IRA                            $104,314.46      Investor‐Lender           $40,579.00
  123       7107‐29 S Bennett Avenue                                 Former Property    CAMA SDIRA LLC FBO Robert Guiney IRA                            $104,314.46      Investor‐Lender           $51,913.00
    5         7749 S Yates Boulevard                                 Estate Property    Camano Equities, LLC (Markley, Charles)                           $46,254.22     Investor‐Lender           $50,000.00
  134           1414 E 67th Place                                    Former Property    CAMAPlan f.b.o Judith D. Ferrara, Roth IRA                      $300,000.00      Investor‐Lender
    1         1700 Juneway Terrace                                   Estate Property    Capital Investors, LLC                                           $930,376.31     Investor‐Lender          $250,000.00
    3        5001 S Drexel Boulevard        909 E 50th Street        Estate Property    Capital Investors, LLC                                         $1,856,942.46      Equity Investor        $295,000.00
   58       5955 S Sacramento Avenue      2948‐56 W 60th Street      Estate Property    Capital Investors, LLC                                           $930,376.31     Investor‐Lender           $50,000.00
   60         7026 S Cornell Avenue                                  Estate Property    Capital Investors, LLC                                           $930,376.31     Investor‐Lender          $379,479.00
   75       7625‐33 S East End Avenue                                Estate Property    Capital Investors, LLC                                           $930,376.31     Investor‐Lender           $36,207.00
   81        4317 S Michigan Avenue                                  Estate Property    Capital Investors, LLC                                           $930,376.31     Investor‐Lender          $113,793.00
   83        6356 S California Avenue       2804 W 64th Street       Estate Property    Capital Investors, LLC                                           $930,376.31     Investor‐Lender          $250,021.00
   93       7953‐59 S Marquette Road       2708‐10 E 80th Street     Estate Property    Capital Investors, LLC                                           $930,376.31     Investor‐Lender           $50,000.00
  101        6949‐59 S Merrill Avenue     2134‐40 East 68th Street   Estate Property    Capital Investors, LLC                                         $1,856,942.46      Equity Investor       $1,550,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim             Form              Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Capital Liability Investments, LLC                                    $55,025.00 Investor‐Lender             $55,000.00
  901                      SSDF1                                             Fund              Capital Liability Investments, LLC                                    $55,025.00    Equity Investor          $55,000.00
   76          7635‐43 S East End Avenue                                     Estate Property   Carolyn B Ucker                                                       $50,000.00    Equity Investor          $25,000.00
  118             400 S Kilbourn Avenue                                      Former Property   Carolyn B Ucker                                                       $50,000.00    Equity Investor          $25,000.00
   76          7635‐43 S East End Avenue                                     Estate Property   Cecilia Wolff                                                         $73,887.50 Investor‐Lender             $25,000.00
   78           7201 S Constance Avenue                                      Estate Property   Cecilia Wolff                                                         $73,887.50 Investor‐Lender
   88            7546 S Saginaw Avenue                                       Estate Property   Cecilia Wolff                                                         $73,887.50 Investor‐Lender
   22             7933 S Kinston Avenue                                      Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011             $27,565.00    Equity Investor          $20,000.00
   40           7953 S Woodlawn Avenue                                       Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011             $28,741.00 Investor‐Lender              $2,770.00
   77         7750‐58 S Muskegon Avenue             7836 S Shore Drive       Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011                          Investor‐Lender           $25,000.00
  115             109 N Laramie Avenue                                       Former Property   Celia Tong Revocable Living Trust Dated December 22, 2011                          Investor‐Lender            $2,065.00
  904                      SSDF4                                             Fund              Celia Tong Revocable Living Trust Dated December 22, 2011             $27,565.00    Equity Investor          $27,565.00
  111             6558 S Vernon Avenue             416‐24 E 66th Street      Estate Property   Chad R Brown                                                          $42,051.58 Investor‐Lender            $170,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Charles Michael Edward Fowler                                         $63,007.00 Investor‐Lender             $63,007.00
    5             7749 S Yates Boulevard                                     Estate Property   Charles P McEvoy                                                     $438,733.33 Investor‐Lender            $100,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   Charles P McEvoy                                                     $438,733.33 Investor‐Lender            $112,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Charles P McEvoy                                                     $438,733.33 Investor‐Lender            $150,000.00
   71               701 S 5th Avenue                   414 Walnut            Estate Property   Charles P McEvoy                                                     $438,733.33 Investor‐Lender             $20,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Charles P McEvoy                                                     $438,733.33 Investor‐Lender             $30,000.00
    2          4533‐37 S Calumet Avenue                                      Estate Property   Charles Savona                                                        $37,145.83 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Charles Smith                                                        $350,000.00 Investor‐Lender            $350,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   Charlotte A Hofer                                                    $370,000.00    Equity Investor
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Charlotte A Hofer                                                    $370,000.00    Equity Investor
   71               701 S 5th Avenue                    414 Walnut           Estate Property   Charlotte A Hofer                                                    $370,000.00    Equity Investor
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Charlotte A Hofer                                                    $370,000.00    Equity Investor
  904          SSDF4 (Legacy Fund SSDF4)                                     Fund              Charlotte A Hofer                                                    $370,000.00    Equity Investor
  100        11117‐11119 S Longwood Drive                                    Estate Property   Chestnut Capital LLC                                                 $138,047.00 Investor‐Lender             $50,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property   Chestnut Capital LLC                                                 $138,047.00 Investor‐Lender            $219,465.00
13 to 15                    CCF2                                             Fund              Chestnut Capital LLC                                                  $60,000.00    Equity Investor          $60,000.00
  N/A                       N/A                                              Other             Chicago Real Estate Resources                                          $5,950.00     Independent
                                                                                                                                                                                     Contractor
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Chittima Cook and Pinsurang Tinakorn                                  $51,874.56 Investor‐Lender             $50,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property   Christine A. Styczynski                                               $42,033.00 Investor‐Lender             $42,033.00
  60              7026 S Cornell Avenue                                      Estate Property   Christine Hethcock                                                    $41,500.00 Investor‐Lender             $40,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Christopher Bridges                                                   $42,403.13 Investor‐Lender             $25,000.00
   93           7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property   Christopher Maher Beneficiary IRA                                     $16,500.00 Investor‐Lender             $16,500.00


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                                                                                                   Exhibit 6
                                                                                         Master Claims Spreadsheet
                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address            Alternative Address            Type                                     Claimant Name                              Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                          (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                               Amount in Claim            Form               Property
                                                                                                                                                                  Category as
                                                                                                                                                              Identified on Claim
                                                                                                                                                                     Form)
   67          1131‐41 E 79th Place                                  Estate Property   Christopher Pong                                                                 $17,287.05   Equity Investor           $17,251.00
   74         3074 Cheltenham Place         7836 S Shore Drive       Estate Property   Christopher Pong                                                                 $30,140.90 Investor‐Lender             $29,280.00
  77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street     Estate Property   Christopher Wilson and Brittny Wilson (Niosi)                                    $52,000.00 Investor‐Lender             $50,000.00
   9           8100 S Essex Avenue        2449‐57 East 81st Street   Estate Property   Chronicles Point LLC/Gustavo J Garcia                                            $50,000.00 Investor‐Lender             $50,000.00
   1          1700 Juneway Terrace                                   Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                             $200,000.00 Investor‐Lender             $25,000.00
   2        4533‐37 S Calumet Avenue                                 Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                             $200,000.00 Investor‐Lender            $100,000.00
  59        6001 S Sacramento Avenue       2945‐51 W 60th Street     Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                             $200,000.00 Investor‐Lender             $25,000.00
  60          7026 S Cornell Avenue                                  Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                             $200,000.00 Investor‐Lender             $50,000.00
  118         400 S Kilbourn Avenue                                  Former Property   Chukwuemeka Ezeume                                                              $178,625.00 Investor‐Lender            $150,000.00
  63        4520‐26 S Drexel Boulevard                               Estate Property   Cindy L. Chambers                                                                $33,337.00 Investor‐Lender             $33,337.00
  68       6217‐27 S Dorchester Avenue                               Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo         $1,954,113.57 Institutional Lender
                                                                                       Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass‐
                                                                                       Through Certificates, Series 2018‐SB48
  69          6250 S Mozart Avenue         2832‐36 W 63rd Street     Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo        $1,461,176.83 Institutional Lender
                                                                                       Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass‐
                                                                                       Through Certificates, Series 2018‐SB48*
  73         7255‐57 S Euclid Avenue       1940‐44 E 73rd Street     Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo        $1,151,462.06 Institutional Lender
                                                                                       Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass‐
                                                                                       Through Certificates, Series 2018‐SB48*
   6         6437 S Kenwood Avenue                                  Estate Property    City of Chicago                                                                $78,479.20         Other                  $5,247.91
   7        7109‐19 S Calumet Avenue                                Estate Property    City of Chicago                                                                $78,479.20         Other                 $13,153.06
  13            2909 E 78th Street                                  Estate Property    City of Chicago                                                                $78,479.20         Other                  $5,485.37
  25          8403 S Aberdeen Street                                Estate Property    City of Chicago                                                                $78,479.20         Other                   $413.84
  40        7953 S Woodlawn Avenue                                  Estate Property    City of Chicago                                                                $78,479.20         Other                   $431.13
  44          8517 S Vernon Avenue                                  Estate Property    City of Chicago                                                                $78,479.20         Other                   $841.94
  49       7300‐04 St Lawrence Avenue                               Estate Property    City of Chicago                                                                $78,479.20         Other                  $1,182.83
  50           7760 S Coles Avenue                                  Estate Property    City of Chicago                                                                $78,479.20         Other                   $815.33
  54           8000 S Justine Street         1541 E 80th Street     Estate Property    City of Chicago                                                                $78,479.20         Other                  $2,783.04
  61          7237 S Bennett Avenue                                 Estate Property    City of Chicago                                                                $78,479.20         Other                  $5,906.05
  73         7255‐57 S Euclid Avenue       1940‐44 E 73rd Street    Estate Property    City of Chicago                                                                $78,479.20         Other                  $1,647.65
  74          3074 Cheltenham Place         7836 S Shore Drive      Estate Property    City of Chicago                                                                $78,479.20         Other                 $10,812.42
  75        7625‐33 S East End Avenue                               Estate Property    City of Chicago                                                                $78,479.20         Other                  $1,895.90
  76        7635‐43 S East End Avenue                               Estate Property    City of Chicago                                                                $78,479.20         Other                   $610.08
  78         7201 S Constance Avenue       1825‐31 E 72nd Street    Estate Property    City of Chicago                                                                $78,479.20         Other                  $8,124.80
  89          7600 S Kingston Avenue       2527‐29 E 76th Street    Estate Property    City of Chicago                                                                $78,479.20         Other                  $1,542.97
  90          7656 S Kingston Avenue     2514‐2520 East 77th Street Estate Property    City of Chicago                                                                $78,479.20         Other                  $2,000.32


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                                                                                                      Exhibit 6
                                                                                            Master Claims Spreadsheet
                                                                                SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address              Alternative Address            Type                                     Claimant Name                          Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
   92         7748‐50 S Essex Avenue          2450‐52 E 78th Street     Estate Property   City of Chicago                                                              $78,479.20        Other                 $2,097.70
  110      5618 S Martin Luther King Drive                              Estate Property   City of Chicago                                                              $78,479.20        Other                 $4,527.80
 96‐99         8326‐58 S Ellis Avenue                                   Estate Property   City of Chicago                                                              $78,479.20        Other                 $3,063.68
    5          7749 S Yates Boulevard                                   Estate Property   Clarice Recamara                                                             $25,000.00 Investor‐Lender             $25,000.00
   64        4611‐15 S Drexel Boulevard                                 Estate Property   Clarice Recamara                                                             $20,000.00 Investor‐Lender             $20,000.00
   61          7237 S Bennett Avenue                                    Estate Property   Clark, Wilma                                                                 $20,266.67 Investor‐Lender             $20,000.00
   56            8209 S Ellis Avenue                                    Estate Property   Claude M West , Linda S Gray, Desert Storm Properties Group, LLC            $100,000.00 Investor‐Lender            $100,000.00
  904        SSDF4 (Legacy Fund SSDF4)                                  Fund              Claude M West , Linda S Gray, Desert Storm Properties Group, LLC            $100,000.00   Equity Investor          $100,000.00
   1           1700 Juneway Terrace                                     Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                                      $108,000.00     Independent             $36,000.00
                                                                                                                                                                                       Contractor
   9            8100 S Essex Avenue          2449‐57 East 81st Street   Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                                      $108,000.00     Independent             $15,000.00
                                                                                                                                                                                       Contractor
  101         6949‐59 S Merrill Avenue       2134‐40 East 68th Street   Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                                      $108,000.00     Independent             $57,000.00
                                                                                                                                                                                       Contractor
   1           1700 Juneway Terrace                                     Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent             $70,000.00
                                                                                                                                                                                       Contractor
   2         4533‐37 S Calumet Avenue                                   Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent             $26,335.00
                                                                                                                                                                                       Contractor
   4         5450‐52 S Indiana Avenue                                   Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent              $2,500.00
                                                                                                                                                                                       Contractor
  55             8107 S Ellis Avenue                                    Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent             $52,300.00
                                                                                                                                                                                       Contractor
  77        7750‐58 S Muskegon Avenue         2818‐36 E 78th Street     Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent             $49,000.00
                                                                                                                                                                                       Contractor
  78         7201 S Constance Avenue          1825‐31 E 72nd Street     Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent            $131,000.00
                                                                                                                                                                                       Contractor
  93         7953‐59 S Marquette Road                                   Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent              $2,800.00
                                                                                                                                                                                       Contractor
  101         6949‐59 S Merrill Avenue       2134‐40 East 68th Street   Estate Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent             $91,000.00
                                                                                                                                                                                       Contractor
  123        7107‐29 S Bennett Avenue                                   Former Property   CLD Construction, Inc. (Doru Unchias)                                       $434,935.00     Independent             $10,000.00
                                                                                                                                                                                       Contractor
  1            1700 Juneway Terrace                                     Estate Property   Clearwood Funding, LLC                                                      $150,000.00 Investor‐Lender             $50,000.00
  5            7749 S Yates Boulevard                                   Estate Property   Clearwood Funding, LLC                                                      $150,000.00 Investor‐Lender             $50,000.00
  85        7201‐07 S Dorchester Avenue        1401 E 72nd Street       Estate Property   Clearwood Funding, LLC                                                      $150,000.00 Investor‐Lender             $50,000.00
  1            1700 Juneway Terrace                                     Estate Property   CLOVE, LLC                                                                   $21,750.74 Investor‐Lender              $5,000.00


                                                                                                         12
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                                                                                                  Exhibit 6
                                                                                        Master Claims Spreadsheet
                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address           Alternative Address            Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                              (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                   Amount in Claim            Form               Property
                                                                                                                                                      Category as
                                                                                                                                                  Identified on Claim
                                                                                                                                                         Form)
   71             701 S 5th Avenue             414 Walnut           Estate Property   CLOVE, LLC                                                            $21,750.74 Investor‐Lender             $15,900.00
10 to 12     7301‐09 S Stewart Avenue                               Fund              CLOVE, LLC                                                            $23,920.01   Equity Investor           $23,000.00
            7500‐06 S Eggleston Avenue
                3030‐32 E 79th Street
  904       SSDF4 (Legacy Fund SSDF4)                               Fund              CM Group, LLC Keith Cooper                                          $75,000.00     Investor‐Lender           $75,000.00
   68      6217‐27 S Dorchester Avenue                              Estate Property   Conor Benson King                                                   $15,000.00     Investor‐Lender           $15,000.00
   73         7255‐57 S Euclid Avenue     1940‐44 E 73rd Street     Estate Property   Conrad Hanns                                                        $50,000.00     Investor‐Lender           $50,000.00
  N/A                    N/A                                        Other             Consilio, LLC                                                       $65,929.74          Other
    3         5001 S Drexel Boulevard       909 E 50th Street       Estate Property   Consuelo V Needs‐Medical Dictation Services, Inc.                   $50,000.00     Investor‐Lender           $50,000.00
    1          1700 Juneway Terrace                                 Estate Property   Coppy Properties, LLC                                               $50,000.00     Investor‐Lender           $50,000.00
  N/A                    N/A                                        Other             Corporate Creations International, Inc.                             $13,018.40          Other
    6         6437 S Kenwood Avenue                                 Estate Property   Cosmopolitan Properties LLC, Valentina Salge, President            $177,300.00     Investor‐Lender          $150,000.00
   87           7508 S Essex Avenue       2453‐59 E 75th Street     Estate Property   Cosmos Building Maintenance Solo 401K Trust Rolando Lopez           $50,000.00     Investor‐Lender           $50,000.00
   91           7701 S Essex Avenue                                 Estate Property   Covenant Funding LLC                                               $386,250.00     Investor‐Lender          $300,000.00
    1          1700 Juneway Terrace                                 Estate Property   Cross 5774 Holdings LLC ‐ Cross Global Funding Group                $75,000.00     Investor‐Lender           $50,000.00
   83         6356 S California Avenue     2804 W 64th Street       Estate Property   Cross 5774 Holdings LLC ‐ Cross Global Funding Group                $75,000.00     Investor‐Lender           $25,000.00
 13‐15           2909 E 78th Street                                 Fund              Cynthia Love                                                       $104,250.01      Equity Investor         $100,000.00
              7549‐59 S Essex Avenue
            8047‐55 S Manistee Avenue
   60          7026 S Cornell Avenue                                Estate Property   CZE Holdings LLC (Carl Johnson IRA)                                $299,700.00     Investor‐Lender           $55,000.00
  153       7200 S Stony Island Avenue                              Former Property   CZE Holdings LLC (Carl Johnson IRA)                                $299,700.00     Investor‐Lender           $50,000.00
  154         3637 N Richmond Street                                Former Property   CZE Holdings LLC (Carl Johnson IRA)                                $299,700.00     Investor‐Lender          $128,143.00
  107           1422 East 68th Street                               Estate Property   Dan Behm                                                            $96,373.45     Investor‐Lender
  123        7107‐29 S Bennett Avenue                               Former Property   Dan Behm                                                            $96,373.45     Investor‐Lender
    1          1700 Juneway Terrace                                 Estate Property   Dana Speed                                                         $249,710.00     Investor‐Lender           $40,000.00
    5          7749 S Yates Boulevard                               Estate Property   Dana Speed                                                         $249,710.00     Investor‐Lender          $169,000.00
   60          7026 S Cornell Avenue                                Estate Property   Dana Speed                                                         $249,710.00     Investor‐Lender           $31,000.00
  906                  SSDF6                                        Fund              Dana Speed                                                         $240,000.00      Equity Investor         $240,000.00
    9           8100 S Essex Avenue      2449‐57 East 81st Street   Estate Property   DANIEL J MARTINEAU                                                 $321,016.60     Investor‐Lender          $125,750.00
   77      7750‐58 S Muskegon Avenue       7836 S Shore Drive       Estate Property   DANIEL J MARTINEAU                                                 $321,016.60     Investor‐Lender          $100,000.00
   80            2736 W 64th Street                                 Estate Property   DANIEL J MARTINEAU                                                 $321,016.60     Investor‐Lender           $50,000.00
   82        6355‐59 S Talman Avenue     2616‐22 W 64th Street      Estate Property   DANIEL J MARTINEAU                                                 $321,016.60     Investor‐Lender           $25,250.00
   87           7508 S Essex Avenue      2453‐59 E 75th Street      Estate Property   DANIEL J MARTINEAU                                                 $321,016.60     Investor‐Lender          $110,000.00
   62          7834‐44 S Ellis Avenue                               Estate Property   Daniel Lewis & Deborah Lewis                                        $50,000.00     Investor‐Lender           $50,000.00
   60          7026 S Cornell Avenue                                Estate Property   Daniel Matthews, Leah Matthews                                     $185,922.54     Investor‐Lender           $22,812.00
   74          3074 Cheltenham Place       7836 S Shore Drive       Estate Property   Daniel Matthews, Leah Matthews                                     $185,922.54     Investor‐Lender           $20,000.00


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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address            Type                                     Claimant Name                         Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                           (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                Amount in Claim            Form               Property
                                                                                                                                                                   Category as
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
   76          7635‐43 S East End Avenue                                  Estate Property    Daniel Matthews, Leah Matthews                                             $185,922.54 Investor‐Lender             $72,029.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Daniel Matthews, Leah Matthews                                             $185,922.54 Investor‐Lender             $40,000.00
  88             7546 S Saginaw Avenue                                    Estate Property    Daniel Matthews, Leah Matthews                                             $185,922.54 Investor‐Lender             $29,000.00
  92             7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Daniel Matthews, Leah Matthews                                             $185,922.54 Investor‐Lender             $20,000.00
  93           7953‐59 S Marquette Road           2708‐10 E 80th Street   Estate Property    Daniel Matthews, Leah Matthews                                             $185,922.54 Investor‐Lender             $32,322.32
  117            3915 N Kimball Avenue                                    Former Property    Daniel Matthews, Leah Matthews                                             $185,922.54 Investor‐Lender             $47,184.00
  158              5104 W Dakin Street                                    Former Property    Daniel Matthews, Leah Matthews                                             $185,922.54 Investor‐Lender              $7,635.77
   1              1700 Juneway Terrace                                    Estate Property    Danielle DeVarne                                                           $150,000.00 Investor‐Lender             $50,000.00
  77          7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property    Danielle DeVarne                                                           $150,000.00 Investor‐Lender             $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Danielle DeVarne                                                           $150,000.00 Investor‐Lender             $50,000.00
  67               1131‐41 E 79th Place                                   Estate Property    Danyel Tiefenbacher and Jamie Lai                                          $103,875.01   Equity Investor           $50,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property    Danyel Tiefenbacher and Jamie Lai                                           $51,750.99 Investor‐Lender             $50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Danyel Tiefenbacher and Jamie Lai                                          $103,875.01   Equity Investor           $50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    David & Florybeth Stratton                                                 $150,000.00 Investor‐Lender            $150,000.00
  60              7026 S Cornell Avenue                                   Estate Property    David Ashley Lawrence Johnson investing under Endurance Capital             $50,000.00 Investor‐Lender             $50,000.00
                                                                                             Management LLC
  64           4611‐15 S Drexel Boulevard                                 Estate Property    David Ashley Lawrence Johnson investing under Endurance Capital          $172,583.29     Investor‐Lender           $50,000.00
                                                                                             Management LLC
102‐106          7927‐49 S Essex Avenue                                   Estate Property    David Ashley Lawrence Johnson investing under Endurance Capital          $172,583.29     Investor‐Lender          $100,000.00
                                                                                             Management LLC
13 to 15                  CCF2                                            Fund               David Ashley Lawrence Johnson investing under Endurance Capital          $117,000.04     Equity Investor          $100,000.00
                                                                                             Management LLC
  902               SSDF2 Holdco 3 LLC                                    Fund               David E. Chambers                                                         $30,000.00     Investor‐Lender           $30,000.00
10 to 12                   CCF1                                           Fund               David E. Chambers                                                         $50,000.00     Investor‐Lender           $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    DAVID G & LEANNE D RUESCH                                                 $52,666.68     Investor‐Lender           $50,000.00
    5             7749 S Yates Boulevard                                  Estate Property    David M Harris                                                           $831,700.00     Investor‐Lender          $100,000.00
    6            6437 S Kenwood Avenue                                    Estate Property    David M Harris                                                           $534,555.00      Equity Investor         $200,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property    David M Harris                                                           $831,700.00     Investor‐Lender          $100,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    David M Harris                                                           $831,700.00     Investor‐Lender           $48,145.00
   72           7024‐32 S Paxton Avenue                                   Estate Property    David M Harris                                                           $831,700.00     Investor‐Lender          $100,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    David M Harris                                                           $831,700.00     Investor‐Lender           $96,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    David M Harris                                                           $831,700.00     Investor‐Lender           $53,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    David M Harris                                                           $534,555.00      Equity Investor          $32,700.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    David M Harris                                                           $534,555.00      Equity Investor         $100,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    David M Harris                                                           $831,700.00     Investor‐Lender           $51,855.00
13 to 15                  CCF 2                                           Fund               David M Harris                                                           $534,555.00      Equity Investor         $150,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address           Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                      (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                           Amount in Claim            Form               Property
                                                                                                                                              Category as
                                                                                                                                          Identified on Claim
                                                                                                                                                 Form)
    6             6437 S Kenwood Avenue                                   Estate Property   David M Williams                                        $44,313.83 Investor‐Lender             $24,274.00
   86           7442‐48 S Calumet Avenue                                  Estate Property   David Marcus                                        $1,370,484.00 Investor‐Lender             $105,000.00
   89             7600 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   David Marcus                                        $1,370,484.00 Investor‐Lender             $895,484.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   David Marcus                                        $1,370,484.00 Investor‐Lender             $120,000.00
13 to 15                    CCF2                                          Fund              David Marcus                                        $1,370,484.00 Investor‐Lender             $250,000.00
    1              1700 Juneway Terrace                                   Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender             $35,000.00
    2           4533‐37 S Calumet Avenue                                  Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender            $200,000.00
    4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender             $44,266.00
   61              7237 S Bennett Avenue                                  Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender
   62              7834‐44 S Ellis Avenue                                 Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender
   64           4611‐15 S Drexel Boulevard                                Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender            $150,000.00
   70               638 N Avers Avenue                                    Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender            $103,098.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender            $150,000.00
  100         11117‐11119 S Longwood Drive                                Estate Property   David R. Trengrove                                     $705,123.88 Investor‐Lender
   61              7237 S Bennett Avenue                                  Estate Property   DAVID WEEKS                                             $53,750.00 Investor‐Lender             $50,000.00
   70               638 N Avers Avenue                                    Estate Property   Dean & Mare Atanasoski                                 $100,000.00 Investor‐Lender            $100,000.00
   80                2736 W 64th Street                                   Estate Property   Debbie Lasley                                          $104,550.09 Investor‐Lender             $50,000.00
  116       1102 Bingham St, Houston TX 77007                             Estate Property   Debbie Lasley                                          $104,550.09 Investor‐Lender             $55,000.00
   71                 701 S 5th Avenue                414 Walnut          Estate Property   Deborah Buffamanti                                      $34,723.00   Equity Investor
   81             4317 S Michigan Avenue                                  Estate Property   Deborah Buffamanti                                      $34,723.00   Equity Investor
   81             4317 S Michigan Avenue                                  Estate Property   Deborah Buffamanti                                      $34,723.00   Equity Investor           $50,000.00
    1              1700 Juneway Terrace                                   Estate Property   Dee Ann Nason                                          $303,965.00 Investor‐Lender             $50,000.00
    2           4533‐37 S Calumet Avenue                                  Estate Property   Dee Ann Nason                                          $303,965.00 Investor‐Lender             $50,000.00
   64           4611‐15 S Drexel Boulevard                                Estate Property   Dee Ann Nason                                          $303,965.00 Investor‐Lender              $3,965.00
  100         11117‐11119 S Longwood Drive                                Estate Property   Dee Ann Nason                                          $303,965.00 Investor‐Lender             $50,000.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Dee Ann Nason                                          $303,965.00 Investor‐Lender             $50,000.00
13 to 15                    CCF2                                          Fund              Dee Ann Nason                                          $303,965.00 Investor‐Lender             $50,000.00
    5              7749 S Yates Boulevard                                 Estate Property   Degenhardt, Duane A                                    $645,000.00 Investor‐Lender             $13,385.00
    6            6437 S Kenwood Avenue                                    Estate Property   Degenhardt, Duane A                                    $645,000.00 Investor‐Lender            $150,000.00
   61              7237 S Bennett Avenue                                  Estate Property   Degenhardt, Duane A                                    $645,000.00 Investor‐Lender              $9,139.00
   68          6217‐27 S Dorchester Avenue                                Estate Property   Degenhardt, Duane A                                    $645,000.00 Investor‐Lender             $20,792.29
   74              3074 Cheltenham Place           7836 S Shore Drive     Estate Property   Degenhardt, Duane A                                    $645,000.00 Investor‐Lender             $66,684.00
102‐106           7927‐49 S Essex Avenue                                  Estate Property   Degenhardt, Duane A                                    $645,000.00 Investor‐Lender            $100,000.00
10 to 12                    CCF1                                          Fund              Degenhardt, Duane A                                    $645,000.00 Investor‐Lender             $50,000.00
13 to 15                    CCF2                                          Fund              Degenhardt, Duane A                                    $645,000.00 Investor‐Lender            $150,000.00
   86           7442‐48 S Calumet Avenue                                  Estate Property   Demetres Velendzas                                      $51,500.00 Investor‐Lender             $50,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name                           Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                            (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                 Amount in Claim            Form               Property
                                                                                                                                                                    Category as
                                                                                                                                                                Identified on Claim
                                                                                                                                                                       Form)
    4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   Denise Renee Wilson                                                           $77,704.42 Investor‐Lender             $90,000.00
    1              1700 Juneway Terrace                                   Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender             $50,000.00
    2           4533‐37 S Calumet Avenue                                  Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender             $52,956.00
   58           5955 S Sacramento Avenue          2948‐56 W 60th Street   Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender            $332,334.00
   60              7026 S Cornell Avenue                                  Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender            $110,000.00
   62              7834‐44 S Ellis Avenue                                 Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender             $55,098.00
   72            7024‐32 S Paxton Avenue                                  Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender            $350,000.00
   76           7635‐43 S East End Avenue                                 Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender             $25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender             $23,768.00
  89              7600 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender             $47,044.00
   91               7701 S Essex Avenue                                   Estate Property   Dennis & Mary Ann Hennefer                                                   $679,378.00 Investor‐Lender             $36,134.00
   28                8800 S Ada Street                                    Estate Property   Dennis K McCoy                                                               $312,238.67 Investor‐Lender             $60,000.00
   33                3723 W 68th Place                                    Estate Property   Dennis K McCoy                                                               $312,238.67 Investor‐Lender             $40,000.00
   91               7701 S Essex Avenue                                   Estate Property   Dennis K McCoy                                                               $312,238.67 Investor‐Lender            $100,000.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property   Dennis K McCoy                                                               $312,238.67 Investor‐Lender             $50,000.00
  115              109 N Laramie Avenue                                   Former Property   Dennis K McCoy                                                               $312,238.67 Investor‐Lender             $30,155.00
  126         5201‐5207 W Washington Blvd                                 Former Property   Dennis K McCoy                                                               $312,238.67 Investor‐Lender             $76,667.00
  124             6801 S East End Avenue                                  Former Property   Dennis Ray Hennefer                                                           $34,840.00 Investor‐Lender             $34,840.00
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Denny Kon                                                                     $52,000.01 Investor‐Lender             $50,000.00
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property   Derrick, Horace                                                              $100,000.00 Investor‐Lender            $100,000.00
   58           5955 S Sacramento Avenue          2948‐56 W 60th Street   Estate Property   Diana Johan                                                                   $25,000.00 Investor‐Lender             $25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Direct Lending Partner LLC (successor to Arena DLP Lender LLC and         $3,118,675.50 Institutional Lender
                                                                                            DLP Lending Fund LLC)
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Distributive Marketing Inc.                                                $100,000.00     Investor‐Lender           $50,000.00
    6            6437 S Kenwood Avenue                                    Estate Property   Distributive Marketing Inc.                                                $155,000.00      Equity Investor          $50,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Distributive Marketing Inc.                                                $100,000.00     Investor‐Lender           $50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Distributive Marketing Inc.                                                $155,000.00      Equity Investor          $55,000.00
10 to 12        7301‐09 S Stewart Avenue                                  Fund              Distributive Marketing Inc.                                                $155,000.00      Equity Investor          $50,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property   DK Phenix Investments LLC                                                  $575,750.00     Investor‐Lender          $100,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   DK Phenix Investments LLC                                                  $575,750.00     Investor‐Lender           $75,000.00
13 to 15                   CCF2                                           Fund              DK Phenix Investments LLC                                                  $575,750.00     Investor‐Lender          $100,000.00
   91              7701 S Essex Avenue                                    Estate Property   Domenic Simone                                                             $153,246.58      Equity Investor         $100,000.00
  107             1422 East 68th Street                                   Estate Property   Domenic Simone                                                             $153,246.58      Equity Investor         $165,000.00
  155            Campo‐Mar, Puerto Rico                                   Former Property   Domenic Simone                                                             $153,246.58     Investor‐Lender          $100,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
  155            Campo‐Mar, Puerto Rico                                      Former Property   Domenic Simone                                                       $153,246.58   Equity Investor          $100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Donald Freers aka Meadows Advisors LLC                               $198,000.00 Investor‐Lender             $48,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Donald Freers aka Meadows Advisors LLC                               $198,000.00 Investor‐Lender             $95,000.00
   67              1131‐41 E 79th Place                                      Estate Property   Donald Freers aka Meadows Advisors LLC                               $198,000.00 Investor‐Lender             $48,000.00
   84             7051 S Bennett Avenue                                      Estate Property   Donald Freers aka Meadows Advisors LLC                               $198,000.00 Investor‐Lender              $5,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Donald Hendrickson                                                    $10,595.99 Investor‐Lender             $10,000.00
   89            7600 S Kingston Avenue                                      Estate Property   Donald Minchow                                                       $225,000.00 Investor‐Lender            $110,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Doron Kermanian                                                       $30,000.00 Investor‐Lender             $25,000.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Doron Reichenberg                                                    $179,000.00 Investor‐Lender             $50,000.00
  101           6949‐59 S Merrill Avenue          2134‐40 East 68th Street   Estate Property   Doron Reichenberg                                                    $179,000.00 Investor‐Lender             $54,000.00
13 to 15                   CCF2                                              Fund              Doron Reichenberg                                                    $179,000.00 Investor‐Lender             $75,000.00
    2          4533‐37 S Calumet Avenue                                      Estate Property   Double Portion Foundation                                             $40,000.00 Investor‐Lender             $40,000.00
    2          4533‐37 S Calumet Avenue                                      Estate Property   Douglas Nebel and Narine Nebel                                       $155,752.25 Investor‐Lender             $50,000.00
    4           5450‐52 S Indiana Avenue             118‐132 E Garfield      Estate Property   Douglas Nebel and Narine Nebel                                       $155,752.25 Investor‐Lender             $65,000.00
   67              1131‐41 E 79th Place                                      Estate Property   Douglas Nebel and Narine Nebel                                       $155,752.25 Investor‐Lender             $50,000.00
  904                     SSDF4                                              Fund              Douglas Nebel and Narine Nebel                                       $115,000.00 Investor‐Lender            $115,000.00
13 to 15                   CCF2                                              Fund              Douglas Nebel and Narine Nebel                                       $155,752.25 Investor‐Lender             $15,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Duke E. Heger and Viviana Heger                                      $117,000.00 Investor‐Lender             $35,000.00
   59          6001 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   Duke E. Heger and Viviana Heger                                      $117,000.00 Investor‐Lender             $12,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Duke E. Heger and Viviana Heger                                      $117,000.00 Investor‐Lender             $50,000.00
   89            7600 S Kingston Avenue            2527‐29 E 76th Street     Estate Property   Duke E. Heger and Viviana Heger                                      $117,000.00 Investor‐Lender             $20,000.00
13 to 15                   CCF2                                              Fund              Duke E. Heger and Viviana Heger                                       $60,000.00   Equity Investor           $60,000.00
  902               SSDF2 Holdco 3 LLC                                       Fund              Duty, Darrell and Frances                                                  Blank Investor‐Lender
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property   DVH Investment Trust                                                  $20,000.00 Investor‐Lender            $198,500.00
   60             7026 S Cornell Avenue                                      Estate Property   DVH Investment Trust                                                  $20,000.00 Investor‐Lender             $80,000.00
   72           7024‐32 S Paxton Avenue                                      Estate Property   DVH Investment Trust                                                  $20,000.00 Investor‐Lender             $35,000.00
  901                     SSDF1                                              Fund              DVH Investment Trust                                                  $20,000.00 Investor‐Lender            $315,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Easley Family Trust c/o Todd Easley                                   $25,000.00 Investor‐Lender             $25,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   EastWest Funding Trust                                                $52,000.00 Investor‐Lender             $50,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Eco2 Capital Inc.                                                     $36,308.25 Investor‐Lender             $50,000.00
   64          4611‐15 S Drexel Boulevard                                    Estate Property   Eco2 Capital Inc. 401k                                                $43,933.81 Investor‐Lender             $50,000.00
  120            7823‐27 S Essex Avenue                                      Former Property   Ed A Bancroft                                                        $258,060.00 Investor‐Lender             $75,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA         $1,031,324.00 Investor‐Lender             $101,000.00
   53             6807 S Indiana Avenue                                      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA         $1,031,324.00 Investor‐Lender              $45,000.00
   56               8209 S Ellis Avenue                                      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA         $1,031,324.00 Investor‐Lender             $100,000.00
   75          7625‐33 S East End Avenue                                     Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA         $1,031,324.00 Investor‐Lender             $176,226.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address           Type                                     Claimant Name                       Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                           (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                Amount in Claim            Form               Property
                                                                                                                                                                   Category as
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
   78           7201 S Constance Avenue             1825‐31 E 72nd Street    Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender              $17,374.00
   80               2736 W 64th Street                                       Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender              $30,000.00
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender             $102,149.00
   93          7953‐59 S Marquette Road             2708‐10 E 80th Street    Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender              $58,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender             $100,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender             $100,400.00
  122          7616‐7624 S Phillips Avenue                                   Former Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00    Equity Investor           $27,000.00
  145          4755 S St Lawrence Avenue                                     Former Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00    Equity Investor           $50,000.00
10 to 12                   CCF1                                              Fund              Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender              $70,175.00
13 to 15                   CCF2                                              Fund              Edge Investments, LLC, Janet F. Turco, Owner/Member IRA               $1,031,324.00 Investor‐Lender             $104,000.00
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street    Estate Property   Edward J. Netzel                                                          $20,000.00 Investor‐Lender             $20,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property   Edwin BARKER                                                              $36,773.52 Investor‐Lender             $50,000.00
    1             1700 Juneway Terrace                                       Estate Property   Elaine Sison Ernst                                                        $95,000.00 Investor‐Lender
    6            6437 S Kenwood Avenue                                       Estate Property   Elaine Sison Ernst                                                        $95,000.00 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Elaine Sison Ernst                                                        $95,000.00 Investor‐Lender
    1             1700 Juneway Terrace                                       Estate Property   Elizabeth A. Monnot‐Chase                                                $107,450.00 Investor‐Lender            $105,000.00
13 to 15                   CCF2                                              Fund              Elizabeth Riley Gerber                                                    $47,347.23   Equity Investor           $50,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   Elizabeth Zeng                                                           $148,422.77 Investor‐Lender             $25,000.00
   60             7026 S Cornell Avenue                                      Estate Property   Elizabeth Zeng                                                           $148,422.77 Investor‐Lender              $9,000.00
   67              1131‐41 E 79th Place                                      Estate Property   Elizabeth Zeng                                                             $8,914.75   Equity Investor            $8,450.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Elizabeth Zeng                                                           $148,422.77 Investor‐Lender             $94,000.00
   88             7546 S Saginaw Avenue                                      Estate Property   Elizabeth Zeng                                                           $148,422.77 Investor‐Lender             $12,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Ellen Liu                                                                $400,000.00   Equity Investor          $150,000.00
 10‐12                     CCF1                                              Fund              Ellen Liu                                                                $400,000.00   Equity Investor          $250,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property   Emile P. Dufrene, III                                                     $50,422.00 Investor‐Lender             $50,000.00
   72           7024‐32 S Paxton Avenue                                      Estate Property   Emile P. Dufrene, III                                                     $50,422.00 Investor‐Lender             $50,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   Equity Capital Resources, LLC                                             $77,166.66 Investor‐Lender             $25,000.00
   59          6001 S Sacramento Avenue             2945‐51 W 60th Street    Estate Property   Equity Capital Resources, LLC                                             $77,166.66 Investor‐Lender             $50,000.00
   80               2736 W 64th Street                                       Estate Property   EQUITY TRUST COMPANY CUSTODIAN FBO ALBERT RUFFIN IRA                      $50,000.00 Investor‐Lender             $50,000.00
  124            6801 S East End Avenue                                      Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO CHRISTOPHER M                           $2,951.00 Investor‐Lender              $2,951.00
                                                                                               GUILLEN IRA
  124            6801 S East End Avenue                                     Former Property    EQUITY TRUST COMPANY CUSTODIAN FBO JETT C GUILLEN CESA                   $2,608.00     Investor‐Lender            $2,608.00
  60              7026 S Cornell Avenue                                     Estate Property    Equity Trust Company Custodian FBO Linda A. Smith IRA                   $50,000.00     Investor‐Lender           $50,000.00
  88             7546 S Saginaw Avenue                                      Estate Property    Equity Trust Company Custodian FBO Marvette Cofield Roth IRA;           $25,000.00     Investor‐Lender           $25,000.00
                                                                                               Equity Trust Company Custodian FBO Marvette Cofield SEP IRA



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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property           Property Address              Alternative Address             Type                                     Claimant Name                 Claimed Amount       Claim Category as           Amount Claimed
Number                                                                                                                                                   (Total Claimed     Identified on Claim          to be Invested in
                                                                                                                                                        Amount in Claim            Form                      Property
                                                                                                                                                           Category as
                                                                                                                                                       Identified on Claim
                                                                                                                                                              Form)
  124           6801 S East End Avenue                                    Former Property    EQUITY TRUST COMPANY CUSTODIAN FBO PATRICIA F GUILLEN IRA           $14,775.00 Investor‐Lender                    $14,775.00

  124           6801 S East End Avenue                                    Former Property    Equity Trust Company Custodian FBO Theodore J. Guillen                   $14,775.00    Investor‐Lender            $14,775.00
  124           6801 S East End Avenue                                    Former Property    EQUITY TRUST COMPANY CUSTODIAN FBO THEODORE P GUILLEN                     $2,391.00    Investor‐Lender             $2,391.00
                                                                                             JR. IR
  76           7635‐43 S East End Avenue                                  Estate Property    Equity Trust Custodian FBO Dorothy Marie Baker IRA                       $15,000.00    Investor‐Lender            $10,000.00
  118            400 S Kilbourn Avenue                                    Former Property    Equity TrustCompany Custodian FBO Karuna Voddi IRA                       $12,777.00    Investor‐Lender            $12,777.00
    6           6437 S Kenwood Avenue                                     Estate Property    Eric Schwartz                                                           $144,153.72    Investor‐Lender            $12,000.00
   69            6250 S Mozart Avenue          2832‐36 W 63rd Street      Estate Property    Eric Schwartz                                                           $144,153.72    Investor‐Lender            $60,082.00
   87             7508 S Essex Avenue          2453‐59 E 75th Street      Estate Property    Eric Schwartz                                                           $144,153.72    Investor‐Lender             $7,213.00
  130           4511 N Merrimac Avenue                                    Former Property    Eric Schwartz                                                           $144,153.72    Investor‐Lender            $44,178.86
  908                     SSDF8                                           Fund               Eric Schwartz                                                             $2,787.00     Equity Investor            $2,787.00
   74            3074 Cheltenham Place           7836 S Shore Drive       Estate Property    Erika Dietz                                                              $20,000.00    Investor‐Lender            $50,000.00
    4          5450‐52 S Indiana Avenue          118‐132 E Garfield       Estate Property    Erika Dietz IRA account (Madison Trust Company Custodian FBO            $102,666.66    Investor‐Lender           $100,000.00
                                                                                             Erika Dietz Acct #M1612085)
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Erwin J Page Trust, Jeffrey Steybe, Trustee                              $52,666.68    Investor‐Lender            $50,000.00
  1              1700 Juneway Terrace                                     Estate Property    Evans & Associates LLC (Will Evans)                                      $50,000.00    Investor‐Lender            $50,000.00
  69             6250 S Mozart Avenue          2832‐36 W 63rd Street      Estate Property    Evelyn Stratton (iPlanGroup Agent for Custodial FBO Evelyn              $100,000.00    Investor‐Lender           $100,000.00
                                                                                             Stratton IRA)
  115             109 N Laramie Avenue                                    Former Property    FDD Properties LLC                                                       $225,000.00    Equity Investor           $50,000.00
  904                     SSDF4                                           Fund               FDD Properties LLC                                                       $225,000.00    Equity Investor          $225,000.00
   70              638 N Avers Avenue                                     Estate Property    Federal Home Loan Mortgage Corporation [Freddie Mac]                   $1,273,346.96 Institutional Lender
   72           7024‐32 S Paxton Avenue                                   Estate Property    Federal Home Loan Mortgage Corporation [Freddie Mac]                   $1,825,895.85 Institutional Lender
   67              1131‐41 E 79th Place                                   Estate Property    Federal National Mortgage Association                                  $1,319,255.08 Institutional Lender
   92            7748‐50 S Essex Avenue         2450‐52 E 78th Street     Estate Property    Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)            $300,000.00 Investor‐Lender              $250,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)            $300,000.00 Investor‐Lender               $25,000.00
13 to 15                   CCF2                                           Fund               Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)            $300,000.00 Investor‐Lender               $25,000.00
    9              8100 S Essex Avenue         2449‐57 East 81st Street   Estate Property    Fields Loss Consultants LLC                                              $134,618.00    Trade Creditor           $143,618.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Fireshark Enterprises, LLC, a Texas Series Limited Liability Company     $279,898.28 Investor‐Lender             $313,418.93
  N/A                      N/A                                            Other              First Western Properties                                                  $21,756.00     Independent
                                                                                                                                                                                       Contractor
10 to 12       7301‐09 S Stewart Avenue                                   Fund               FIVE STAR CAPITAL GROUP, LLC                                             $266,666.65 Investor‐Lender and         $250,000.00
              7500‐06 S Eggleston Avenue                                                                                                                                             Equity Investor
                 3030‐32 E 79th Street
  107            1422 East 68th Street                                    Estate Property    Fixed Slice LLC                                                          $64,775.00    Investor‐Lender           $250,642.00
  901                    SSDF1                                            Fund               Florybeth & David Stratton                                              $200,000.00     Equity Investor          $200,000.00


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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address            Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                     (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                          Amount in Claim            Form               Property
                                                                                                                                                             Category as
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
  124            6801 S East End Avenue                                   Former Property    Focus4 Investments, LLC                                              $104,349.99 Investor‐Lender            $100,000.00
  73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Frances D Cook Sunwest Trust Custodian FBO Frances D Cook              $6,000.00 Investor‐Lender              $6,000.00
                                                                                             IRA #1713343
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Francisco Fernandez                                                $584,237.50 Investor‐Lender               $65,000.00
   83            6356 S California Avenue          2804 W 64th Street     Estate Property    Francisco Fernandez                                                $584,237.50 Investor‐Lender               $41,604.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    Francisco Fernandez                                                $584,237.50 Investor‐Lender               $23,396.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property    Francisco Fernandez                                                $584,237.50 Investor‐Lender               $50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Francisco Fernandez                                                $584,237.50 Investor‐Lender              $165,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Francisco Fernandez                                                $584,237.50 Investor‐Lender               $45,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property    Francisco Fernandez                                                $584,237.50 Investor‐Lender              $175,000.00
10 to 12                   CCF1                                           Fund               Francisco Fernandez                                                $312,124.98    Equity Investor           $250,000.00
13 to 15                   CCF2                                           Fund               Francisco Fernandez                                                $312,124.98    Equity Investor            $50,000.00
   63          4520‐26 S Drexel Boulevard                                 Estate Property    Frank and Laura Sohm                                               $167,893.65    Equity Investor            $65,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Frank and Laura Sohm                                               $167,893.65 Investor‐Lender               $35,300.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    Frank and Laura Sohm                                               $167,893.65 Investor‐Lender               $14,700.00
   94           816‐20 E Marquette Road                                   Estate Property    Frank and Laura Sohm                                               $167,893.65 Investor‐Lender               $50,000.00
  120            7823‐27 S Essex Avenue                                   Former Property    Frank and Laura Sohm                                               $167,893.65    Equity Investor            $26,000.00
  135            4930 W Cornelia Avenue                                   Former Property    Frank and Laura Sohm                                               $167,893.65    Equity Investor
10 to 12        7301‐09 S Stewart Avenue                                  Fund               Frank and Laura Sohm                                               $167,893.65 Investor‐Lender and           $26,000.00
               7500‐06 S Eggleston Avenue                                                                                                                                      Equity Investor
                  3030‐32 E 79th Street
 13‐15              2909 E 78th Street                                    Fund               Frank and Laura Sohm                                               $167,893.65     Equity Investor           $10,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
   71               701 S 5th Avenue                  414 Walnut          Estate Property    Frank Sohm IRA                                                     $148,604.93 Investor‐Lender               $40,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property    Frank Sohm IRA                                                     $148,604.93 Investor‐Lender               $15,796.00
  120            7823‐27 S Essex Avenue                                   Former Property    Frank Sohm IRA                                                     $148,604.93 Investor‐Lender               $40,000.00
  135            4930 W Cornelia Avenue                                   Former Property    Frank Sohm IRA                                                     $148,604.93 Investor‐Lender               $25,000.00
10 to 12        7301‐09 S Stewart Avenue                                  Fund               Frank Sohm IRA                                                     $148,664.93 Investor‐Lender and           $10,000.00
               7500‐06 S Eggleston Avenue                                                                                                                                      Equity Investor
                  3030‐32 E 79th Street
 13‐15              2909 E 78th Street                                    Fund               Frank Sohm IRA                                                     $148,664.93     Equity Investor           $40,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
  N/A                      N/A                                            UPN                Frank Sohm IRA                                                     $148,604.93     Investor‐Lender           $10,992.19
  76           7635‐43 S East End Avenue                                  Estate Property    Frank Starosciak                                                    $47,407.14     Investor‐Lender           $17,125.00


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                                                                                                    Exhibit 6
                                                                                          Master Claims Spreadsheet
                                                                              SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address           Alternative Address             Type                                     Claimant Name                Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                             (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                  Amount in Claim            Form               Property
                                                                                                                                                     Category as
                                                                                                                                                 Identified on Claim
                                                                                                                                                        Form)
   89        7600 S Kingston Avenue        2527‐29 E 76th Street     Estate Property    Frank Starosciak                                                   $47,407.14 Investor‐Lender             $20,000.00
 96‐99        8326‐58 S Ellis Avenue                                 Estate Property    Frank Starosciak                                                   $47,407.14 Investor‐Lender              $5,000.00
   89        7600 S Kingston Avenue        2527‐29 E 76th Street     Estate Property    Fraser Realty Capital, LLC                                         $20,038.00 Investor‐Lender             $20,038.00
   77      7750‐58 S Muskegon Avenue       2818‐36 E 78th Street     Estate Property    Fraser Realty Investments, LLC                                    $120,000.00 Investor‐Lender            $100,000.00
   95        8201 S Kingston Avenue                                  Estate Property    Fraser Realty Investments, LLC                                    $120,000.00 Investor‐Lender             $20,000.00
   85      7201‐07 S Dorchester Avenue     1401 E 72nd Street        Estate Property    Freda R. Smith                                                     $25,141.58 Investor‐Lender             $20,000.00
   58       5955 S Sacramento Avenue      2948‐56 W 60th Street      Estate Property    Fredric R. Gottlieb                                               $212,481.00 Investor‐Lender             $37,481.00
   62         7834‐44 S Ellis Avenue                                 Estate Property    Fredric R. Gottlieb                                               $391,776.10 Investor‐Lender             $58,617.00
   68      6217‐27 S Dorchester Avenue                               Estate Property    Fredric R. Gottlieb                                               $391,776.10 Investor‐Lender             $15,740.00
   73        7255‐57 S Euclid Avenue       1940‐44 E 73rd Street     Estate Property    Fredric R. Gottlieb                                               $391,776.10 Investor‐Lender             $60,000.00
 96‐99        8326‐58 S Ellis Avenue                                 Estate Property    Fredric R. Gottlieb                                               $212,481.00 Investor‐Lender             $75,000.00
 96‐99        8326‐58 S Ellis Avenue                                 Estate Property    Fredric R. Gottlieb                                               $391,776.10 Investor‐Lender            $184,259.00
13 to 15               CCF2                                          Fund               Fredric R. Gottlieb                                               $212,481.00 Investor‐Lender            $100,000.00
   60         7026 S Cornell Avenue                                  Estate Property    Fredric R. Gottlieb (South Florida Realty Management &            $433,306.00 Investor‐Lender             $58,306.00
                                                                                        Investments)
102‐106       7927‐49 S Essex Avenue                                 Estate Property    Fredric R. Gottlieb (South Florida Realty Management &          $433,306.00     Investor‐Lender          $100,000.00
                                                                                        Investments)
10 to 12              CCF1                                           Fund               Fredric R. Gottlieb (South Florida Realty Management &          $433,306.00     Investor‐Lender          $100,000.00
                                                                                        Investments)
13 to 15              CCF2                                           Fund               Fredric R. Gottlieb (South Florida Realty Management &          $433,306.00     Investor‐Lender          $175,000.00
                                                                                        Investments)
    6         6437 S Kenwood Avenue                                  Estate Property    Freyja Partners, a California Limited Partnership               $179,625.00     Investor‐Lender           $50,000.00
 96‐99         8326‐58 S Ellis Avenue                                Estate Property    Freyja Partners, a California Limited Partnership               $179,625.00     Investor‐Lender           $50,000.00
13 to 15                CCF2                                         Fund               Freyja Partners, a California Limited Partnership               $179,625.00     Investor‐Lender           $50,000.00
   74          3074 Cheltenham Place        7836 S Shore Drive       Estate Property    G&M You‐Nique Properties, LLC                                    $62,325.00     Investor‐Lender           $60,000.00
    2        4533‐37 S Calumet Avenue                                Estate Property    Gallowglass LLC c/o Patrick Bournes                             $100,000.00     Investor‐Lender
   60          7026 S Cornell Avenue                                 Estate Property    Gallowglass LLC c/o Patrick Bournes                             $100,000.00     Investor‐Lender
   83         6356 S California Avenue      2804 W 64th Street       Estate Property    Gallowglass LLC c/o Patrick Bournes                             $100,000.00     Investor‐Lender
   85       7201‐07 S Dorchester Avenue     1401 E 72nd Street       Estate Property    Gallowglass LLC c/o Patrick Bournes                             $100,000.00     Investor‐Lender
  100      11117‐11119 S Longwood Drive                              Estate Property    Gallowglass LLC c/o Patrick Bournes                             $100,000.00     Investor‐Lender
   93        7953‐59 S Marquette Road      2708‐10 E 80th Street     Estate Property    Gallucci, Henry                                                  $77,000.00     Investor‐Lender           $17,000.00
    9           8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property    Ganpat and FEREEDA Seunath                                      $216,194.22     Investor‐Lender            $2,372.00
   59        6001 S Sacramento Avenue      2945‐51 W 60th Street     Estate Property    Ganpat and FEREEDA Seunath                                      $216,194.22     Investor‐Lender          $109,844.00
   67           1131‐41 E 79th Place                                 Estate Property    Ganpat and FEREEDA Seunath                                      $216,194.22     Investor‐Lender           $19,714.00
 96‐99         8326‐58 S Ellis Avenue                                Estate Property    Ganpat and FEREEDA Seunath                                      $216,194.22     Investor‐Lender           $51,585.00
  124         6801 S East End Avenue                                 Former Property    Ganpat and FEREEDA Seunath                                      $216,194.22     Investor‐Lender           $19,000.00


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address             Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                        (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                             Amount in Claim            Form               Property
                                                                                                                                                                Category as
                                                                                                                                                            Identified on Claim
                                                                                                                                                                   Form)
  N/A          Roth IRA and Traditional IRA                                  Fund               Ganpat and FEREEDA Seunath                                           $202,515.02   Equity Investor          $202,515.02
    6           6437 S Kenwood Avenue                                        Estate Property    Garwood Weatherhead                                                  $184,941.00 Investor‐Lender            $150,000.00
13 to 15                  CCF2                                               Fund               Gary Kucera                                                          $204,357.34   Equity Investor          $200,000.00
    1            1700 Juneway Terrace                                        Estate Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian                $9,523.00 Investor‐Lender              $1,000.00
                                                                                                IPLAN Group LLC)
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian               $9,523.00    Investor‐Lender            $2,990.00
                                                                                                IPLAN Group LLC)
  126         5201‐5207 W Washington Blvd                                    Former Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian               $9,523.00    Investor‐Lender            $3,171.00
                                                                                                IPLAN Group LLC)
  129            4494 West Roscoe Street                                     Former Property    Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian               $9,523.00    Investor‐Lender            $2,362.00
                                                                                                IPLAN Group LLC)
  901                     SSDF1                                              Fund               Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian               $9,523.00    Equity Investor            $7,161.00
                                                                                                IPLAN Group LLC)
   76           7635‐43 S East End Avenue                                    Estate Property    Gary R Burnham Jr Solo401K Trust                                    $42,029.00     Investor‐Lender           $42,029.00
  904                      SSDF4                                             Fund               Gary R Burnham Jr Solo401K Trust                                    $60,000.00      Equity Investor          $60,000.00
    1              1700 Juneway Terrace                                      Estate Property    Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)           $30,718.00     Investor‐Lender            $9,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)           $30,718.00     Investor‐Lender            $7,465.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)           $30,718.00      Equity Investor          $14,253.00
  901                      SSDF1                                             Fund               Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)           $30,718.00      Equity Investor          $30,718.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                $205,608.00     Investor‐Lender           $36,000.00
   59          6001 S Sacramento Avenue            2945‐51 W 60th Street     Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                $205,608.00     Investor‐Lender            $7,971.00
   72            7024‐32 S Paxton Avenue                                     Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                $205,608.00     Investor‐Lender          $106,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                $205,608.00     Investor‐Lender           $10,000.00
   88             7546 S Saginaw Avenue                                      Estate Property    Gary R. Burnham Jr. Solo 401K Trust                                $205,608.00     Investor‐Lender           $10,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Gary R. Burnham Jr. Solo 401K Trust                                $205,608.00     Investor‐Lender           $30,000.00
  129            4494 West Roscoe Street                                     Former Property    Gary R. Burnham Jr. Solo 401K Trust                                $205,608.00     Investor‐Lender            $5,637.00
  901                      SSDF1                                             Fund               Gary R. Burnham Jr. Solo 401K Trust                                $204,026.00      Equity Investor         $204,026.00
10 to 12                    CCF1                                             Fund               GEGO NADLAN REALTY LLC                                              $50,000.00     Investor‐Lender           $50,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property    Gene X Erquiaga                                                     $51,749.99     Investor‐Lender
   64          4611‐15 S Drexel Boulevard                                    Estate Property    Genevieve Giuliana Heger                                            $20,058.00     Investor‐Lender           $10,000.00
   89             7600 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    Genevieve Giuliana Heger                                            $20,058.00     Investor‐Lender           $10,000.00
  908                      SSDF8                                             Fund               Genevieve Heger and Duke Heger, JTWROS                              $10,000.00      Equity Investor          $10,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    George S Black                                                      $95,000.00     Investor‐Lender           $27,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property    George S Black                                                      $95,000.00     Investor‐Lender           $68,000.00
   75           7625‐33 S East End Avenue                                    Estate Property    Geronimo Usuga Carmona                                               $8,937.50     Investor‐Lender           $35,667.00
   89             7600 S Kingston Avenue           2527‐29 E 76th Street     Estate Property    Geronimo Usuga Carmona                                               $8,937.50     Investor‐Lender           $39,333.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                  Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                      (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                           Amount in Claim            Form               Property
                                                                                                                                                              Category as
                                                                                                                                                          Identified on Claim
                                                                                                                                                                 Form)
   92            7748‐50 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Gerry Recamara                                                       $55,000.00 Investor‐Lender             $55,000.00
   81            4317 S Michigan Avenue                                      Estate Property   Gerry / Clarice Recamara                                              $2,227.80 Investor‐Lender
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property   Gerry / Clarice Recamara                                              $2,227.80 Investor‐Lender
  118             400 S Kilbourn Avenue                                      Former Property   Gerry / Clarice Recamara                                              $2,227.80 Investor‐Lender
   1              1700 Juneway Terrace                                       Estate Property   Gilbert D Sherman Declaration of Trust 7/30/2013                     $60,500.00 Investor‐Lender             $50,000.00
   71               701 S 5th Avenue                    414 Walnut           Estate Property   GIRISH JUNEJA SELF DIRECTED ROTH IRA, CUSTODIAN: KINGDOM             $57,800.00   Equity Investor           $50,000.00
                                                                                               TRUST ACCOUNT# 3567954194
   4           5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property   Girl Cat Capital West LLC, Valentina Salge, President             $212,145.00     Investor‐Lender           $50,000.00
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Girl Cat Capital West LLC, Valentina Salge, President             $212,145.00     Investor‐Lender            $8,426.00
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Girl Cat Capital West LLC, Valentina Salge, President             $212,145.00     Investor‐Lender           $12,145.00
  72            7024‐32 S Paxton Avenue                                      Estate Property   Girl Cat Capital West LLC, Valentina Salge, President             $212,145.00     Investor‐Lender           $50,000.00
  77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Girl Cat Capital West LLC, Valentina Salge, President             $212,145.00     Investor‐Lender           $25,000.00
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Girl Cat Capital West LLC, Valentina Salge, President             $212,145.00     Investor‐Lender           $16,574.00
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Girl Cat Capital West LLC, Valentina Salge, President             $212,145.00     Investor‐Lender          $100,000.00
  N/A                     N/A                                                Other             Gomberg Sharfman, PC                                                 $748.00        Independent
                                                                                                                                                                                    Contractor
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Gowrisankar Challagundla                                           $59,750.00     Investor‐Lender           $50,000.00
    1             1700 Juneway Terrace                                       Estate Property   Grace Ndungu                                                       $45,169.81     Investor‐Lender           $50,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender          $149,081.00
    6            6437 S Kenwood Avenue                                       Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender           $57,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender          $100,000.00
   64          4611‐15 S Drexel Boulevard                                    Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender          $150,000.00
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender          $100,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender           $50,000.00
   94           816‐20 E Marquette Road                                      Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender           $35,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender           $53,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Grathia Corp                                                    $1,184,081.00     Investor‐Lender           $50,000.00
  904                     SSDF4                                              Fund              Grathia Corp                                                    $1,184,081.00     Investor‐Lender           $50,000.00
  908                     SSDF8                                              Fund              Grathia Corp                                                    $1,184,081.00     Investor‐Lender           $50,000.00
10 to 12                   CCF1                                              Fund              Grathia Corp                                                    $1,184,081.00     Investor‐Lender          $100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Graystone Realty, LLC                                              $52,000.01     Investor‐Lender           $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Green Light Investments, LLC                                       $90,000.00     Investor‐Lender           $50,000.00
   84             7051 S Bennett Avenue                                      Estate Property   Green Light Investments, LLC                                       $90,000.00                               $40,000.00
  904                     SSDF4                                              Fund              Greg Oja                                                           $15,000.00     Equity Investor           $15,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Greg S. Wirth                                                      $12,600.00     Equity Investor           $12,600.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Greg S. Wirth                                                       $7,300.00     Equity Investor            $7,300.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address           Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                 Category as
                                                                                                                                             Identified on Claim
                                                                                                                                                    Form)
   64         4611‐4615 S Drexel Boulevard                                  Estate Property    Greg S. Wirth                                           $12,600.00 Investor‐Lender             $12,600.00
   64         4611‐4615 S Drexel Boulevard                                  Estate Property    Greg S. Wirth                                            $7,300.00 Investor‐Lender              $7,300.00
   62              7834‐44 S Ellis Avenue                                   Estate Property    Gregory C. Snyder                                       $50,000.00 Investor‐Lender             $50,000.00
   88             7546 S Saginaw Avenue                                     Estate Property    Gregory M. Wetz                                         $50,000.00 Investor‐Lender             $50,000.00
    1              1700 Juneway Terrace                                     Estate Property    Gregory R Scott and Gene X Erquiaga                     $52,333.32 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                             Estate Property    Guenter Scheel and Karen Scheel                         $25,000.00 Investor‐Lender             $25,000.00
13 to 15                    CCF2                                            Fund               Gurinder Singh Dhillon                                  $50,000.00   Equity Investor           $50,000.00
   82            6355‐59 S Talman Avenue            2616‐22 W 64th Street   Estate Property    H&W Management Company, Inc.                           $200,000.00 Investor‐Lender            $200,000.00
10 to 12        7301‐09 S Stewart Avenue                                    Fund               H&W Management Company, Inc.                           $327,616.00   Equity Investor          $327,616.00
               7500‐06 S Eggleston Avenue
                    3030‐32 E 79th Street
   93           7953‐59 S Marquette Road            2708‐10 E 80th Street    Estate Property   Halbur, William and Janice                            $20,000.00     Investor‐Lender            $8,763.00
  111              6558 S Vernon Avenue              416‐24 E 66th Street    Estate Property   Halbur, William and Janice                            $20,000.00     Investor‐Lender           $20,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property   Halbur, William and Janice                            $20,000.00     Investor‐Lender           $20,000.00
   61              7237 S Bennett Avenue                                     Estate Property   Hang Zhou and Lu Dong                                $157,821.57     Investor‐Lender           $50,000.00
   81             4317 S Michigan Avenue                                     Estate Property   Hang Zhou and Lu Dong                                $157,821.57     Investor‐Lender           $50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   Hang Zhou and Lu Dong                                $157,821.57     Investor‐Lender           $50,000.00
  906                      SSDF6                                             Fund              Hang Zhou and Lu Dong                                                 Equity Investor
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield     Estate Property   Harendra Pal                                          $11,165.00     Investor‐Lender            $8,932.00
   62              7834‐44 S Ellis Avenue                                    Estate Property   HARENDRA PAL                                         $125,000.00     Investor‐Lender          $100,000.00
   94            816‐20 E Marquette Road                                     Estate Property   Harendra Pal                                         $105,400.00     Investor‐Lender          $100,000.00
   95             8201 S Kingston Avenue                                     Estate Property   Harendra Pal                                         $125,000.00     Investor‐Lender          $100,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property   Harendra Pal                                          $51,335.00     Investor‐Lender           $41,068.00
    2           4533‐37 S Calumet Avenue                                     Estate Property   Harvey Singer                                        $854,387.63     Investor‐Lender          $100,000.00
   58           5955 S Sacramento Avenue            2948‐56 W 60th Street    Estate Property   Harvey Singer                                        $854,387.63     Investor‐Lender
   60              7026 S Cornell Avenue                                     Estate Property   Harvey Singer                                        $854,387.63     Investor‐Lender           $51,500.00
   81             4317 S Michigan Avenue                                     Estate Property   Harvey Singer                                        $854,387.63     Investor‐Lender          $210,000.00
   86           7442‐48 S Calumet Avenue                                     Estate Property   Harvey Singer                                        $854,387.63     Investor‐Lender           $37,500.00
   90             7656 S Kingston Avenue          2514‐2520 East 77th Street Estate Property   Harvey Singer                                        $854,387.63     Investor‐Lender          $100,000.00
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property   Harvey Singer                                        $854,387.63     Investor‐Lender           $65,000.00
   92             7748‐50 S Essex Avenue            2450‐52 E 78th Street    Estate Property   Heidi H. Liu                                          $76,079.07      Equity Investor          $50,000.00
   92             7748‐50 S Essex Avenue            2450‐52 E 78th Street    Estate Property   Heidi H. Liu                                          $38,170.50     Investor‐Lender           $50,000.00
   49          7300‐04 St Lawrence Avenue                                    Estate Property   Helen Boyd                                           $105,000.00     Investor‐Lender           $50,000.00
   50               7760 S Coles Avenue                                      Estate Property   Helen Boyd                                           $105,000.00     Investor‐Lender           $55,000.00
102‐106           7927‐49 S Essex Avenue                                     Estate Property   Helen Boyd                                           $105,000.00     Investor‐Lender          $150,000.00
    1              1700 Juneway Terrace                                      Estate Property   Helene D Kapsky                                      $100,000.00     Investor‐Lender          $100,000.00


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                                                                                                   Exhibit 6
                                                                                         Master Claims Spreadsheet
                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address           Alternative Address            Type                                     Claimant Name                     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                 (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                      Amount in Claim            Form               Property
                                                                                                                                                         Category as
                                                                                                                                                     Identified on Claim
                                                                                                                                                            Form)
    9            8100 S Essex Avenue      2449‐57 East 81st Street   Estate Property   Henry C. Scheuller                                                     $246,440.00 Investor‐Lender
   61           7237 S Bennett Avenue                                Estate Property   Henry C. Scheuller                                                     $246,440.00 Investor‐Lender
   87            7508 S Essex Avenue       2453‐59 E 75th Street     Estate Property   Henry C. Scheuller                                                     $246,440.00 Investor‐Lender
 96‐99          8326‐58 S Ellis Avenue                               Estate Property   Henry C. Scheuller                                                     $246,440.00 Investor‐Lender
   77       7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property   Henry D. Gallucci                                                       $77,000.00 Investor‐Lender             $60,000.00
   63        4520‐26 S Drexel Boulevard                              Estate Property   Henry S. Scheuller                                                      $85,400.00   Equity Investor           $85,000.00
  124          6801 S East End Avenue                                Former Property   Hill, Michael                                                           $85,000.00 Investor‐Lender
   55             8107 S Ellis Avenue                                Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender             $50,000.00
  68        6217‐27 S Dorchester Avenue                              Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender             $65,000.00
  77        7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender            $125,000.00
   81          4317 S Michigan Avenue                                Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender             $75,000.00
  85        7201‐07 S Dorchester Avenue     1401 E 72nd Street       Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender             $50,000.00
  94          816‐20 E Marquette Road                                Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender             $65,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender             $75,000.00
  118           400 S Kilbourn Avenue                                Former Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member            $505,000.00 Investor‐Lender             $50,000.00
   1            1700 Juneway Terrace                                 Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                               $26,260.28 Investor‐Lender             $24,000.00
    4         5450‐52 S Indiana Avenue      118‐132 E Garfield       Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                               $26,260.28 Investor‐Lender             $26,000.00
   88          7546 S Saginaw Avenue                                 Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                               $26,260.28 Investor‐Lender             $50,000.00
   51            1401 W 109th Place                                  Estate Property   Hiu Tung Carol                                                          $62,000.00 Investor‐Lender            $115,487.00
   6          6437 S Kenwood Avenue                                  Estate Property   Hoang Small Trust c/o Dalano Hoang                                     $300,000.00 Investor‐Lender
   9             8100 S Essex Avenue      2449‐57 East 81st Street   Estate Property   Hoang Small Trust c/o Dalano Hoang                                     $300,000.00 Investor‐Lender
   93        7953‐59 S Marquette Road      2708‐10 E 80th Street     Estate Property   Hoang Small Trust c/o Dalano Hoang                                     $300,000.00 Investor‐Lender             $50,000.00
 96‐99          8326‐58 S Ellis Avenue                               Estate Property   Hoang Small Trust c/o Dalano Hoang                                     $300,000.00 Investor‐Lender
   80             2736 W 64th Street                                 Estate Property   Hongjun Li and Sheyu Zhou                                               $95,370.00 Investor‐Lender             $93,000.00
   82         6355‐59 S Talman Avenue     2616‐22 W 64th Street      Estate Property   Hopson & Associates LLC                                                 $75,000.00 Investor‐Lender             $75,000.00
  937              Mezzanine Fund                                    Fund              Hopson & Associates LLC                                                 $75,000.00 Investor‐Lender
    3          5001 S Drexel Boulevard       909 E 50th Street       Estate Property   Horst Siegrfied Filtzer Jr.                                             $90,983.33 Investor‐Lender            $100,000.00
    4         5450‐52 S Indiana Avenue      118‐132 E Garfield       Estate Property   Howard and Doris Bybee                                                  $65,000.00 Investor‐Lender             $15,000.00
  93         7953‐59 S Marquette Road     2708‐10 E 80th Street      Estate Property   Howard and Doris Bybee                                                  $65,000.00 Investor‐Lender             $50,000.00
   82         6355‐59 S Talman Avenue     2616‐22 W 64th Street      Estate Property   Huiyi Yang                                                              $37,000.00 Investor‐Lender             $37,000.00
   87            7508 S Essex Avenue      2453‐59 E 75th Street      Estate Property   Huiyi Yang                                                              $21,935.00 Investor‐Lender             $21,935.00
   50            7760 S Coles Avenue                                 Estate Property   Huiyi Yang and Hui Wang                                                 $43,150.22 Investor‐Lender             $20,166.67
   88          7546 S Saginaw Avenue                                 Estate Property   Huiyi Yang and Hui Wang                                                 $43,150.22 Investor‐Lender             $16,374.00
  94          816‐20 E Marquette Road                                Estate Property   Huiyi Yang and Hui Wang                                                 $43,150.22 Investor‐Lender             $13,847.00
   62           7834‐44 S Ellis Avenue                               Estate Property   Hutchings, Matt                                                        $362,766.68 Investor‐Lender            $150,000.00
   68       6217‐27 S Dorchester Avenue                              Estate Property   Hutchings, Matt                                                        $362,766.68 Investor‐Lender             $50,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address           Type                                     Claimant Name                        Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
   95            8201 S Kingston Avenue                                   Estate Property   Hutchings, Matt                                                           $362,766.68 Investor‐Lender            $150,000.00
   55              8107 S Ellis Avenue                                    Estate Property   Hyman J. Small                                                             $75,000.00 Investor‐Lender
   56              8209 S Ellis Avenue                                    Estate Property   Hyman J. Small                                                             $75,000.00 Investor‐Lender
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   IG Investment Trust                                                        $27,213.71 Investor‐Lender             $25,000.00
  904                     SSDF4                                           Fund              Indranie Jodha/Chetram Jodha                                               $32,000.00   Equity Investor           $32,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Influx Investments LLC                                                    $100,000.00 Investor‐Lender             $25,000.00
   61            7237 S Bennett Avenue                                    Estate Property   Influx Investments LLC                                                    $100,000.00 Investor‐Lender             $50,000.00
10 to 12                   CCF1                                           Fund              Influx Investments LLC                                                    $100,000.00   Equity Investor           $25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Ingrid Beyer and Joel Beyer                                                $10,346.02 Investor‐Lender             $10,000.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   Initium LLC/Harry Saint‐Preux                                             $150,000.00 Investor‐Lender             $50,000.00
  126         5201‐5207 W Washington Blvd                                 Former Property   Initium LLC/Harry Saint‐Preux                                             $150,000.00 Investor‐Lender             $10,000.00
  126         5201‐5207 W Washington Blvd                                 Former Property   Investment made as Louis Duane Velez, LLV with Louis Duane Velez           $46,131.09 Investor‐Lender             $50,000.00
                                                                                            as manager
  88             7546 S Saginaw Avenue                                    Estate Property   Investment made by Louis Duane Velez, LLC with Louis Duane Velez           $50,000.00 Investor‐Lender             $50,000.00
                                                                                            as manager
13 to 15                  CCF2                                            Fund              IP Holdings, LLC                                                           $50,000.00 Investor‐Lender             $50,000.00
   93          7953‐59 S Marquette Road           2708‐10 E 80th Street   Estate Property   iPlan Group Agent for Custodian FBO Daniel O'Hare IRA                      $50,000.00 Investor‐Lender             $50,000.00
  902                    SSDF2                                            Fund              IPlan Group Agent for Custodian FBO David Stratton IRA                     $55,700.00   Equity Investor           $44,000.00
  904                    SSDF4                                            Fund              IPlan Group Agent for Custodian FBO David Stratton IRA                     $55,700.00   Equity Investor           $11,700.00
 96‐99           8326‐58 S Ellis Avenue                                   Estate Property   iPlan Group Agent for Custodian FBO James B Ploeger IRA                    $72,000.00 Investor‐Lender             $17,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property   iPlan Group Agent for Custodian FBO James B Ploeger IRA                    $72,000.00 Investor‐Lender             $55,000.00
  906                    SSDF6                                            Fund              iPlan Group Agent for Custodian FBO James B Ploeger IRA                    $72,000.00 Investor‐Lender             $55,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   iPlan Group Agent for Custodian FBO Jyotsna Sharma                         $50,000.00 Investor‐Lender             $25,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property   iPlan Group Agent for Custodian FBO Jyotsna Sharma IRA                     $50,000.00 Investor‐Lender             $25,000.00
 96‐99           8326‐58 S Ellis Avenue                                   Estate Property   iPlan Group Agent for Custodian FBO Marvette Cofield IRA 3321057           $10,000.00 Investor‐Lender             $10,000.00

   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   iPlan Group Agent for Custodian FBO Paula Levand Roth                     $34,819.65 Investor‐Lender              $18,497.00
  135           4930 W Cornelia Avenue                                    Former Property   iPlan Group Agent for Custodian FBO Paula Levand Roth                     $34,819.65 Investor‐Lender              $16,322.65
   5             7749 S Yates Boulevard                                   Estate Property   iPlan Group Agent for Custodian FBO Rama Voddi Roth IRA                   $33,000.00 Investor‐Lender              $33,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   iPlan Group Agent for Custodian FBO Stephen B Apple ROTH IRA              $43,705.00 Investor‐Lender              $43,705.00
   5             7749 S Yates Boulevard                                   Estate Property   iPlan Group FBO Garwood Weatherhead IRA Account # 3320844                $184,270.00 Investor‐Lender              $13,096.00
   5             7749 S Yates Boulevard                                   Estate Property   iPlan Group FBO Garwood Weatherhead IRA Account # 3421004                $184,270.00 Investor‐Lender              $16,152.00
   72           7024‐32 S Paxton Avenue                                   Estate Property   iPlan Group FBO Randall Pong IRA                                          $60,568.03 Investor‐Lender and
                                                                                                                                                                                    Equity Investor
  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property   iPlan Group FBO Randall Pong IRA                                          $60,568.03 Investor‐Lender and
                                                                                                                                                                                    Equity Investor


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                                                                                                             Exhibit 6
                                                                                                   Master Claims Spreadsheet
                                                                                       SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address             Type                                     Claimant Name                         Claimed Amount        Claim Category as Amount Claimed
Number                                                                                                                                                               (Total Claimed      Identified on Claim to be Invested in
                                                                                                                                                                    Amount in Claim             Form             Property
                                                                                                                                                                       Category as
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
  85          7201‐07 S Dorchester Avenue            1401 E 72nd Street       Estate Property    iPlan Group FBO Randall Pong IRA                                            $60,568.03 Investor‐Lender and
                                                                                                                                                                                           Equity Investor
  87               7508 S Essex Avenue              2453‐59 E 75th Street     Estate Property    iPlan Group FBO Randall Pong IRA                                            $60,568.03 Investor‐Lender and
                                                                                                                                                                                           Equity Investor
13 to 15                  CCF2                                                Fund               iPlan Group FBO Randall Pong IRA                                            $60,568.03 Investor‐Lender and          $7,000.00
                                                                                                                                                                                           Equity Investor
  124            6801 S East End Avenue                                       Former Property    iPLanGroup Agent Ed Bancroft Roth                                           $66,007.00 Investor‐Lender             $20,800.00
   1              1700 Juneway Terrace                                        Estate Property    iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account                $46,000.00 Investor‐Lender             $20,000.00
                                                                                                 3301018
   5             7749 S Yates Boulevard                                       Estate Property    iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account              $46,000.00    Investor‐Lender            $6,000.00
                                                                                                 3301018
  79       6160‐6212 S Martin Luther King Drive                               Estate Property    iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account              $46,000.00    Investor‐Lender           $20,000.00
                                                                                                 3301018
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield     Estate Property     iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $238,889.23    Investor‐Lender           $15,000.00
    5            7749 S Yates Boulevard                                      Estate Property     iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $238,889.23    Investor‐Lender           $50,000.00
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property     iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $238,889.23    Investor‐Lender           $10,633.00
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property     iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $165,739.00     Equity Investor          $50,000.00
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property     iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $238,889.23    Investor‐Lender           $50,000.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property     iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $165,739.00     Equity Investor          $52,475.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property     iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $238,889.23    Investor‐Lender           $52,474.56
  906                     SSDF6                                              Fund                iPlanGroup Agent for Custodian FBO Charles Michael Anglin                $238,889.23    Investor‐Lender           $52,474.56
    1             1700 Juneway Terrace                                       Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
    2          4533‐37 S Calumet Avenue                                      Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield     Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
    9              8100 S Essex Avenue             2449‐57 East 81st Street Estate Property      iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
   59          6001 S Sacramento Avenue             2945‐51 W 60th Street    Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
   62             7834‐44 S Ellis Avenue                                     Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
   88            7546 S Saginaw Avenue                                       Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property     iPlanGroup Agent for Custodian FBO Charles Powell IRA                    $260,000.00    Investor‐Lender
    2          4533‐37 S Calumet Avenue                                      Estate Property     iPlanGroup Agent for Custodian FBO Christopher Mora IRA Account           $67,000.00    Investor‐Lender           $67,000.00
                                                                                                 # 3320826
   2            4533‐37 S Calumet Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Joshua Mora IRA Account #              $57,000.00    Investor‐Lender           $57,000.00
                                                                                                 3300975
   2            4533‐37 S Calumet Avenue                                      Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00    Investor‐Lender              $971.00
   9              8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property    iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00    Investor‐Lender              $714.00


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                                                                                                   Exhibit 6
                                                                                         Master Claims Spreadsheet
                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address            Alternative Address            Type                                     Claimant Name                       Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                   (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                        Amount in Claim            Form               Property
                                                                                                                                                           Category as
                                                                                                                                                       Identified on Claim
                                                                                                                                                              Form)
   68      6217‐27 S Dorchester Avenue                               Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00 Investor‐Lender              $7,800.00
   76       7635‐43 S East End Avenue                                Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00 Investor‐Lender             $10,000.00
   83        6356 S California Avenue       2804 W 64th Street       Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00 Investor‐Lender              $9,321.00
   85      7201‐07 S Dorchester Avenue      1401 E 72nd Street       Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00 Investor‐Lender              $7,800.00
   89         7600 S Kingston Avenue       2527‐29 E 76th Street     Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00 Investor‐Lender              $3,715.00
  120         7823‐27 S Essex Avenue                                 Former Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA              $71,321.00 Investor‐Lender             $31,000.00
   68      6217‐27 S Dorchester Avenue                               Estate Property   iPlanGroup Agent for Custodian FBO Lyle J Swiney IRA                     $100,000.00 Investor‐Lender            $100,000.00
    2       4533‐37 S Calumet Avenue                                 Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender             $50,000.00
   69          6250 S Mozart Avenue        2832‐36 W 63rd Street     Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender             $55,000.00
   74         3074 Cheltenham Place          7836 S Shore Drive      Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender            $100,000.00
   85      7201‐07 S Dorchester Avenue       1401 E 72nd Street      Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender             $20,000.00
   94        816‐20 E Marquette Road                                 Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender             $50,000.00
   95         8201 S Kingston Avenue                                 Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender             $60,000.00
 96‐99         8326‐58 S Ellis Avenue                                Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender             $45,000.00
10 to 12               CCF1                                          Fund              IPlanGroup Agent for Custodian FBO Mark Young                            $380,000.00 Investor‐Lender             $50,000.00
   86       7442‐48 S Calumet Avenue                                 Estate Property   iPlanGroup Agent for Custodian FBO Mary Lohrman IRA                       $51,783.33 Investor‐Lender             $50,000.00
   60          7026 S Cornell Avenue                                 Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA            $44,433.00 Investor‐Lender               $817.00
   68      6217‐27 S Dorchester Avenue                               Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA            $44,433.00 Investor‐Lender              $7,200.00
   83        6356 S California Avenue       2804 W 64th Street       Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA            $44,433.00 Investor‐Lender              $7,152.00
   89         7600 S Kingston Avenue       2527‐29 E 76th Street     Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA            $44,433.00 Investor‐Lender             $14,264.00
  141            431 E 42nd Place                                    Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA            $44,433.00 Investor‐Lender             $22,944.44
 96‐99         8326‐58 S Ellis Avenue                                Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA            $44,433.00 Investor‐Lender              $5,000.00
   68      6217‐27 S Dorchester Avenue                               Estate Property   iPlanGroup Agent for Custodian FBO Michelle Grimes IRA #3301097           $56,636.17 Investor‐Lender             $50,000.00

    4       5450‐52 S Indiana Avenue        118‐132 E Garfield      Estate Property    iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA            $110,000.00    Investor‐Lender           $10,000.00
    9          8100 S Essex Avenue        2449‐57 East 81st Street  Estate Property    iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA            $110,000.00    Investor‐Lender           $50,000.00
   85      7201‐07 S Dorchester Avenue      1401 E 72nd Street      Estate Property    iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA            $110,000.00    Investor‐Lender           $50,000.00
   86       7442‐48 S Calumet Avenue                                Estate Property    Iplangroup agent for custodian FBO Richard Lohrman IRA                  $129,701.60    Investor‐Lender           $35,000.00
   88        7546 S Saginaw Avenue                                  Estate Property    Iplangroup agent for custodian FBO Richard Lohrman IRA                  $129,701.60    Investor‐Lender          $185,000.00
 96‐99        8326‐58 S Ellis Avenue                                Estate Property    iPlanGroup Agent for Custodian FBO Swetha Voddi IRA                      $14,000.00    Investor‐Lender           $14,000.00
   80           2736 W 64th Street                                  Estate Property    iPlanGroup Agent for Custodian Leah Kalish IRA                          $119,000.00    Investor‐Lender           $70,000.00
   90        7656 S Kingston Avenue      2514‐2520 East 77th Street Estate Property    iPlanGroup Agent for Custodian Leah Kalish IRA                          $119,000.00    Investor‐Lender           $49,000.00
   74        3074 Cheltenham Place          7836 S Shore Drive      Estate Property    Ira J. Fields Living Trust, Glynis Sheppard, Trustee                     $65,750.00     Equity Investor          $50,000.00
   74        3074 Cheltenham Place          7836 S Shore Drive      Estate Property    Ira J. Fields Living Trust, Glynis Sheppard, Trustee                     $65,750.00    Investor‐Lender           $50,000.00
  904                 SSDF4                                         Fund               IRA Resources, Inc., FBO Edward Joseph Day, Account # 35‐36374           $55,555.73     Equity Investor          $48,553.00
    1         1700 Juneway Terrace                                  Estate Property    IRA Services Trust Company CFBO Melbourne Kimsey II                     $150,000.00     Equity Investor          $50,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
  100        11117‐11119 S Longwood Drive                                    Estate Property   IRA Services Trust Company CFBO Melbourne Kimsey II                  $150,000.00   Equity Investor           $50,000.00
  901                     SSDF1                                              Fund              IRA Services Trust Company CFBO Melbourne Kimsey II                  $150,000.00   Equity Investor           $50,000.00
  901                     SSDF1                                              Fund              IRA Services Trust Company IRA220656 for Jean‐Marc Cabrol            $381,650.00   Equity Investor          $381,650.00
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   IRA Services Trust Custodian FBO Ronald Stephen Klein                $114,666.74 Investor‐Lender             $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   IRA Services Trust Custodian FBO Ronald Stephen Klein                $114,666.74 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Irene Gacad                                                           $26,103.82 Investor‐Lender             $25,000.00
   60             7026 S Cornell Avenue                                      Estate Property   Ivan A. Campbell                                                      $52,000.00 Investor‐Lender
   88            7546 S Saginaw Avenue                                       Estate Property   Ivan A. Campbell                                                      $52,000.00 Investor‐Lender
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   James & Suzanne Mandeville                                           $113,918.75   Equity Investor          $110,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   James & Suzanne Mandeville                                           $113,918.75 Investor‐Lender            $110,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   James Anthony Ande                                                    $75,000.00 Investor‐Lender             $25,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property   James Anthony Ande                                                    $75,000.00   Equity Investor           $75,000.00
   64          4611‐15 S Drexel Boulevard                                    Estate Property   James Anthony Ande                                                    $75,000.00 Investor‐Lender             $50,000.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   James Clements                                                       $185,910.00 Investor‐Lender             $50,000.00
   59          6001 S Sacramento Avenue            2945‐51 W 60th Street     Estate Property   James Clements                                                       $185,910.00 Investor‐Lender             $70,000.00
   76          7635‐43 S East End Avenue                                     Estate Property   James Clements                                                       $185,910.00 Investor‐Lender             $20,000.00
   92            7748‐50 S Essex Avenue            2450‐52 E 78th Street     Estate Property   James Clements                                                       $185,910.00 Investor‐Lender             $50,000.00
  124            6801 S East End Avenue                                      Former Property   James Clements                                                       $185,910.00 Investor‐Lender
  904                     SSDF4                                              Fund              James Henderson                                                       $49,200.00 Investor‐Lender             $49,200.00
                                                                                                                                                                                  Equity Investor
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   James Hoven                                                           $50,000.00 Investor‐Lender             $50,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   James M McKnight and Silma L McKnight                                $140,325.13 Investor‐Lender             $85,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   James M McKnight and Silma L McKnight                                  $5,546.87 Investor‐Lender              $6,000.00
   67              1131‐41 E 79th Place                                      Estate Property   James M McKnight and Silma L McKnight                                $140,325.13 Investor‐Lender             $11,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   James M McKnight and Silma L McKnight                                $140,325.13 Investor‐Lender             $11,000.00
  904                     SSDF4                                              Fund              James M McKnight and Silma L McKnight                                $140,325.13 Investor‐Lender             $48,000.00
  904                     SSDF4                                              Fund              James M McKnight and Silma L McKnight                                  $5,546.87   Equity Investor            $6,000.00
   61            7237 S Bennett Avenue                                       Estate Property   James Patrick Sullivan                                                $80,750.00 Investor‐Lender             $30,000.00
   61            7237 S Bennett Avenue                                       Estate Property   James Patrick Sullivan                                                $20,000.00 Investor‐Lender             $20,000.00
   71               701 S 5th Avenue                   414 Walnut            Estate Property   James Patrick Sullivan                                                $80,750.00 Investor‐Lender             $50,000.00
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   James Taber                                                          $125,000.00 Investor‐Lender             $50,000.00
  115             109 N Laramie Avenue                                       Former Property   James Taber                                                          $125,000.00 Investor‐Lender             $50,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   James Tutsock                                                        $900,000.00 Investor‐Lender             $47,286.00
   57            8214 S Ingleside Avenue                                     Estate Property   James Tutsock                                                        $900,000.00 Investor‐Lender
   63          4520‐26 S Drexel Boulevard                                    Estate Property   James Tutsock                                                        $169,483.00   Equity Investor          $319,483.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   James Tutsock                                                        $900,000.00 Investor‐Lender


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                 Category as
                                                                                                                                             Identified on Claim
                                                                                                                                                    Form)
  100        11117‐11119 S Longwood Drive                                    Estate Property   James Tutsock                                          $169,483.00   Equity Investor          $250,000.00
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property   James Tutsock                                          $900,000.00 Investor‐Lender            $180,517.00
 13‐15              2909 E 78th Street                                       Fund              James Tutsock                                          $169,483.00   Equity Investor          $100,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
   64          4611‐15 S Drexel Boulevard                                    Estate Property   James Walsh                                          $200,000.00     Investor‐Lender           $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   James Walsh                                          $200,000.00     Investor‐Lender           $50,000.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street      Estate Property   James Walsh                                          $200,000.00     Investor‐Lender          $100,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Jane Shafrin                                         $110,000.00     Investor‐Lender           $50,000.00
13 to 15                   CCF2                                              Fund              Jane Shafrin                                         $110,000.00     Investor‐Lender           $60,000.00
    1             1700 Juneway Terrace                                       Estate Property   JANICE BURRELL                                       $160,543.38     Investor‐Lender           $87,000.00
    5             7749 S Yates Boulevard                                     Estate Property   JANICE BURRELL                                       $160,543.38     Investor‐Lender           $50,000.00
  145          4755 S St Lawrence Avenue                                     Former Property   Jannapureddy Brothers                                 $19,251.27      Equity Investor         $140,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property   Jason Park                                            $38,000.00     Investor‐Lender           $25,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Jason Park                                            $38,000.00     Investor‐Lender           $10,000.00
    1             1700 Juneway Terrace                                       Estate Property   Jason Ragan ‐ TSA                                    $128,050.00      Equity Investor          $10,000.00
    1             1700 Juneway Terrace                                       Estate Property   Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor          $20,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor           $3,451.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor           $1,547.00
   60             7026 S Cornell Avenue                                      Estate Property   Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor           $1,241.00
   61             7237 S Bennett Avenue                                      Estate Property   Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor          $25,500.00
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor           $2,022.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor           $4,747.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor         $110,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Jason Ragan ‐ TSA                                    $128,050.00      Equity Investor          $20,600.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor          $16,100.00
   89              7600 S Kingston Ave              2527 E 76th Street       Estate Property   Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor
  109             4750 S Indiana Avenue                                      Estate Property   Jason Ragan ‐ TSA                                    $128,050.00      Equity Investor          $80,000.00
 96‐98                8326‐54 S Ellis                                        Estate Property   Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor
  130           4511 N Merrimac Avenue                                       Former Property   Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor          $21,522.04
  135            4930 W Cornelia Avenue                                      Former Property   Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor           $5,525.25
  904                     SSDF4                                              Fund              Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor          $50,000.00
  906                     SSDF6                                              Fund              Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor          $60,000.00
  908                     SSDF8                                              Fund              Jason Ragan ‐ TSA                                    $128,050.00      Equity Investor          $17,450.00
  908                     SSDF8                                              Fund              Jason Ragan ‐ TSA                                    $327,324.29      Equity Investor          $54,289.29
  911               Hybrid Capital Fund                                      Fund              Jason Ragan ‐ TSA                                    $473,079.71      Equity Investor            $243.00


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address             Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                          (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                               Amount in Claim            Form               Property
                                                                                                                                                  Category as
                                                                                                                                              Identified on Claim
                                                                                                                                                     Form)
13 to 15                   CCF2                                              Fund               Jason Ragan ‐ TSA                                      $327,324.29   Equity Investor          $100,000.00
 13‐15              2909 E 78th Street                                       Fund               Jason Ragan ‐ TSA                                      $473,079.71   Equity Investor           $54,500.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property    Jay Sutherland                                        $51,749.99     Investor‐Lender           $50,000.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street      Estate Property    JBMacy Solo 401K Trust                                $61,950.00     Investor‐Lender           $60,000.00
   61            7237 S Bennett Avenue                                       Estate Property    JDSKPS LLC, Jeffrey Steybe Mgr                       $156,000.00     Investor‐Lender          $150,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Jeffery B McMeans                                     $53,333.35     Investor‐Lender           $50,000.00
13 to 15                   CCF2                                              Fund               Jeffery B McMeans                                     $53,203.10      Equity Investor          $50,000.00
   40           7953 S Woodlawn Avenue                                       Estate Property    Jeffrey Lee Blankenship                               $89,822.12     Investor‐Lender           $30,629.18
   63          4520‐26 S Drexel Boulevard                                    Estate Property    Jeffrey Lee Blankenship                              $103,698.00      Equity Investor
   64          4611‐15 S Drexel Boulevard                                    Estate Property    Jeffrey Lee Blankenship                              $103,698.00      Equity Investor
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Jeffrey Lee Blankenship                               $89,822.12     Investor‐Lender           $75,855.00
   71               701 S 5th Avenue                    414 Walnut           Estate Property    Jeffrey Lee Blankenship                               $89,822.12     Investor‐Lender           $93,698.00
  131           4108 N Monticello Avenue                                     Former Property    Jeffrey Lee Blankenship                               $89,822.12     Investor‐Lender           $48,890.12
   76          7635‐43 S East End Avenue                                     Estate Property    Jeffry M. Edwards                                     $50,000.00     Investor‐Lender           $50,000.00
   70              638 N Avers Avenue                                        Estate Property    Jenks, Nicolas and Joyce                             $155,249.47     Investor‐Lender           $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Jenks, Nicolas and Joyce                             $155,249.47     Investor‐Lender           $25,000.00
  901                     SSDF1                                              Fund               Jeremy Hemphill                                       $54,000.00      Equity Investor          $50,000.00
  901                     SSDF1                                              Fund               Jeremy Hemphill for REAP, LLC                        $108,000.00      Equity Investor         $100,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    Jerome B. Shaffer                                    $250,000.00     Investor‐Lender           $14,736.00
   71               701 S 5th Avenue                    414 Walnut           Estate Property    Jerome B. Shaffer                                    $250,000.00     Investor‐Lender           $85,264.00
   86          7442‐48 S Calumet Avenue                                      Estate Property    Jerome B. Shaffer                                    $250,000.00     Investor‐Lender          $150,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Jerome B. Shaffer and Sharon Shaffer                 $150,000.00     Investor‐Lender          $150,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Jerome B. Shaffer, Trustee                           $100,000.00     Investor‐Lender          $100,000.00
   84            7051 S Bennett Avenue                                       Estate Property    Jerry Adamsky                                         $84,000.00     Investor‐Lender           $50,000.00
13 to 15                   CCF2                                              Fund               Jerry Adamsky                                         $84,000.00     Investor‐Lender           $50,000.00
  N/A                      N/A                                               Other              Jessica Baier                                          $1,982.05       Independent
                                                                                                                                                                        Contractor
    1             1700 Juneway Terrace                                       Estate Property    Jill Meekcoms (Halverson)                            $113,999.92     Investor‐Lender           $50,000.00
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property    Jill Meekcoms (Halverson)                            $113,999.92     Investor‐Lender           $50,000.00
   76           7635‐43 S East End Avenue                                    Estate Property    JK Electron, Inc., Jan Kobylarczyk                    $13,250.00      Trade Creditor           $13,250.00
   56              8209 S Ellis Avenue                                       Estate Property    JKG Investments, LLC                                  $25,000.00     Investor‐Lender           $25,000.00
    1             1700 Juneway Terrace                                       Estate Property    JLO Enterprises LLC                                   $54,714.37     Investor‐Lender           $37,000.00
   71               701 S 5th Avenue                    414 Walnut           Estate Property    JLO Enterprises LLC                                   $54,714.37     Investor‐Lender           $15,750.00
  904                     SSDF4                                              Fund               JLO Enterprises LLC                                  $315,002.49      Equity Investor          $20,000.00


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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address            Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                               Category as
                                                                                                                                           Identified on Claim
                                                                                                                                                  Form)
10 to 12        7301‐09 S Stewart Avenue                                  Fund               JLO Enterprises LLC                                    $315,002.49   Equity Investor          $250,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
 13‐15              2909 E 78th Street                                    Fund               JLO Enterprises LLC                                  $315,002.49     Equity Investor           $33,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
    1             1700 Juneway Terrace                                    Estate Property    JML Roth LLC                                           $4,140.01     Investor‐Lender            $4,000.00
10 to 12        7301‐09 S Stewart Avenue                                  Fund               JML Roth LLC                                          $31,200.00      Equity Investor          $30,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
   68         6217‐27 S Dorchester Avenue                                 Estate Property    JN Investment Trust, Trustee Janice Nelson           $160,000.00 Investor‐Lender               $50,000.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property    JN Investment Trust, Trustee Janice Nelson           $160,000.00 Investor‐Lender               $60,000.00
  124            6801 S East End Avenue                                   Former Property    JN Investment Trust, Trustee Janice Nelson           $160,000.00 Investor‐Lender               $50,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property    Joe F Siracusa                                        $60,000.00 Investor‐Lender               $60,000.00
   62             7834‐44 S Ellis Avenue                                  Estate Property    Joel Feingold JFKN Investment Trust                   $95,000.00 Investor‐Lender               $30,000.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Joel Feingold JFKN Investment Trust                   $95,000.00 Investor‐Lender               $40,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Joel Feingold JFKN Investment Trust                   $95,000.00 Investor‐Lender               $25,000.00
    1             1700 Juneway Terrace                                    Estate Property    John A Martino                                      $100,000.00 Investor‐Lender               $100,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    John A Martino & Carole J Wysocki                     $12,171.78 Investor‐Lender               $50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    John and Cynthia Braden                               $43,888.41 Investor‐Lender               $50,000.00
  904                     SSDF4                                           Fund               John and Cynthia Love                                 $84,506.24 Investor‐Lender and           $75,000.00
                                                                                                                                                                 Equity Investor
 13‐15                    CCF2                                            Fund               John Asciutto                                         $50,000.00    Equity Investor            $50,000.00
   6             6437 S Kenwood Avenue                                    Estate Property    John B. Allred & Glenda K. Allred                  $1,421,646.52 Investor‐Lender and
                                                                                                                                                                 Equity Investor
  54               8000 S Justine Street           1541 E 80th Street     Estate Property    John B. Allred & Glenda K. Allred                  $1,421,646.52 Investor‐Lender and
                                                                                                                                                                 Equity Investor
  55               8107 S Ellis Avenue                                    Estate Property    John B. Allred & Glenda K. Allred                  $1,421,646.52 Investor‐Lender and
                                                                                                                                                                 Equity Investor
  60              7026 S Cornell Avenue                                   Estate Property    John B. Allred & Glenda K. Allred                  $1,421,646.52 Investor‐Lender and
                                                                                                                                                                 Equity Investor
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    John B. Allred & Glenda K. Allred                  $1,421,646.52 Investor‐Lender and
                                                                                                                                                                 Equity Investor
  89             7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property    John B. Allred & Glenda K. Allred                  $1,421,646.52 Investor‐Lender and
                                                                                                                                                                 Equity Investor



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                                                                                                 Exhibit 6
                                                                                       Master Claims Spreadsheet
                                                                           SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address          Alternative Address           Type                                     Claimant Name     Claimed Amount       Claim Category as Amount Claimed
Number                                                                                                                               (Total Claimed     Identified on Claim to be Invested in
                                                                                                                                    Amount in Claim            Form             Property
                                                                                                                                       Category as
                                                                                                                                   Identified on Claim
                                                                                                                                          Form)
  100      11117‐11119 S Longwood Drive                           Estate Property    John B. Allred & Glenda K. Allred                   $1,421,646.52 Investor‐Lender and
                                                                                                                                                          Equity Investor
  115          109 N Laramie Avenue                               Former Property    John B. Allred & Glenda K. Allred                   $1,421,646.52 Investor‐Lender and
                                                                                                                                                          Equity Investor
  118          400 S Kilbourn Avenue                              Former Property    John B. Allred & Glenda K. Allred                   $1,421,646.52 Investor‐Lender and
                                                                                                                                                          Equity Investor
  123        7107‐29 S Bennett Avenue                             Former Property    John B. Allred & Glenda K. Allred                   $1,421,646.52 Investor‐Lender and
                                                                                                                                                          Equity Investor
  135         4930 W Cornelia Avenue                              Former Property    John B. Allred & Glenda K. Allred                   $1,421,646.52 Investor‐Lender and
                                                                                                                                                          Equity Investor
  904                 SSDF4                                       Fund               John B. Allred & Glenda K. Allred                   $1,421,646.52 Investor‐Lender and       $443,010.24
                                                                                                                                                          Equity Investor
 13‐15                 CCF2                                       Fund               John B. Allred & Glenda K. Allred                   $1,421,646.52 Investor‐Lender and         $50,000.00
                                                                                                                                                          Equity Investor
    5         7749 S Yates Boulevard                              Estate Property    John Bloxham                                            $36,374.24 Investor‐Lender            $35,000.00
    6        6437 S Kenwood Avenue                                Estate Property    John Bloxham                                            $52,000.01 Investor‐Lender            $50,000.00
   61         7237 S Bennett Avenue                               Estate Property    John Bloxham                                           $103,375.00 Investor‐Lender          $100,000.00
   62         7834‐44 S Ellis Avenue                              Estate Property    John Bloxham                                            $51,762.92 Investor‐Lender            $50,396.00
   64       4611‐15 S Drexel Boulevard                            Estate Property    John Bloxham                                            $51,762.92 Investor‐Lender            $50,000.00
   69         6250 S Mozart Avenue        2832‐36 W 63rd Street   Estate Property    John Bloxham                                           $110,000.00 Investor‐Lender             $7,009.00
   70          638 N Avers Avenue                                 Estate Property    John Bloxham                                            $63,999.92 Investor‐Lender            $50,000.00
   76       7635‐43 S East End Avenue                             Estate Property    John Bloxham                                            $51,500.00 Investor‐Lender            $50,000.00
   88         7546 S Saginaw Avenue                               Estate Property    John Bloxham                                            $25,123.83 Investor‐Lender            $24,333.00
   88         7546 S Saginaw Avenue                               Estate Property    John Bloxham                                           $110,000.00 Investor‐Lender            $52,991.00
   89        7600 S Kingston Avenue       2527‐29 E 76th Street   Estate Property    John Bloxham                                            $36,826.17 Investor‐Lender            $35,667.00
   93       7953‐59 S Marquette Road      2708‐10 E 80th Street   Estate Property    John Bloxham                                           $110,000.00 Investor‐Lender          $110,000.00
  904                 SSDF4                                       Fund               John Bloxham                                            $51,500.00   Equity Investor          $50,000.00
  908                 SSDF8                                       Fund               John Bloxham                                            $25,123.83   Equity Investor          $24,333.00
                 Mezzanine Fund
  908                 SSDF8                                       Fund               John Bloxham                                         $102,991.00    Equity Investor         $162,991.00
                 Mezzanine Fund
  908                 SSDF8                                       Fund               John Bloxham                                          $35,667.00    Equity Investor          $35,667.00
                 Mezzanine Fund
  92         7748‐50 S Essex Avenue       2450‐52 E 78th Street   Estate Property    John Bloxham for JBMacy Solo 401K Trust               $61,950.00    Investor‐Lender          $60,000.00
  61          7237 S Bennett Avenue                               Estate Property    John Braden and Cynthia Braden                        $42,000.64    Investor‐Lender          $50,000.00
  69          6250 S Mozart Avenue        2832‐36 W 63rd Street   Estate Property    John Braden and Cynthia Braden                         $6,716.67    Investor‐Lender          $10,000.00


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address            Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                          (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                               Amount in Claim            Form               Property
                                                                                                                                                  Category as
                                                                                                                                              Identified on Claim
                                                                                                                                                     Form)
   82           6355‐59 S Talman Avenue             2616‐22 W 64th Street    Estate Property    John Braden and Cynthia Braden                          $37,691.67 Investor‐Lender             $50,000.00
  902                     SSDF2                                              Fund               John Braden and Cynthia Braden                          $50,000.00 Investor‐Lender             $50,000.00
  904                     SSDF4                                              Fund               John Braden and Cynthia Braden                          $46,508.23 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    John E Mize                                             $50,000.00 Investor‐Lender             $50,000.00
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property    John E. Wysocki                                        $117,000.00   Equity Investor
   83            6356 S California Avenue            2804 W 64th Street      Estate Property    John E. Wysocki                                        $117,000.00   Equity Investor
   88             7546 S Saginaw Avenue                                      Estate Property    John E. Wysocki                                        $117,000.00   Equity Investor
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property    John E. Wysocki                                        $117,000.00   Equity Investor
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    John E. Wysocki                                        $117,000.00   Equity Investor
  907                     SSDF7                                              Fund               John Gorske                                             $53,087.30   Equity Investor           $53,087.00
 13‐15              2909 E 78th Street                                       Fund               John Hutchison                                          $50,000.00 Investor‐Lender             $50,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
   67              1131‐41 E 79th Place                                      Estate Property    John Love                                           $207,500.00       Equity Investor         $200,000.00
   71                701 S 5th Avenue                    414 Walnut          Estate Property    John Love                                             $31,275.00     Investor‐Lender           $30,000.00
  904                     SSDF4                                              Fund               John Love                                             $46,350.00      Equity Investor          $45,000.00
   78           7201 S Constance Avenue             1825‐31 E 72nd Street    Estate Property    John P. Sullivan                                    $107,000.00      Investor‐Lender           $50,000.00
   80               2736 W 64th Street                                       Estate Property    John P. Sullivan                                    $107,000.00      Investor‐Lender           $57,000.00
   94           816‐20 E Marquette Road                                      Estate Property    John R Taxeras                                      $105,686.72      Investor‐Lender           $50,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    John Taxeras                                        $105,686.72      Investor‐Lender            $1,830.00
   74             3074 Cheltenham Place              7836 S Shore Drive      Estate Property    John Taxeras                                        $105,686.72      Investor‐Lender           $18,552.85
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property    John Taxeras                                        $105,686.72       Equity Investor          $21,400.00
  130           4511 N Merrimac Avenue                                       Former Property    John Taxeras                                        $105,686.72      Investor‐Lender           $25,000.00
   5              7749 S Yates Boulevard                                     Estate Property    John Witzigreuter                                    $200,000.00     Investor‐Lender           $50,000.00
   64          4611‐15 S Drexel Boulevard                                    Estate Property    John Witzigreuter                                    $200,000.00     Investor‐Lender           $50,000.00
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street    Estate Property    John Witzigreuter                                    $200,000.00     Investor‐Lender           $50,000.00
   92            7748‐50 S Essex Avenue             2450‐52 E 78th Street    Estate Property    John Witzigreuter                                    $200,000.00     Investor‐Lender           $50,000.00
  901                     SSDF1                                              Fund               John Witzigreuter                                   $250,000.00       Equity Investor         $200,000.00
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street    Estate Property    Johnny Colson                                         $35,952.85     Investor‐Lender           $50,000.00
  903                     SSDF3                                              Fund               Johnstun, Chad                                      $190,729.17       Equity Investor         $190,729.17
   57            8214 S Ingleside Avenue                                     Estate Property    Joral Schmalle                                     $1,735,782.00     Investor‐Lender          $759,000.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Joral Schmalle                                     $1,735,782.00     Investor‐Lender          $630,000.00
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property    Jose Galarza                                          $20,107.00     Investor‐Lender           $35,107.00
   60             7026 S Cornell Avenue                                      Estate Property    Joseph E. Kennedy                                   $298,138.29      Investor‐Lender           $40,979.00
   60             7026 S Cornell Avenue                                      Estate Property    Joseph E. Kennedy                                     $60,412.54     Investor‐Lender           $45,141.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Joseph E. Kennedy                                   $298,138.29      Investor‐Lender           $50,000.00


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                                                                                              Exhibit 6
                                                                                    Master Claims Spreadsheet
                                                                        SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property       Property Address         Alternative Address           Type                                     Claimant Name                    Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                           (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                Amount in Claim            Form               Property
                                                                                                                                                   Category as
                                                                                                                                               Identified on Claim
                                                                                                                                                      Form)
  115         109 N Laramie Avenue                              Former Property   Joseph E. Kennedy                                                     $298,138.29 Investor‐Lender             $40,979.00
    5         7749 S Yates Boulevard                            Estate Property   Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $10,000.00
   62         7834‐44 S Ellis Avenue                            Estate Property   Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $27,884.00
   63      4520‐26 S Drexel Boulevard                           Estate Property   Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $45,000.00
   73        7255‐57 S Euclid Avenue    1940‐44 E 73rd Street   Estate Property   Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $40,000.00
 96‐99        8326‐58 S Ellis Avenue                            Estate Property   Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $15,000.00
  124        6801 S East End Avenue                             Former Property   Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $25,000.00
  901                 SSDF1                                     Fund              Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $45,000.00
  904                 SSDF4                                     Fund              Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $90,000.00
13 to 15               CCF2                                     Fund              Joseph P. McCarthy                                                    $277,847.33 Investor‐Lender             $50,000.00
   63      4520‐26 S Drexel Boulevard                           Estate Property   Joshua Lapin                                                           $25,000.00   Equity Investor           $25,000.00
   74         3074 Cheltenham Place      7836 S Shore Drive     Estate Property   Joshua Morrow                                                          $51,749.99 Investor‐Lender             $50,000.00
    2      4533‐37 S Calumet Avenue                             Estate Property   Joshua Paul Mora                                                       $57,000.00 Investor‐Lender
 13‐15          2909 E 78th Street                              Fund              Jossie Romero                                                          $53,541.66   Equity Investor           $50,000.00
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
  67           1131‐41 E 79th Place                             Estate Property   Julia Pong                                                           $18,418.05      Equity Investor          $18,382.00
  74          3074 Cheltenham Place      7836 S Shore Drive     Estate Property   Julia Pong                                                           $34,947.00     Investor‐Lender           $34,572.00
  92         7748‐50 S Essex Avenue     2450‐52 E 78th Street   Estate Property   Julie Elaine Fogle                                                   $50,000.00     Investor‐Lender           $50,000.00
  4         5450‐52 S Indiana Avenue     118‐132 E Garfield     Estate Property   Julie Patel                                                          $97,038.00     Investor‐Lender
   5          7749 S Yates Boulevard                            Estate Property   Julie Patel                                                          $97,038.00     Investor‐Lender
   6         6437 S Kenwood Avenue                              Estate Property   Julie Patel                                                          $97,038.00     Investor‐Lender           $40,000.00
  84          7051 S Bennett Avenue                             Estate Property   Julie Patel                                                          $97,038.00     Investor‐Lender
  89         7600 S Kingston Avenue     2527‐29 E 76th Street   Estate Property   Julie Patel                                                          $97,038.00     Investor‐Lender
  1           1700 Juneway Terrace                              Estate Property   Juliette Farr‐Barksdale & Thomas Farr                               $323,900.00      Equity Investor         $300,000.00
  72           7024‐32 S Paxton Ave                             Estate Property   Juliette Farr‐Barksdale & Thomas Farr                               $323,900.00      Equity Investor          $23,900.00
  67           1131‐41 E 79th Place                             Estate Property   Justin Tubbs                                                         $15,000.00     Investor‐Lender
   1          1700 Juneway Terrace                              Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio          $220,000.00     Investor‐Lender          $100,000.00
                                                                                  Kameda)
  60         7026 S Cornell Avenue                              Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio          $220,000.00     Investor‐Lender           $40,000.00
                                                                                  Kameda)
  63       4520‐26 S Drexel Boulevard                           Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio          $185,000.00     Equity Investor          $125,000.00
                                                                                  Kameda)
  89        7600 S Kingston Avenue      2527‐29 E 76th Street   Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio          $220,000.00     Investor‐Lender           $80,000.00
                                                                                  Kameda)



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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address            Type                                     Claimant Name                          Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                            (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                 Amount in Claim            Form               Property
                                                                                                                                                                    Category as
                                                                                                                                                                Identified on Claim
                                                                                                                                                                       Form)
  904                     SSDF4                                           Fund               KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio                  $185,000.00   Equity Investor           $60,000.00
                                                                                             Kameda)
  89             7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property    Karen Droste                                                               $74,000.00 Investor‐Lender               $74,000.00
   5              7749 S Yates Boulevard                                  Estate Property    Karen L Hendrickson                                                        $10,597.66 Investor‐Lender               $10,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Karl R. DeKlotz                                                         $1,586,165.90 Investor‐Lender              $150,000.00
  64           4611‐15 S Drexel Boulevard                                 Estate Property    Karl R. DeKlotz                                                         $1,586,165.90 Investor‐Lender              $300,000.00
  68          6217‐27 S Dorchester Avenue                                 Estate Property    Karl R. DeKlotz                                                         $1,586,165.90 Investor‐Lender              $150,000.00
  71                 701 S 5th Avenue                 414 Walnut          Estate Property    Karl R. DeKlotz                                                         $1,586,165.90 Investor‐Lender              $300,000.00
  72            7024‐32 S Paxton Avenue                                   Estate Property    Karl R. DeKlotz                                                         $1,586,165.90 Investor‐Lender              $150,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Karl R. DeKlotz                                                         $1,586,165.90 Investor‐Lender              $100,000.00
 13‐15              2909 E 78th Street                                    Fund               Karl R. DeKlotz                                                         $1,586,165.90 Investor‐Lender and          $200,000.00
                 7549‐59 S Essex Avenue                                                                                                                                               Equity Investor
               8047‐55 S Manistee Avenue
   33               3723 W 68th Place                                     Estate Property    Kathleen Martin                                                           $304,605.24      Equity Investor         $172,423.00
   83           6356 S California Avenue           2804 W 64th Street     Estate Property    Kathleen Martin                                                           $304,605.24      Equity Investor          $50,095.00
  109             4750 S Indiana Avenue                                   Estate Property    Kathleen Martin                                                           $304,605.24      Equity Investor          $50,000.00
  129           4494 West Roscoe Street                                   Former Property    Kathleen Martin                                                           $304,605.24      Equity Investor          $35,367.00
   73            7255‐57 S Euclid Avenue                                  Estate Property    Katie Whitlock                                                             $61,651.00      Equity Investor
   88            7546 S Saginaw Avenue                                    Estate Property    Katie Whitlock                                                             $61,651.00      Equity Investor
  129           4494 West Roscoe Street                                   Former Property    Katie Whitlock                                                             $61,651.00      Equity Investor
  904               SSDF4 Legacy Fund                                     Fund               Keith Cooper ‐ Concorde Management, LLC                                   $335,000.00     Investor‐Lender          $335,000.00
    5             7749 S Yates Boulevard                                  Estate Property    Keith P Rowland and Jane E Rowland                                         $52,583.32     Investor‐Lender           $50,000.00
    5             7749 S Yates Boulevard                                  Estate Property    Keith Randall                                                             $250,000.00     Investor‐Lender           $70,000.00
   63          4520‐26 S Drexel Boulevard                                 Estate Property    Keith Randall                                                             $370,000.00      Equity Investor         $100,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Keith Randall                                                             $250,000.00     Investor‐Lender          $100,000.00
  124            6801 S East End Avenue                                   Former Property    Keith Randall                                                             $250,000.00     Investor‐Lender           $80,000.00
  901                     SSDF1                                           Fund               Keith Randall                                                             $370,000.00      Equity Investor         $170,000.00
  904                     SSDF4                                           Fund               Keith Randall                                                             $370,000.00      Equity Investor         $200,700.00
   73            7255‐57 S Euclid Avenue                                  Estate Property    Kelly E Welton (Equity Trust Company for Custodian FBO Kelly               $83,813.00     Investor‐Lender            $8,400.00
                                                                                             Welton, IRA)
  82            6355‐59 S Talman Avenue                                   Estate Property    Kelly E Welton (Equity Trust Company for Custodian FBO Kelly               $83,813.00     Investor‐Lender            $3,000.00
                                                                                             Welton, IRA)
  55               8107 S Ellis Avenue                                    Estate Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,           $83,813.00     Investor‐Lender           $26,200.00
                                                                                             IRA)
  78            7201 S Constance Avenue                                   Estate Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,           $83,813.00     Investor‐Lender           $31,233.00
                                                                                             IRA)


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                                                                                                    Exhibit 6
                                                                                          Master Claims Spreadsheet
                                                                              SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address             Alternative Address           Type                                     Claimant Name                          Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
  89          7600 S Kingston Avenue                                 Estate Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,             $83,813.00 Investor‐Lender              $8,000.00
                                                                                        IRA)
  115          109 N Laramie Avenue                                  Former Property    Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,           $83,813.00     Investor‐Lender           $31,213.00
                                                                                        IRA)
  N/A                   SSDF                                         Fund               Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,           $83,813.00     Equity Investor
                                                                                        IRA)
   62           7834‐44 S Ellis Avenue                               Estate Property    Kelly E Welton, and Mary M Andrews, deceased                               $83,813.00     Investor‐Lender            $7,000.00
10 to 12                 CCF1                                        Fund               Kelvin Kon                                                                 $95,000.00      Equity Investor          $50,000.00
13 to 15                 CCF2                                        Fund               Kelvin Kon                                                                 $95,000.00      Equity Investor          $45,000.00
  108             2800 E 81st Street                                 Estate Property    Kendall Chenier                                                           $667,084.15          Other
  113            7840 S Yates Avenue                                 Estate Property    Kendall Chenier                                                           $667,084.15          Other
  145        4755 S St Lawrence Avenue                               Former Property    Kendall Chenier                                                             $9,858.12     Investor‐Lender            $9,858.12
   55             8107 S Ellis Avenue                                Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender           $31,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender            $4,246.00
   64          4611 S Drexel Boulevard                               Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender          $150,000.00
   70            638 N Avers Avenue                                  Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender          $146,902.00
   73          7255‐57 S Euclid Avenue       1940‐44 E 73rd Street   Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender           $51,544.00
   74          3074 Cheltenham Place          7836 S Shore Drive     Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender           $42,000.00
   92          7748‐50 S Essex Avenue        2450‐52 E 78th Street   Estate Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender          $121,506.00
  130         4511 N Merrimac Avenue                                 Former Property    Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender           $60,000.00
  N/A                     N/A                                        UPN                Kenneth (Ken) and Maria (Tina) Jorgensen                                  $453,233.25     Investor‐Lender           $37,956.48
10 to 12                 CCF1                                        Fund               Kennett, Victor S ‐ Kennett Family Trust                                  $200,000.00      Equity Investor         $200,000.00
   71              701 S 5th Avenue               414 Walnut         Estate Property    Kester Brothers Farm, LLC, C/O James R. Kester                            $152,911.82     Investor‐Lender           $68,000.00
   74          3074 Cheltenham Place           7836 S Shore Drive    Estate Property    Kester Brothers Farm, LLC, C/O James R. Kester                            $152,911.82     Investor‐Lender           $50,000.00
   82         6355‐59 S Talman Avenue        2616‐22 W 64th Street   Estate Property    Kester Brothers Farm, LLC, C/O James R. Kester                            $152,911.82     Investor‐Lender           $30,000.00
    5          7749 S Yates Boulevard                                Estate Property    Kevin & Laura Allred                                                       $61,000.00     Investor‐Lender           $50,000.00
   67            1131‐41 E 79th Place                                Estate Property    Kevin & Laura Allred                                                       $61,000.00     Investor‐Lender           $11,000.00
   50            7760 S Coles Avenue                                 Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA           $102,367.34     Investor‐Lender           $76,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA           $102,367.34     Investor‐Lender           $48,000.00
  110      5618 S Martin Luther King Drive                           Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA           $102,367.34     Investor‐Lender          $200,000.00
  112            7450 S Luella Avenue        2220 East 75th Street   Estate Property    Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA           $102,367.34     Investor‐Lender           $50,000.00
   62           7834‐44 S Ellis Avenue                               Estate Property    Kevin Chang                                                                $65,000.00     Investor‐Lender           $65,000.00
   69           6250 S Mozart Avenue         2832‐36 W 63rd Street   Estate Property    Kevin Lyons                                                                $98,899.84      Equity Investor          $25,000.00
  111           6558 S Vernon Avenue          416‐24 E 66th Street   Estate Property    Kevin Lyons                                                                $98,899.84      Equity Investor          $25,000.00
  126      5201‐5207 W Washington Blvd                               Former Property    Kevin Lyons                                                                $98,899.84      Equity Investor          $50,000.00
   68       6217‐27 S Dorchester Avenue                              Estate Property    Kevin Randall                                                             $200,000.00     Investor‐Lender           $70,000.00


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address            Type                                     Claimant Name                        Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                             (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                  Amount in Claim            Form               Property
                                                                                                                                                                     Category as
                                                                                                                                                                 Identified on Claim
                                                                                                                                                                        Form)
   74            3074 Cheltenham Place               7836 S Shore Drive       Estate Property   Kevin Randall                                                             $200,000.00 Investor‐Lender             $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                      Estate Property   Kevin Randall                                                             $200,000.00 Investor‐Lender             $70,000.00
  904                     SSDF4                                               Fund              Kevin Randall                                                             $200,000.00   Equity Investor          $200,000.00
   84            7051 S Bennett Avenue                                        Estate Property   Kimberly W Robinson                                                        $98,000.00 Investor‐Lender             $50,000.00
  123           7107‐29 S Bennett Avenue                                      Former Property   Kimberly W Robinson                                                        $98,000.00 Investor‐Lender             $30,000.00
  123           7107‐29 S Bennett Avenue                                      Former Property   Kingdom Trust Company custodian, FBO Louis Duane Velez SEP IRA             $43,046.58 Investor‐Lender             $50,000.00
                                                                                                Acc. #7422686172
  90             7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property    Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP             $100,000.00     Investor‐Lender          $100,000.00
                                                                                                IRA Acc. #7422686172
  77           7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP             $100,000.00     Investor‐Lender          $100,000.00
                                                                                                IRA acct # 7422686172
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield      Estate Property   Kirk Road Investments, LLC                                              $434,195.69     Investor‐Lender          $121,855.00
   52                310 E 50th Street                                        Estate Property   Kirk Road Investments, LLC                                              $434,195.69     Investor‐Lender          $193,750.00
   64          4611‐15 S Drexel Boulevard                                     Estate Property   Kirk Road Investments, LLC                                              $434,195.69     Investor‐Lender          $121,855.00
   78           7201 S Constance Avenue             1825‐31 E 72nd Street     Estate Property   Kirk Road Investments, LLC                                              $434,195.69     Investor‐Lender           $63,000.00
  151              8107 S Coles Avenue                                        Former Property   Kirk Road Investments, LLC                                              $434,195.69     Investor‐Lender           $87,500.00
13 to 15                   CCF2                                               Fund              Kirk Road Investments, LLC                                              $318,867.20      Equity Investor         $235,000.00
    5             7749 S Yates Boulevard                                      Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $3,000.00
    6            6437 S Kenwood Avenue                                        Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $2,000.00
    9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $5,000.00
   68         6217‐27 S Dorchester Avenue                                     Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $2,627.40
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street     Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $3,500.00
   72           7024‐32 S Paxton Avenue                                       Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $3,900.00
   74             3074 Cheltenham Place              7836 S Shore Drive       Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $1,600.00
   75          7625‐33 S East End Avenue                                      Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender           $75,000.00
 96‐99            8326‐58 S Ellis Avenue                                      Estate Property   KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $7,306.00
10 to 12                   CCF1                                               Fund              KKW Investments, LLC                                                    $100,033.40     Investor‐Lender            $2,000.00
   75          7625‐33 S East End Avenue                                      Estate Property   Knickerbocker LLC                                                       $102,505.16     Investor‐Lender           $39,664.00
   79      6160‐6212 S Martin Luther King Drive                               Estate Property   Knickerbocker LLC                                                       $102,505.16     Investor‐Lender           $50,000.00
  116      1102 Bingham St, Houston TX 77007                                  Estate Property   Knickerbocker LLC                                                       $102,505.16     Investor‐Lender           $50,000.00
  131           4108 N Monticello Avenue                                      Former Property   Knickerbocker LLC                                                       $102,505.16     Investor‐Lender           $50,000.00
  908                     SSDF8                                               Fund              Knickerbocker LLC                                                       $105,387.00      Equity Investor          $50,000.00
10 to 12                   CCF1                                               Fund              Knickerbocker LLC                                                       $105,387.00      Equity Investor          $55,387.00
    2          4533‐37 S Calumet Avenue                                       Estate Property   Koates LLC                                                               $85,000.00      Equity Investor          $12,000.00
    5             7749 S Yates Boulevard                                      Estate Property   Koates LLC                                                               $85,000.00      Equity Investor           $3,200.00
    7          7109‐19 S Calumet Avenue                                       Estate Property   Koates LLC                                                               $85,000.00      Equity Investor          $12,000.00


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                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address            Type                                     Claimant Name                           Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                                (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                     Amount in Claim            Form               Property
                                                                                                                                                                        Category as
                                                                                                                                                                    Identified on Claim
                                                                                                                                                                           Form)
   61           7237 S Bennett Avenue                                        Estate Property    Koates LLC                                                                    $85,000.00   Equity Investor           $19,800.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Koates LLC                                                                    $85,000.00   Equity Investor           $50,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k)             $22,434.28 Investor‐Lender             $25,000.00
                                                                                                FBO Kristien Van Hecke
13 to 15                  CCF2                                               Fund               Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k)           $23,661.80     Equity Investor           $25,000.00
                                                                                                FBO Kristien Van Hecke
   88             7546 S Saginaw Avenue                                      Estate Property    Krushna Dundigalla                                                          $60,000.00     Investor‐Lender           $60,000.00
13 to 15                    CCF2                                             Fund               Krushna M Dundigalla Revocable Living Trust                                $100,000.00      Equity Investor         $100,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Kuldeep Jain                                                               $156,000.00     Investor‐Lender          $100,000.00
   69              6250 S Mozart Avenue             2832‐36 W 63rd Street    Estate Property    Kuldeep Jain                                                               $156,000.00     Investor‐Lender           $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Kyle Jacobs                                                                 $95,000.00     Investor‐Lender           $30,000.00
   92             7748‐50 S Essex Avenue            2450‐52 E 78th Street    Estate Property    Kyle Jacobs                                                                 $95,000.00     Investor‐Lender           $95,000.00
   87               7508 S Essex Avenue             2453‐59 E 75th Street    Estate Property    LA DONNA WRIGHT ACKLEN                                                     $268,666.74     Investor‐Lender           $50,000.00
   94           816‐20 E Marquette Road                                      Estate Property    LA DONNA WRIGHT ACKLEN                                                     $268,666.74     Investor‐Lender           $40,000.00
  130            4511 N Merrimac Avenue                                      Former Property    LA DONNA WRIGHT ACKLEN                                                     $268,666.74     Investor‐Lender          $120,000.00
   49         7300‐04 St Lawrence Avenue                                     Estate Property    LaDawn K. Westbrook ‐ Miss Property LLC                                     $71,546.64     Investor‐Lender
  123           7107‐29 S Bennett Avenue                                     Former Property    LaDawn K. Westbrook ‐ Miss Property LLC                                     $71,546.64     Investor‐Lender           $50,000.00
  130            4511 N Merrimac Avenue                                      Former Property    LaDawn K. Westbrook ‐ Miss Property LLC                                     $71,546.64     Investor‐Lender            $6,978.00
  123           7107‐29 S Bennett Avenue                                     Former Property    Lake Erie LLC (Douglas Lichtinger)                                          $21,683.17     Investor‐Lender           $21,683.17
10 to 12        7301‐09 S Stewart Avenue                                     Fund               LaMore, LLC (George Elmore & Marti LaTour)                                 $309,999.94     Investor‐Lender          $250,000.00
               7500‐06 S Eggleston Avenue
                   3030‐32 E 79th Street
   61             7237 S Bennett Avenue                                      Estate Property    Larry James Eggenberger                                                     $50,000.00 Investor‐Lender               $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Larry White                                                                 $53,900.00 Investor‐Lender               $52,500.00
   92             7748‐50 S Essex Avenue            2450‐52 E 78th Street    Estate Property    Larry White                                                                 $50,800.00 Investor‐Lender               $50,000.00
   62              7834‐44 S Ellis Avenue                                    Estate Property    Laura J. Sohm IRA                                                          $104,593.29 Investor‐Lender               $15,000.00
   69              6250 S Mozart Avenue             2832‐36 W 63rd Street    Estate Property    Laura J. Sohm IRA                                                          $104,593.29 Investor‐Lender               $63,315.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Laura J. Sohm IRA                                                          $104,593.29 Investor‐Lender               $63,000.00
10 to 12        7301‐09 S Stewart Avenue                                     Fund               Laura J. Sohm IRA                                                          $104,593.29 Investor‐Lender and           $14,000.00
               7500‐06 S Eggleston Avenue                                                                                                                                                 Equity Investor
                   3030‐32 E 79th Street
  64           4611‐15 S Drexel Boulevard                                    Estate Property    Law Office of V.L. Heger, A Professional Corporation                        $50,369.00     Investor‐Lender           $50,000.00
  89              7600 S Kingston Avenue            2527‐29 E 76th Street    Estate Property    Law Office of V.L. Heger, A Professional Corporation                        $50,369.00     Investor‐Lender           $50,000.00
   2            4533‐37 S Calumet Avenue                                     Estate Property    Layne A. Hermansen                                                          $51,000.00     Investor‐Lender           $51,000.00
  5               7749 S Yates Boulevard                                     Estate Property    Legacy Trading LLC                                                         $257,000.00     Investor‐Lender          $237,000.00
  90              7656 S Kingston Avenue          2514‐2520 East 77th Street Estate Property    Legacy Trading LLC                                                         $257,000.00     Investor‐Lender           $20,000.00


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                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address           Type                                     Claimant Name         Claimed Amount         Claim Category as     Amount Claimed
Number                                                                                                                                             (Total Claimed       Identified on Claim    to be Invested in
                                                                                                                                                  Amount in Claim              Form                Property
                                                                                                                                                     Category as
                                                                                                                                                 Identified on Claim
                                                                                                                                                        Form)
   59          6001 S Sacramento Avenue             2945‐51 W 60th Street    Estate Property   Leonard Grosso                                             $177,499.95     Investor‐Lender            $50,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property   Leonard Grosso                                             $177,499.95     Investor‐Lender            $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Leonard Grosso                                             $177,499.95     Investor‐Lender            $50,000.00
   53             6807 S Indiana Avenue                                      Estate Property   Leroy & Martha Johnson                                      $81,066.85     Investor‐Lender           $100,000.00
    3            5001 S Drexel Boulevard               909 E 50th Street     Estate Property   LEVENT KESEN                                               $150,000.00     Investor‐Lender            $50,000.00
   71                701 S 5th Avenue                    414 Walnut          Estate Property   LEVENT KESEN                                               $150,000.00     Investor‐Lender            $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   LEVENT KESEN                                               $150,000.00     Investor‐Lender            $50,000.00
   67              1131‐41 E 79th Place                                      Estate Property   Lewis Thomas                                                $25,000.00     Investor‐Lender            $25,000.00
   80               2736 W 64th Street                                       Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   81            4317 S Michigan Avenue                                      Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   82           6355‐59 S Talman Avenue             2616‐22 W 64th Street    Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
  83            6356 S California Avenue             2804 W 64th Street      Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   84             7051 S Bennett Avenue                                      Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   85         7201‐07 S Dorchester Avenue            1401 E 72nd Street      Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   86          7442‐48 S Calumet Avenue                                      Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   87              7508 S Essex Avenue              2453‐59 E 75th Street    Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
  88             7546 S Saginaw Avenue                                       Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   89            7600 S Kingston Avenue             2527‐29 E 76th Street    Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   91              7701 S Essex Avenue                                       Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
  92             7748‐50 S Essex Avenue             2450‐52 E 78th Street    Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
  93           7953‐59 S Marquette Road             2708‐10 E 80th Street    Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   94           816‐20 E Marquette Road                                      Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   95            8201 S Kingston Avenue                                      Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Liberty EBCP, LLC                                      $10,638,796.40    Institutional Lender
   58          5955 S Sacramento Avenue             2948‐56 W 60th Street    Estate Property   Liberty Quest Investment Group LLC                         $210,000.00      Equity Investor          $210,000.00
  60              7026 S Cornell Avenue                                      Estate Property   Linda Lipschultz                                            $53,405.00     Investor‐Lender            $22,477.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Linda Lipschultz                                            $53,405.00     Investor‐Lender            $18,500.00
  125           6548 N Campbell Avenue                                       Former Property   Linda Lipschultz                                            $53,405.00     Investor‐Lender            $27,000.00
  904                     SSDF4                                              Fund              Linda Lipschultz                                            $53,405.00      Equity Investor           $53,405.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   LISA MARIE KENNEDY / BRANDELLA CONSULTING, LLC.             $50,000.00     Investor‐Lender            $50,000.00
   92            7748‐50 S Essex Avenue             2450‐52 E 78th Street    Estate Property   Liwen Zhao                                                  $98,000.00     Investor‐Lender           $156,000.00
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield     Estate Property   LMJ Sales, Inc.                                            $559,807.34     Investor‐Lender           $100,000.00
    9              8100 S Essex Avenue             2449‐57 East 81st Street Estate Property    LMJ Sales, Inc.                                            $559,807.34     Investor‐Lender           $215,127.00
   50              7760 S Coles Avenue                                       Estate Property   LMJ Sales, Inc.                                            $559,807.34     Investor‐Lender           $100,000.00
   59          6001 S Sacramento Avenue             2945‐51 W 60th Street    Estate Property   LMJ Sales, Inc.                                            $559,807.34     Investor‐Lender            $50,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address           Type                                     Claimant Name                    Claimed Amount        Claim Category as Amount Claimed
Number                                                                                                                                                     (Total Claimed      Identified on Claim to be Invested in
                                                                                                                                                          Amount in Claim             Form             Property
                                                                                                                                                             Category as
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   92             7748‐50 S Essex Avenue          2450‐52 E 78th Street   Estate Property   LMJ Sales, Inc.                                                       $559,807.34 Investor‐Lender             $45,000.00
102‐106           7927‐49 S Essex Avenue                                  Estate Property   LMJ Sales, Inc.                                                       $270,066.18    Equity Investor        $115,937.00
  159                7420 S Colfax Ave                                    Former Property   LMJ Sales, Inc.                                                       $559,807.34 Investor‐Lender           $123,100.00
10 to 12                   CCF1                                           Fund              LMJ Sales, Inc.                                                       $270,066.18    Equity Investor        $100,000.00
  904               SSDF4 Legacy Fund                                     Fund              Lola S. Cooper                                                        $210,000.00 Investor‐Lender           $210,000.00
   35                61 E 92nd Street                                     Estate Property   Lorenzo J Jaquias                                                      $71,635.00 Investor‐Lender             $86,600.00
   64           4611‐15 S Drexel Boulevard                                Estate Property   Lorenzo Jaquias                                                        $71,635.00 Investor‐Lender             $21,635.00
   75           7625‐33 S East End Avenue                                 Estate Property   Lorenzo Jaquias                                                        $71,635.00 Investor‐Lender             $50,000.00
   76           7635‐43 S East End Avenue                                 Estate Property   Lorenzo Jaquias                                                        $71,635.00 Investor‐Lender             $50,000.00
   64           4611‐15 S Drexel Boulevard                                Estate Property   Lori Moreland                                                          $21,574.00 Investor‐Lender             $10,000.00
   64           4611‐15 S Drexel Boulevard                                Estate Property   Lori Moreland                                                          $52,233.00 Investor‐Lender             $47,000.00
   64           4611‐15 S Drexel Boulevard                                Estate Property   Lori Moreland                                                          $52,233.00 Investor‐Lender             $45,000.00
   78            7201 S Constance Avenue          1825‐31 E 72nd Street   Estate Property   Lori Moreland                                                          $21,574.00 Investor‐Lender             $10,074.00
   78            7201 S Constance Avenue          1825‐31 E 72nd Street   Estate Property   Lori Moreland                                                         $102,348.00 Investor‐Lender             $52,348.00
   78            7201 S Constance Avenue          1825‐31 E 72nd Street   Estate Property   Lori Moreland                                                          $52,233.00 Investor‐Lender             $48,087.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property   Lori Moreland                                                         $102,348.00 Investor‐Lender             $50,000.00
  124             6801 S East End Avenue                                  Former Property   Lori Moreland                                                         $102,348.00 Investor‐Lender             $11,500.00
  124             6801 S East End Avenue                                  Former Property   Lori Moreland                                                         $102,348.00 Investor‐Lender              $4,246.00
   85          7201‐07 S Dorchester Avenue         1401 E 72nd Street     Estate Property   Lori Waring                                                            $65,063.99 Investor‐Lender             $50,000.00
    2           4533‐37 S Calumet Avenue                                  Estate Property   Lorraine K Mcclane                                                     $36,896.00 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Louis Barrows                                                          $25,000.00    Equity Investor          $25,000.00
  126         5201‐5207 W Washington Blvd                                 Former Property   Louis Duane Velez, LLC (Louis Duane Velez as manager)                  $46,131.09 Investor‐Lender             $50,000.00
   91              7701 S Essex Avenue                                    Estate Property   Louis Duane Velez, LLC (Louis Duane Velez as the manager)             $150,000.00 Investor‐Lender           $150,000.00
    2           4533‐37 S Calumet Avenue                                  Estate Property   Louis Liu                                                              $37,908.57    Equity Investor          $50,000.00
    2           4533‐37 S Calumet Avenue                                  Estate Property   Louis Liu                                                              $37,908.57 Investor‐Lender             $50,000.00
  123           7107‐29 S Bennett Avenue                                  Former Property   Low Altitude, LLC                                                     $100,000.00 Investor‐Lender           $100,000.00
10 to 12                   CCF1                                           Fund              Low Altitude, LLC                                                     $100,000.00    Equity Investor        $100,000.00
    4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   Luna and Jerry Ellis                                                   $41,066.65 Investor‐Lender
13 to 15                   CCF2                                           Fund              Lynn Kupfer                                                            $99,426.00 Investor‐Lender and         $75,000.00
                                                                                                                                                                                 Equity Investor
    5           7749 S Yates Boulevard                                    Estate Property   Lynn Marie Kupfer                                                     $100,000.00    Equity Investor        $100,000.00
    5           7749 S Yates Boulevard                                    Estate Property   Lynn Marie Kupfer                                                     $114,201.00 Investor‐Lender           $100,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                     $200,000.00 Investor‐Lender           $100,000.00
10 to 12                 CCF1                                             Fund              Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                     $200,000.00 Investor‐Lender and       $100,000.00
                                                                                                                                                                                 Equity Investor
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Madison Trust Co, Custodian FBO Sonia Silver IRA #M1612049             $50,000.00 Investor‐Lender             $50,000.00


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                                                                                                   Exhibit 6
                                                                                         Master Claims Spreadsheet
                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address           Alternative Address             Type                                     Claimant Name                      Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                  (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                       Amount in Claim            Form               Property
                                                                                                                                                          Category as
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
   6         6437 S Kenwood Avenue                                  Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor
                                                                                       Rowe Living Trust IRA
   9           8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor
                                                                                       Rowe Living Trust IRA
  58        5955 S Sacramento Avenue     2948‐56 W 60th Street      Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor
                                                                                       Rowe Living Trust IRA
  61         7237 S Bennett Avenue                                  Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor
                                                                                       Rowe Living Trust IRA
  74         3074 Cheltenham Place         7836 S Shore Drive       Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor
                                                                                       Rowe Living Trust IRA
  75        7625‐33 S East End Avenue                               Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor
                                                                                       Rowe Living Trust IRA
  88         7546 S Saginaw Avenue                                  Estate Property    Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor
                                                                                       Rowe Living Trust IRA
  904                SSDF4                                          Fund               Madison Trust Company Agent for Custodian FBO The Jacqueline C          $623,489.57   Equity Investor          $610,998.00
                                                                                       Rowe Living Trust IRA
  62          7834‐44 S Ellis Avenue                                Estate Property    Madison Trust Company Custodian FBO Brent Jacobs                         $12,119.00 Investor‐Lender             $12,119.00
                                                                                       M1609105
   1          1700 Juneway Terrace                                  Estate Property    Madison Trust Company Custodian FBO Brian Shaffer IRA Account#          $155,625.00 Investor‐Lender
                                                                                       M1608073 and M1703059
  71            701 S 5th Avenue               414 Walnut           Estate Property    Madison Trust Company Custodian FBO Brian Shaffer IRA Account#          $155,625.00 Investor‐Lender
                                                                                       M1608073 and M1703059
10 to 12    7301‐09 S Stewart Avenue                                Fund               Madison Trust Company Custodian FBO Cynthia B. Jennings IRA             $101,400.00 Investor‐Lender            $100,000.00
           7500‐06 S Eggleston Avenue                                                  #M1710119
              3030‐32 E 79th Street
  87          7508 S Essex Avenue         2453‐59 E 75th Street     Estate Property    Madison Trust Company Custodian FBO David Harris                         $53,487.09   Investor‐Lender           $53,000.00
  5          7749 S Yates Boulevard                                 Estate Property    Madison Trust Company custodian FBO Guenter Scheel IRA                   $25,000.00   Investor‐Lender           $25,000.00
                                                                                       M1702087
  904                 SSDF4                                         Fund               Madison Trust Company custodian FBO Guenter Scheel IRA                   $25,000.00    Equity Investor          $25,000.00
                                                                                       M1702087
  67          1131‐41 E 79th Place                                  Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON                     $21,833.00    Equity Investor          $21,092.00
                                                                                       SELF‐DIRECTED ROTH IRA 1704092
  85       7201‐07 S Dorchester Avenue     1401 E 72nd Street       Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON                     $51,749.00   Investor‐Lender           $50,000.00
                                                                                       SELF‐DIRECTED ROTH IRA 1704092
   6         6437 S Kenwood Avenue                                  Estate Property    Madison Trust Company Custodian FBO James R Robinson                     $88,099.00   Investor‐Lender           $25,000.00
                                                                                       Traditional IRA Acct# 1705044


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address             Type                                     Claimant Name                      Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                           (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                Amount in Claim            Form               Property
                                                                                                                                                                   Category as
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    Madison Trust Company Custodian FBO James R Robinson                     $88,099.00 Investor‐Lender             $60,000.00
                                                                                                Traditional IRA Acct# 1705044
  89            7600 S Kingston Avenue             2527‐29 E 76th Street     Estate Property    Madison Trust Company Custodian FBO James R. Talman IRA                $20,000.00     Investor‐Lender           $20,000.00
  64           4611‐15 S Drexel Boulevard                                    Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN                      $107,946.27     Investor‐Lender           $30,225.00
                                                                                                TAYLOR M1608009
  70               638 N Avers Avenue                                        Estate Property    MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN                      $107,946.27     Investor‐Lender           $30,775.00
                                                                                                TAYLOR M1608009
  904              SSDF4 Legacy Fund                                         Fund               MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN                      $107,946.27     Investor‐Lender          $130,000.00
                                                                                                TAYLOR M1608009
  71               701 S 5th Avenue                     414 Walnut           Estate Property    Madison Trust Company Custodian FBO Kathy B. Talman IRA                $75,000.00     Investor‐Lender           $50,000.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property    Madison Trust Company Custodian FBO Kathy B. Talman IRA                $75,000.00     Investor‐Lender           $25,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Madison Trust Company Custodian FBO Patrick Coppinger                  $60,000.00     Investor‐Lender           $60,000.00
                                                                                                M1708149, Patrick Coppinger
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property    Madison Trust Company Custodian FBO Robert W. Jennings                $309,318.75     Investor‐Lender          $225,461.00
                                                                                                Account# M1605053
  74             3074 Cheltenham Place              7836 S Shore Drive       Estate Property    Madison Trust Company Custodian FBO Robert W. Jennings                $309,318.75     Investor‐Lender           $74,539.00
                                                                                                Account# M1605053
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                    $255,332.70     Investor‐Lender          $106,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                    $255,332.70     Investor‐Lender           $50,000.00
   95            8201 S Kingston Avenue                                      Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                    $255,332.70     Investor‐Lender           $50,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property    Madison Trust Company Custodian FBO Stuart Edelman                    $255,332.70     Investor‐Lender           $35,000.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property    Madison Trust Company FBO Judy Newton IRA                             $102,235.61     Investor‐Lender           $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property    Madison Trust Company FBO Judy Newton IRA                             $102,235.61     Investor‐Lender           $50,000.00
  901                     SSDF1                                              Fund               Madison Trust Company FBO Laurie Connely, IRA (Madison Trust          $140,592.00      Equity Investor          $20,000.00
                                                                                                Company Cust. Laurie Connely M1711182)
  904                     SSDF4                                              Fund               Madison Trust Company FBO Laurie Connely, IRA (Madison Trust          $140,592.00     Equity Investor          $100,592.00
                                                                                                Company Cust. Laurie Connely M1711182)
  939            Equity Build SECPN‐829                                      Fund               Madison Trust Company FBO Laurie Connely, IRA (Madison Trust          $140,592.00     Equity Investor           $20,000.00
                                                                                                Company Cust. Laurie Connely M1711182)
   67             1131‐41 E 79th Place                                       Estate Property    Madison Trust Company FBO Rick Newton SEP IRA                          $50,000.00     Investor‐Lender           $50,000.00
10 to 12                 CCF1                                                Fund               Madison Trust Company FBO. Mehernosh Pithawalla (M1704056)             $30,999.94     Investor‐Lender           $25,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Madison Trust Custodian FBO Brent Jacobs                               $37,881.00     Investor‐Lender           $37,881.00
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property    Maher, Avery (Christopher Maher CESA)                                  $11,000.00     Investor‐Lender           $11,000.00
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property    Maher, Christopher                                                     $30,500.00     Investor‐Lender           $14,000.00
   93          7953‐59 S Marquette Road            2708‐10 E 80th Street     Estate Property    Maher, Christopher                                                     $30,500.00     Investor‐Lender           $16,500.00
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property    Maher, Gavin (Christopher Maher, CESA)                                 $15,000.00     Investor‐Lender           $15,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                 Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                     (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                          Amount in Claim            Form               Property
                                                                                                                                                             Category as
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   77          7750‐58 S Muskegon Avenue          2818‐36 E 78th Street      Estate Property   Maher, Travis (Christopher Maher, CESA)                             $10,000.00 Investor‐Lender             $10,000.00
   69              6250 S Mozart Avenue           2832‐36 W 63rd Street      Estate Property   Mahesh Koli                                                         $25,125.00 Investor‐Lender             $25,125.00
   26            8405 S Marquette Avenue                                     Estate Property   Manoj Donthineni                                                    $71,544.30 Investor‐Lender            $141,340.00
   76           7635‐43 S East End Avenue                                    Estate Property   Manoj Donthineni                                                    $71,544.30 Investor‐Lender             $41,007.00
  129            4494 West Roscoe Street                                     Former Property   Manoj Donthineni                                                    $71,544.30 Investor‐Lender             $12,198.90
  901                      SSDF1                                             Fund              Manuel Cadaval                                                      $25,000.00   Equity Investor           $25,000.00
  901                      SSDF1                                             Fund              Manuel Cadaval custodian for Jacob Cadaval                          $25,000.00   Equity Investor           $25,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Manuel Camacho                                                     $104,434.59 Investor‐Lender             $25,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Manuel Camacho                                                     $104,434.59 Investor‐Lender             $25,000.00
   69              6250 S Mozart Avenue            2832‐36 W 63rd Street     Estate Property   Manuel Camacho                                                     $104,434.59 Investor‐Lender             $33,250.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Marcus, Ernest                                                      $50,000.00 Investor‐Lender             $50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   Margaret M Morgan                                                   $50,000.00 Investor‐Lender             $50,000.00
   72            7024‐32 S Paxton Avenue                                     Estate Property   Maricris M. Lee                                                      $8,426.68 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Maricris M. Lee                                                      $8,426.68 Investor‐Lender
   56                8209 S Ellis Avenue                                     Estate Property   Marilyn B. Ackerman                                                $165,913.00   Equity Investor          $200,000.00
   56                8209 S Ellis Avenue                                     Estate Property   Marilyn B. Ackerman                                                $165,913.00 Investor‐Lender            $200,000.00
  133              4109 N Kimball Avenue                                     Former Property   Mario Flores                                                        $40,697.50 Investor‐Lender            $133,456.15
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Marjorie Jean Sexton                                               $200,000.00 Investor‐Lender            $100,000.00
   50               7760 S Coles Avenue                                      Estate Property   Marjorie Jean Sexton                                               $200,000.00 Investor‐Lender             $50,000.00
   59           6001 S Sacramento Avenue          2945‐51 W 60th Street      Estate Property   Marjorie Jean Sexton                                               $200,000.00 Investor‐Lender             $40,564.00
   81             4317 S Michigan Avenue                                     Estate Property   Marjorie Jean Sexton                                               $200,000.00 Investor‐Lender              $9,436.00
   92             7748‐50 S Essex Avenue           2450‐52 E 78th Street     Estate Property   Marjorie Jean Sexton                                               $200,000.00 Investor‐Lender              $3,000.00
    1              1700 Juneway Terrace                                      Estate Property   Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006            $150,000.00 Investor‐Lender            $100,000.00
10 to 12                    CCF1                                             Fund              Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006            $150,000.00 Investor‐Lender             $50,000.00
10 to 12         Chicago Capital Fund I LLC                                  Fund              Mark and Julie Akita                                               $100,000.00   Equity Investor          $100,000.00
    4            5450‐52 S Indiana Avenue           118‐132 E Garfield       Estate Property   Mark DeLuca                                                        $110,000.00 Investor‐Lender            $110,000.00
    4            5450‐52 S Indiana Avenue           118‐132 E Garfield       Estate Property   Mark P. Mouty                                                      $180,702.77 Investor‐Lender             $20,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Mark P. Mouty                                                      $180,702.77 Investor‐Lender             $25,000.00
   63           4520‐26 S Drexel Boulevard                                   Estate Property   Mark P. Mouty                                                      $130,703.00   Equity Investor           $10,000.00
   70               638 N Avers Avenue                                       Estate Property   Mark P. Mouty                                                      $180,702.77 Investor‐Lender             $25,000.00
   77          7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property   Mark P. Mouty                                                      $180,702.77 Investor‐Lender             $50,000.00
  119              4019 S Indiana Avenue                                     Former Property   Mark P. Mouty                                                      $130,703.00   Equity Investor          $120,703.00
  906                      SSDF6                                             Fund              Mark P. Mouty                                                      $130,703.00   Equity Investor          $120,703.00
10 to 12                    CCF1                                             Fund              Mark P. Mouty                                                      $180,702.77 Investor‐Lender             $25,000.00
13 to 15                    CCF2                                             Fund              Mark P. Mouty                                                      $180,702.77 Investor‐Lender             $25,000.00
   73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street     Estate Property   Mark Young                                                         $366,131.08 Investor‐Lender             $40,000.00


                                                                                                              44
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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address           Type                                     Claimant Name                     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street    Estate Property   Mark Young                                                             $366,131.08 Investor‐Lender            $100,000.00
   80               2736 W 64th Street                                       Estate Property   Mark Young                                                             $366,131.08 Investor‐Lender             $50,000.00
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property   Mark Young                                                             $366,131.08 Investor‐Lender             $50,000.00
   92            7748‐50 S Essex Avenue             2450‐52 E 78th Street    Estate Property   Mark Young                                                             $366,131.08 Investor‐Lender             $30,000.00
   95            8201 S Kingston Avenue                                      Estate Property   Mark Young                                                             $366,131.08 Investor‐Lender             $50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   Mark Young                                                             $366,131.08 Investor‐Lender             $50,000.00
13 to 15                   CCF2                                              Fund              MarTech, Inc.                                                          $600,000.00   Equity Investor          $600,000.00
   71                701 S 5th Avenue                    414 Walnut          Estate Property   Mary Alexander‐Brum                                                     $52,124.99 Investor‐Lender             $50,000.00
  124            6801 S East End Avenue                                      Former Property   Mary Ann Hennefer                                                       $15,160.00 Investor‐Lender             $15,160.00
   60             7026 S Cornell Avenue                                      Estate Property   MaryAnn Zimmerman                                                       $50,000.00 Investor‐Lender             $18,104.00
   88            7546 S Saginaw Avenue                                       Estate Property   MaryAnn Zimmerman                                                       $50,000.00 Investor‐Lender             $31,716.00
   49          7300‐04 St Lawrence Avenue                                    Estate Property   Matthew Boyd                                                           $405,000.00 Investor‐Lender            $259,302.00
   50              7760 S Coles Avenue                                       Estate Property   Matthew Boyd                                                           $405,000.00 Investor‐Lender             $55,000.00
   58           5955 S Sacramento Avenue            2948‐56 W 60th Street    Estate Property   Matthew Boyd                                                           $405,000.00 Investor‐Lender             $40,698.00
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street    Estate Property   Matthew Boyd                                                           $405,000.00 Investor‐Lender             $50,000.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Matthew Boyd                                                           $405,000.00 Investor‐Lender            $314,302.00
    1             1700 Juneway Terrace                                       Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly            $631,739.82 Investor‐Lender            $110,000.00
                                                                                               under MayREI, LLC
  67              1131‐41 E 79th Place                                      Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82 Investor‐Lender and           $50,000.00
                                                                                               under MayREI, LLC)                                                                  Equity Investor
  74             3074 Cheltenham Place               7836 S Shore Drive     Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82 Investor‐Lender               $86,515.00
                                                                                               under MayREI, LLC)
  77           7750‐58 S Muskegon Avenue            2818‐36 E 78th Street   Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82     Investor‐Lender           $25,000.00
                                                                                               under MayREI, LLC)
  79       6160‐6212 S Martin Luther King Drive                             Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82     Investor‐Lender           $60,000.00
                                                                                               under MayREI, LLC)
  95             8201 S Kingston Avenue                                     Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82     Investor‐Lender           $25,000.00
                                                                                               under MayREI, LLC)
 96‐99            8326‐58 S Ellis Avenue                                    Estate Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82     Investor‐Lender           $50,000.00
                                                                                               under MayREI, LLC)
  124            6801 S East End Avenue                                     Former Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82         Other                 $84,500.00
                                                                                               under MayREI, LLC)
  126         5201‐5207 W Washington Blvd                                   Former Property    May M. Akamine for Aurora Investments, LLC (assets formerly          $631,739.82     Investor‐Lender           $25,000.00
                                                                                               under MayREI, LLC)
  145          4755 S St Lawrence Avenue                                    Former Property    May M. Akamine for Aurora Investments, LLC (assets formerly           $88,868.41         Other                 $68,360.31
                                                                                               under MayREI, LLC)


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address           Type                                     Claimant Name                       Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                           (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                Amount in Claim            Form               Property
                                                                                                                                                                   Category as
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
   79      6160‐6212 S Martin Luther King Drive                             Estate Property    Meadows Enterprises Inc, Kenyon Meadows, president                        $75,000.00 Investor‐Lender             $25,000.00
13 to 15                   CCF2                                             Fund               Meadows Enterprises Inc, Kenyon Meadows, president                        $75,000.00 Investor‐Lender             $50,000.00
    1             1700 Juneway Terrace                                      Estate Property    Melanie T. or Gary M. Gonzales                                           $525,525.01 Investor‐Lender            $250,000.00
   84            7051 S Bennett Avenue                                      Estate Property    Melanie T. or Gary M. Gonzales                                           $525,525.01 Investor‐Lender            $155,000.00
 96‐99           8326‐58 S Ellis Avenue                                     Estate Property    Melanie T. or Gary M. Gonzales                                           $525,525.01 Investor‐Lender            $100,000.00
  115            109 N Laramie Avenue                                       Former Property    Melvin Shurtz                                                                  $0.00 Investor‐Lender             $25,000.00
  904                     SSDF4                                             Fund               Melvin Shurtz                                                             $25,000.00   Equity Investor           $25,000.00
   50              7760 S Coles Avenue                                      Estate Property    Metro Rural Real Estate Solutions (Tamara Molenaar‐Angelier)              $18,253.51 Investor‐Lender             $70,000.00
   51              1401 W 109th Place                                       Estate Property    Michael and Lyanne Terada                                                 $73,336.53 Investor‐Lender             $33,847.00
  940              Colony 4 Investment                                      Fund               Michael and Lyanne Terada                                                 $66,815.34   Equity Investor           $60,194.00
   64          4611‐15 S Drexel Boulevard                                   Estate Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A.             $80,377.98 Investor‐Lender              $7,728.00
                                                                                               Goldman, Michael Goldman)
  79       6160‐6212 S Martin Luther King Drive                             Estate Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A.           $80,377.98     Investor‐Lender           $61,860.75
                                                                                               Goldman, Michael Goldman)
  132            9531 S Fairfield Avenue                                    Former Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A.           $80,377.98     Investor‐Lender            $5,405.73
                                                                                               Goldman, Michael Goldman)
  156            4351 S Calumet Avenue                                      Former Property    Michael Arthur Goldman (also know as Mike Goldman, Michael A.           $80,377.98     Investor‐Lender           $20,239.25
                                                                                               Goldman, Michael Goldman)
   47               5437 S Laflin Street                                     Estate Property   Michael Borgia                                                       $1,253,784.00     Investor‐Lender          $250,000.00
   78           7201 S Constance Avenue             1825‐31 E 72nd Street    Estate Property   Michael Borgia                                                       $1,253,784.00     Investor‐Lender          $669,327.00
  115             109 N Laramie Avenue                                       Former Property   Michael Borgia                                                       $1,253,784.00     Investor‐Lender          $455,673.00
    1             1700 Juneway Terrace                                       Estate Property   Michael Borgia IRA                                                    $975,416.00      Investor‐Lender          $125,000.00
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street    Estate Property   Michael Borgia IRA                                                    $975,416.00      Investor‐Lender          $125,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property   Michael Borgia IRA                                                    $975,416.00      Investor‐Lender          $325,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   Michael Borgia IRA                                                    $975,416.00      Investor‐Lender          $400,416.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Michael Burns                                                           $50,000.00     Investor‐Lender           $50,000.00
    2           4533‐37 S Calumet Avenue                                     Estate Property   Michael C. Jacobs                                                     $178,833.00       Equity Investor          $50,000.00
   67              1131‐41 E 79th Place                                      Estate Property   Michael C. Jacobs                                                     $178,833.00       Equity Investor          $70,000.00
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street    Estate Property   Michael C. Jacobs                                                     $178,833.00       Equity Investor          $25,000.00
   78           7201 S Constance Avenue             1825‐31 E 72nd Street    Estate Property   Michael C. Jacobs                                                     $178,833.00       Equity Investor          $25,000.00
  124            6801 S East End Avenue                                      Former Property   Michael C. Jacobs                                                     $103,666.68      Investor‐Lender          $100,000.00
   1              1700 Juneway Terrace                                       Estate Property   Michael C. McClane                                                      $82,277.75     Investor‐Lender
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property   Michael D More                                                        $100,000.00      Investor‐Lender          $100,000.00
  901                     SSDF1                                              Fund              Michael D More                                                        $100,000.00       Equity Investor         $100,000.00
    5            7749 S Yates Boulevard                                      Estate Property   Michael F Grant & L. Gretchen Grant                                   $695,000.00      Investor‐Lender           $50,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property   Michael F Grant & L. Gretchen Grant                                   $695,000.00      Investor‐Lender           $50,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name                         Claimed Amount        Claim Category as Amount Claimed
Number                                                                                                                                                          (Total Claimed      Identified on Claim to be Invested in
                                                                                                                                                               Amount in Claim             Form             Property
                                                                                                                                                                  Category as
                                                                                                                                                              Identified on Claim
                                                                                                                                                                     Form)
   62             7834‐44 S Ellis Avenue                                  Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender             $50,000.00
   72           7024‐32 S Paxton Avenue                                   Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender             $40,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender             $50,000.00
   81           4317 S Michigan Avenue                                    Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender             $50,000.00
   88            7546 S Saginaw Avenue                                    Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender           $110,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender             $50,000.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender           $270,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender             $35,000.00
13 to 15                  CCF2                                            Fund              Michael F Grant & L. Gretchen Grant                                        $695,000.00 Investor‐Lender and         $50,000.00
                                                                                                                                                                                      Equity Investor
   5             7749 S Yates Boulevard                                   Estate Property   Michael Grow                                                               $223,996.00    Equity Investor
   5             7749 S Yates Boulevard                                   Estate Property   Michael Grow                                                               $216,250.00 Investor‐Lender
  67              1131‐41 E 79th Place                                    Estate Property   Michael Grow                                                               $223,996.00    Equity Investor
  67              1131‐41 E 79th Place                                    Estate Property   Michael Grow                                                               $216,250.00 Investor‐Lender
  85          7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property   Michael Hill                                                                $85,000.00 Investor‐Lender
  124           6801 S East End Avenue                                    Former Property   Michael Hill                                                                $85,000.00 Investor‐Lender
  54              8000 S Justine Street            1541 E 80th Street     Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with            $310,000.00 Investor‐Lender           $110,000.00
                                                                                            Right of Survivorship
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with          $310,000.00    Investor‐Lender           $50,000.00
                                                                                            Right of Survivorship
  75            7625‐33 S East End Avenue                                 Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with          $310,000.00    Investor‐Lender           $92,561.00
                                                                                            Right of Survivorship
  76            7635‐43 S East End Avenue                                 Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with          $310,000.00    Investor‐Lender           $57,439.00
                                                                                            Right of Survivorship
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Michael Kessock                                                            $3,333.33    Investor‐Lender          $100,000.00
  904                    SSDF4                                            Fund              Michael Kessock                                                          $103,000.00     Equity Investor         $100,000.00
102‐106         7927‐49 S Essex Avenue                                    Estate Property   Michael Prokop                                                              $197.01      Equity Investor         $150,000.00
 96‐99           8326‐58 S Ellis Avenue                                   Estate Property   Michael Prokop                                                              $197.01      Equity Investor          $50,000.00
  904                    SSDF4                                            Fund              Michael Schankman                                                        $112,557.00     Equity Investor          $50,000.00
    5            7749 S Yates Boulevard                                   Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC           $203,254.00     Equity Investor          $24,000.00
                                                                                            PSP
   5             7749 S Yates Boulevard                                   Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC           $203,254.00    Investor‐Lender           $24,000.00
                                                                                            PSP
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC           $203,254.00     Equity Investor          $90,000.00
                                                                                            PSP



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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address            Type                                     Claimant Name                             Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                               (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                    Amount in Claim            Form               Property
                                                                                                                                                                       Category as
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Michael Warner, Trustee of Warner Chiropractic Care Center, PC                 $203,254.00 Investor‐Lender             $90,000.00
                                                                                             PSP
  116      1102 Bingham St, Houston TX 77007                              Estate Property    Michael Warner, Trustee of Warner Chiropractic Care Center, PC               $203,254.00     Investor‐Lender           $54,254.00
                                                                                             PSP
  904              SSDF4 Legacy Fund                                      Fund               Michael Warner, Trustee of Warner Chiropractic Care Center, PC               $203,254.00     Equity Investor           $54,524.00
                                                                                             PSP
13 to 15                  CCF2                                            Fund               Michael Warner, Trustee of Warner Chiropractic Care Center, PC               $203,254.00     Investor‐Lender           $35,000.00
                                                                                             PSP
13 to 15                  CCF2                                            Fund               Michael Warner, Trustee of Warner Chiropractic Care Center, PC               $203,254.00     Equity Investor           $35,000.00
                                                                                             PSP
  122          7616‐7624 S Phillips Avenue                                Former Property    Michigan Shore Apartments, LLC                                               $435,350.00          Other
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    MID LLC by Carolyn Mize                                                       $53,061.25      Equity Investor          $50,000.00
  109            4750 S Indiana Avenue                                    Estate Property    MID LLC by Carolyn Mize                                                       $53,061.25     Investor‐Lender            $5,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property    Midland IRA, Inc. LLC Custodian FBO, Terry L Merrill, IRA Account             $60,000.00     Investor‐Lender           $60,000.00
                                                                                             # 6820601
  16              1017 W 102nd Street                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  17                1516 E 85th Place                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  18               2136 W 83rd Street                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  19               417 Oglesby Avenue                                     Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  20              7922 S Luella Avenue                                    Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  21             7925 S Kingston Avenue                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  22             7933 S Kingston Avenue                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  23            8030 S Marquette Avenue                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  24             8104 S Kingston Avenue                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.
  25             8403 S Aberdeen Street                                   Estate Property    Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                                             Colony American Finance 2015‐1, Ltd.



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                                                                                         Exhibit 6
                                                                               Master Claims Spreadsheet
                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property      Property Address       Alternative Address         Type                                     Claimant Name                             Claimed Amount      Claim Category as     Amount Claimed
Number                                                                                                                                               (Total Claimed    Identified on Claim    to be Invested in
                                                                                                                                                    Amount in Claim            Form               Property
                                                                                                                                                       Category as
                                                                                                                                                   Identified on Claim
                                                                                                                                                          Form)
  26       8405 S Marquette Avenue                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for         $1,605,189.95 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  27        8529 S Rhodes Avenue                           Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  28          8800 S Ada Street                            Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  29        9212 S Parnell Avenue                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,605,189.95 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  30        10012 S LaSalle Avenue                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  31        11318 S Church Street                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  32         3213 S Throop Street                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  33          3723 W 68th Place                            Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  34           406 E 87th Place                            Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  35           61 E 92nd Street                            Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  36        6554 S Rhodes Avenue                           Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  37        6825 S Indiana Avenue                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  38        7210 S Vernon Avenue                           Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  39         7712 S Euclid Avenue                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  40       7953 S Woodlawn Avenue                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  41       8107 S Kingston Avenue                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  42       8346 S Constance Avenue                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.
  43         8432 S Essex Avenue                           Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,924,211.14 Institutional Lender
                                                                             Colony American Finance 2015‐1, Ltd.


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                                                                                            Exhibit 6
                                                                                  Master Claims Spreadsheet
                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address        Alternative Address         Type                                     Claimant Name                             Claimed Amount      Claim Category as     Amount Claimed
Number                                                                                                                                                  (Total Claimed    Identified on Claim    to be Invested in
                                                                                                                                                       Amount in Claim            Form               Property
                                                                                                                                                          Category as
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
  44         8517 S Vernon Avenue                             Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for         $1,924,211.14 Institutional Lender
                                                                                Colony American Finance 2015‐1, Ltd.
  45           2129 W 71st Street                             Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,973,393.52 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                American Finance 2017‐1 Trust Mortgage Pass‐Through Certificates

  46        9610 S Woodlawn Avenue                            Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,973,393.52 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                American Finance 2017‐1 Trust Mortgage Pass‐Through Certificates

  47           5437 S Laflin Street                           Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,973,393.52 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                American Finance 2017‐1 Trust Mortgage Pass‐Through Certificates

  48         6759 S Indiana Avenue                            Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,973,393.52 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                American Finance 2017‐1 Trust Mortgage Pass‐Through Certificates

  49       7300‐04 St Lawrence Avenue                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,973,393.52 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                American Finance 2017‐1 Trust Mortgage Pass‐Through Certificates

  50          7760 S Coles Avenue                             Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $1,973,393.52 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                American Finance 2017‐1 Trust Mortgage Pass‐Through Certificates

  51           1401 W 109th Place                             Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $3,003,129.41 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                Corevest American Finance 2017‐2 Trust, Mortgage Pass‐Through
                                                                                Certificates, Series 2017‐2
  52            310 E 50th Street                             Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $3,003,129.41 Institutional Lender
                                                                                Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                Corevest American Finance 2017‐2 Trust, Mortgage Pass‐Through
                                                                                Certificates, Series 2017‐2




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                                                                                                      Exhibit 6
                                                                                            Master Claims Spreadsheet
                                                                                SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address         Type                                     Claimant Name                             Claimed Amount      Claim Category as     Amount Claimed
Number                                                                                                                                                            (Total Claimed    Identified on Claim    to be Invested in
                                                                                                                                                                 Amount in Claim            Form               Property
                                                                                                                                                                    Category as
                                                                                                                                                                Identified on Claim
                                                                                                                                                                       Form)
  53              6807 S Indiana Avenue                                 Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for         $3,003,129.41 Institutional Lender
                                                                                          Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                          Corevest American Finance 2017‐2 Trust, Mortgage Pass‐Through
                                                                                          Certificates, Series 2017‐2
  54               8000 S Justine Street          1541 E 80th Street    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $3,003,129.41 Institutional Lender
                                                                                          Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                          Corevest American Finance 2017‐2 Trust, Mortgage Pass‐Through
                                                                                          Certificates, Series 2017‐2
  55               8107 S Ellis Avenue                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $3,003,129.41 Institutional Lender
                                                                                          Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                          Corevest American Finance 2017‐2 Trust, Mortgage Pass‐Through
                                                                                          Certificates, Series 2017‐2
  56               8209 S Ellis Avenue                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $3,003,129.41 Institutional Lender
                                                                                          Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                          Corevest American Finance 2017‐2 Trust, Mortgage Pass‐Through
                                                                                          Certificates, Series 2017‐2
  57             8214 S Ingleside Avenue                                Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for        $3,003,129.41 Institutional Lender
                                                                                          Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                          Corevest American Finance 2017‐2 Trust, Mortgage Pass‐Through
                                                                                          Certificates, Series 2017‐2
    4           5450‐52 S Indiana Avenue          118‐132 E Garfield    Estate Property   Mike Dirnberger                                                               $15,000.00     Investor‐Lender
   88            7546 S Saginaw Avenue                                  Estate Property   Mike Dirnberger                                                               $15,000.00     Investor‐Lender
  100        11117‐11119 S Longwood Drive                               Estate Property   Mike M. Cocos                                                                $150,000.00      Equity Investor          $50,000.00
  911              Hybrid Capital Fund                                  Fund              Mike M. Cocos                                                                $150,000.00      Equity Investor          $50,000.00
13 to 15                  CCF2                                          Fund              Mike M. Cocos                                                                $150,000.00      Equity Investor          $50,000.00
   64          4611‐15 S Drexel Boulevard                               Estate Property   Minchow, Donald                                                              $225,000.00     Investor‐Lender           $40,000.00
13 to 15                  CCF2                                          Fund              Minchow, Donald                                                              $225,000.00     Investor‐Lender           $75,000.00
   70              638 N Avers Avenue                                   Estate Property   Minchow, Rochelle                                                            $190,000.00     Investor‐Lender           $30,000.00
10 to 12                  CCF1                                          Fund              Mitchell Young Trust                                                          $30,000.00     Investor‐Lender           $30,000.00
    1             1700 Juneway Terrace                                  Estate Property   Mona M. Leonard SD ROTH ‐ 2692021                                            $190,609.00      Equity Investor          $50,000.00
   61            7237 S Bennett Avenue                                  Estate Property   Mona M. Leonard SD ROTH ‐ 2692021                                            $190,609.00      Equity Investor         $200,000.00
    8             1414 East 62nd Place                                  Estate Property   Moran Blueshtein and Upender Subramanian                                     $146,857.18      Equity Investor          $30,188.00
    4           5450‐52 S Indiana Avenue          118‐132 E Garfield    Estate Property   Moran Blueshtein and Upender Subramanian                                     $146,857.18     Investor‐Lender           $20,000.00
   68         6217‐27 S Dorchester Avenue                               Estate Property   Moran Blueshtein and Upender Subramanian                                     $146,857.18     Investor‐Lender           $30,188.00
   79      6160‐6212 S Martin Luther King Drive                         Estate Property   Moran Blueshtein and Upender Subramanian                                     $146,857.18     Investor‐Lender           $46,000.00
  904                    SSDF4                                          Fund              Moran Blueshtein and Upender Subramanian                                     $100,000.00      Equity Investor         $100,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name                        Claimed Amount        Claim Category as Amount Claimed
Number                                                                                                                                                         (Total Claimed      Identified on Claim to be Invested in
                                                                                                                                                              Amount in Claim             Form             Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
13 to 15                 CCF2                                             Fund              Moran Blueshtein and Upender Subramanian                                  $146,857.18 Investor‐Lender             $50,000.00
  116      1102 Bingham St, Houston TX 77007                              Estate Property   Motes, Alton                                                              $245,841.62 Investor‐Lender             $20,000.00
  140               4528 S Michigan                                       Former Property   Motes, Alton                                                              $245,841.62 Investor‐Lender             $14,583.00
   64         4611‐15 S Drexel Boulevard                                  Estate Property   Motes, Alton (Alton P. Motes Revocable Trust Agreement dated 12‐          $245,841.62 Investor‐Lender             $15,417.00
                                                                                            15‐11)
   61            7237 S Bennett Avenue                                    Estate Property   Motes, Alton and Vicki Elaine Washburn JTWROS                             $245,841.62 Investor‐Lender             $35,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property   Motes, Alton and Vicki Elaine Washburn JTWROS                             $245,841.62 Investor‐Lender             $60,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                $159,000.00 Investor‐Lender             $10,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                $159,000.00 Investor‐Lender              $7,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                $159,000.00 Investor‐Lender             $50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                $159,000.00 Investor‐Lender             $92,000.00
  904                    SSDF4                                            Fund              MTASS Realty LLC                                                          $349,521.00    Equity Investor        $349,521.00
  124            6801 S East End Avenue                                   Former Property   Mudlic Properties LLC                                                     $207,194.24 Other (Owner of           $674,377.90
                                                                                                                                                                                  Property, Mortgagor)

  904                     SSDF4                                           Fund              Nancy A Markwalter                                                        $25,000.00     Equity Investor         $25,000.00
    3            5001 S Drexel Boulevard            909 E 50th Street     Estate Property   Nancy Cree (Cree Capital Ventures)                                       $300,000.00     Equity Investor        $300,000.00
    6            6437 S Kenwood Avenue                                    Estate Property   Nancy Cree (Cree Capital Ventures)                                       $725,000.00    Investor‐Lender         $250,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Nancy Cree (Cree Capital Ventures)                                       $725,000.00    Investor‐Lender         $225,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Nancy Cree (Cree Capital Ventures)                                       $725,000.00    Investor‐Lender         $250,000.00
   67              1131‐41 E 79th Place                                   Estate Property   Nancy Fillmore                                                            $90,974.27    Investor‐Lender
  100        11117‐11119 S Longwood Drive                                 Estate Property   Nancy Fillmore                                                            $90,974.27    Investor‐Lender
13 to 15                   CCF2                                           Fund              Nancy Fillmore                                                            $90,974.27    Investor‐Lender          $25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Nandini S Chennappan                                                      $10,000.00    Investor‐Lender          $10,000.00
   67              1131‐41 E 79th Place                                   Estate Property   Narine Nebel                                                              $62,256.25    Investor‐Lender          $50,000.00
13 to 15                   CCF2                                           Fund              Narine Nebel                                                              $62,256.25    Investor‐Lender          $15,000.00
   63          4520‐26 S Drexel Boulevard                                 Estate Property   Natalie T. Scheuller                                                      $85,400.00     Equity Investor         $85,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Nathan and Brandi Hennefer                                                $25,000.00    Investor‐Lender          $25,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Nathan Hennefer                                                           $44,000.00    Investor‐Lender          $44,000.00
    5             7749 S Yates Boulevard                                  Estate Property   Naveen Kwatra                                                             $75,000.00    Investor‐Lender          $25,000.00
   71               701 S 5th Avenue                  414 Walnut          Estate Property   Naveen Kwatra                                                             $75,000.00    Investor‐Lender          $50,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)          $252,907.00    Investor‐Lender          $25,000.00
   71               701 S 5th Avenue                  414 Walnut          Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)          $252,907.00    Investor‐Lender          $50,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)          $252,907.00    Investor‐Lender          $50,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)          $252,907.00    Investor‐Lender          $52,907.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)          $252,907.00    Investor‐Lender          $25,000.00


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address             Type                                     Claimant Name                         Claimed Amount        Claim Category as Amount Claimed
Number                                                                                                                                                              (Total Claimed      Identified on Claim to be Invested in
                                                                                                                                                                   Amount in Claim             Form             Property
                                                                                                                                                                      Category as
                                                                                                                                                                  Identified on Claim
                                                                                                                                                                         Form)
13 to 15                  CCF2                                               Fund               Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)            $252,907.00 Investor‐Lender and         $50,000.00
                                                                                                                                                                                          Equity Investor
    2          4533‐37 S Calumet Avenue                                      Estate Property    Neil R Martin                                                               $20,991.00    Equity Investor          $20,000.00
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    Neil R Martin                                                               $20,991.00    Equity Investor
  904              SSDF4 Legacy Fund                                         Fund               Nerses Abramyan                                                             $25,000.00    Equity Investor          $25,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    New Direction IRA, Inc. FBO Ingrid Beyer, Roth IRA                          $25,865.84 Investor‐Lender             $25,000.00
   59          6001 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property    New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                           $103,990.94 Investor‐Lender             $16,000.00
   70             638 N Avers Avenue                                         Estate Property    New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                           $103,990.94 Investor‐Lender             $85,000.00
    2          4533‐37 S Calumet Avenue                                      Estate Property    New Move Ventures Inc. (Steven Fecko)                                      $120,000.00 Investor‐Lender             $70,000.00
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property    New Move Ventures Inc. (Steven Fecko)                                      $120,000.00 Investor‐Lender             $50,000.00
   60            7026 S Cornell Avenue                                       Estate Property    Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S               $23,000.00 Investor‐Lender             $13,000.00
                                                                                                Kapsky IRA 3207
  68          6217‐27 S Dorchester Avenue                                    Estate Property    Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S             $23,000.00    Investor‐Lender           $10,000.00
                                                                                                Kapsky IRA 3207
  60             7026 S Cornell Avenue                                       Estate Property    Next Generation Trust Company FBO Mark Kapsky IRA 2396                    $42,000.00    Investor‐Lender            $2,000.00
  68          6217‐27 S Dorchester Avenue                                    Estate Property    Next Generation Trust Company FBO Mark Kapsky IRA 2396                    $42,000.00    Investor‐Lender
  60             7026 S Cornell Avenue                                       Estate Property    Next Generation Trust Company FBO Mark Steven Kapsky Roth IRA             $35,000.00    Investor‐Lender           $25,000.00
                                                                                                2702
  901                    SSDF1                                               Fund               NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                       $335,000.00     Equity Investor         $100,000.00
  904              SSDF4 Legacy Fund                                         Fund               NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                       $335,000.00     Equity Investor         $235,000.00

   83           6356 S California Avenue            2804 W 64th Street       Estate Property    Nicolas and Joyce Jenks                                                  $155,249.47    Investor‐Lender           $25,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    Nicolas and Joyce Jenks                                                  $155,249.47    Investor‐Lender           $50,000.00
10 to 12                  CCF1                                               Fund               Nisha Gupta 401(K) Profit Sharing Plan & Trust                            $92,000.00    Investor‐Lender           $75,000.00
13 to 15                  CCF2                                               Fund               Nisha Gupta 401(K) Profit Sharing Plan & Trust                            $36,604.64    Investor‐Lender           $29,500.00
10 to 12                  CCF1                                               Fund               Nisha Gupta Defined Benefit Plan and Trust                               $214,666.61    Investor‐Lender          $175,000.00
13 to 15                  CCF2                                               Fund               Nisha Gupta Defined Benefit Plan and Trust                                $99,887.14    Investor‐Lender           $80,500.00
   83           6356 S California Avenue            2804 W 64th Street       Estate Property    OAK BARREL ONE, LLC (TED GUILLEN)                                         $20,038.00    Investor‐Lender           $20,038.00
102‐106         7927‐49 S Essex Avenue                                       Estate Property    OE Holdings LLC                                                           $30,000.00    Investor‐Lender           $30,000.00
    2          4533‐37 S Calumet Avenue                                      Estate Property    Optima Property Solutions, LLC                                           $487,209.71    Investor‐Lender           $70,000.00
    4          5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property    Optima Property Solutions, LLC                                           $487,209.71    Investor‐Lender          $170,000.00
    5            7749 S Yates Boulevard                                      Estate Property    Optima Property Solutions, LLC                                           $487,209.71    Investor‐Lender          $100,000.00
    6           6437 S Kenwood Avenue                                        Estate Property    Optima Property Solutions, LLC                                           $487,209.71    Investor‐Lender           $30,000.00
    7          7109‐19 S Calumet Avenue                                      Estate Property    Optima Property Solutions, LLC                                           $487,209.71    Investor‐Lender          $200,000.00
   60            7026 S Cornell Avenue                                       Estate Property    Optima Property Solutions, LLC                                           $487,209.71    Investor‐Lender          $165,000.00
   61            7237 S Bennett Avenue                                       Estate Property    Optima Property Solutions, LLC                                           $487,209.71    Investor‐Lender           $65,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name           Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                            (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                 Amount in Claim             Form              Property
                                                                                                                                                    Category as
                                                                                                                                                Identified on Claim
                                                                                                                                                       Form)
   62             7834‐44 S Ellis Avenue                                  Estate Property   Optima Property Solutions, LLC                               $487,209.71 Investor‐Lender            $250,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Optima Property Solutions, LLC                               $487,209.71 Investor‐Lender            $105,831.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Optima Property Solutions, LLC                               $487,209.71 Investor‐Lender             $20,000.00
   70              638 N Avers Avenue                                     Estate Property   Optima Property Solutions, LLC                               $487,209.71 Investor‐Lender            $250,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property   Optima Property Solutions, LLC                               $487,209.71 Investor‐Lender             $60,000.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property   Optima Property Solutions, LLC                               $487,209.71 Investor‐Lender             $77,500.00
  128             8623‐54 S Ellis Avenue                                  Former Property   Optima Property Solutions, LLC                               $487,209.71 Investor‐Lender             $50,000.00
  901                     SSDF1                                           Fund              Optima Property Solutions, LLC                               $856,284.00    Equity Investor         $856,284.00
13 to 15                   CCF2                                           Fund              Overhead Solutions Inc (Paul Collins)                         $50,000.00    Equity Investor          $50,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Pacific Ocean Services Inc                                   $175,000.00 Investor‐Lender            $150,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Pacific Ocean Services Inc                                   $175,000.00 Investor‐Lender            $150,000.00
    7          7109‐19 S Calumet Avenue                                   Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                        $223,000.00 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                        $223,000.00 Investor‐Lender             $50,000.00
  111             6558 S Vernon Avenue             416‐24 E 66th Street   Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                        $223,000.00 Investor‐Lender             $50,000.00
  123           7107‐29 S Bennett Avenue                                  Former Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                        $223,000.00 Investor‐Lender             $50,000.00
  155            Campo‐Mar, Puerto Rico                                   Former Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                        $223,000.00 Investor‐Lender             $50,000.00
   52                310 E 50th Street                                    Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments            $234,139.18    Trade Creditor           $49,600.68
   56               8209 S Ellis Avenue                                   Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments            $234,139.18    Trade Creditor            $2,740.00
   57            8214 S Ingleside Avenue                                  Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments            $234,139.18    Trade Creditor           $18,986.00
   61             7237 S Bennett Avenue                                   Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments            $234,139.18    Trade Creditor          $162,812.50
  124            6801 S East End Avenue                                   Former Property   Paper Street Realty LLC DBA Rent Ready Apartments            $135,847.03    Trade Creditor
  124            6801 S East End Avenue                                   Former Property   Pat DeSantis                                                               Investor‐Lender          $328,561.00
    5             7749 S Yates Boulevard                                  Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00
   61             7237 S Bennett Avenue                                   Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $100,000.00
   62             7834‐44 S Ellis Avenue                                  Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $110,000.00
   70              638 N Avers Avenue                                     Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00
   72           7024‐32 S Paxton Avenue                                   Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $110,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $110,000.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $110,000.00
   94           816‐20 E Marquette Road                                   Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $100,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Pat DeSantis                                              $2,684,539.00 Investor‐Lender             $250,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address           Type                                     Claimant Name              Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                               (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                    Amount in Claim            Form               Property
                                                                                                                                                       Category as
                                                                                                                                                   Identified on Claim
                                                                                                                                                          Form)
13 to 15                   CCF2                                           Fund              Pat DeSantis                                                 $2,684,539.00    Equity Investor          $500,000.00
  123           7107‐29 S Bennett Avenue                                  Former Property   Patricia A Brown                                                 $84,631.88 Investor‐Lender            $100,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Patricia E Gomes (Ravin3 LLC / Longwood11117, LLC)              $405,333.28 Investor‐Lender            $400,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Patricia Guillen                                                 $50,000.00   Equity Investor           $50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Patricia Guillen                                                 $50,000.00 Investor‐Lender             $50,000.00
   62             7834‐44 S Ellis Avenue                                  Estate Property   Patricia J Theil and Samuel D Theil                              $26,429.55 Investor‐Lender             $25,211.00
   62             7834‐44 S Ellis Avenue                                  Estate Property   Patricia J Theil C/F Jacqueline M Theil                          $62,062.58 Investor‐Lender             $49,165.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Patricia J Theil C/F Jacqueline M Theil                          $62,062.58 Investor‐Lender             $11,257.00
   67              1131‐41 E 79th Place                                   Estate Property   Patricia M. McCorry, Manager McCorry Real Estate LLC             $51,250.00   Equity Investor           $50,000.00
 13‐15              2909 E 78th Street                                    Fund              Patricia M. McCorry, Manager McCorry Real Estate LLC             $25,708.34 Investor‐Lender             $25,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
    1             1700 Juneway Terrace                                    Estate Property   Patrick Connely                                                $50,000.00     Investor‐Lender           $50,000.00
    5            7749 S Yates Boulevard                                   Estate Property   Patrick Connely                                                $20,000.00     Investor‐Lender           $20,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Patrick Connely                                                $30,000.00     Investor‐Lender           $30,000.00
  901                     SSDF1                                           Fund              Patrick Connely                                                $50,000.00      Equity Investor          $50,000.00
  904                     SSDF4                                           Fund              Patrick Connely                                                $20,000.00      Equity Investor          $20,000.00
  904                     SSDF4                                           Fund              PATRICK SHEEHAN                                                $90,125.00      Equity Investor          $50,000.00
  911              Hybrid Capital Fund                                    Fund              PATRICK SHEEHAN                                                $90,125.00      Equity Investor          $40,125.00
   1              1700 Juneway Terrace                                    Estate Property   Paul Applefield (401k)                                        $106,000.00     Investor‐Lender           $45,000.00
   80               2736 W 64th Street                                    Estate Property   Paul Applefield (401k)                                        $106,000.00     Investor‐Lender           $30,000.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Paul Applefield (401k)                                        $106,000.00     Investor‐Lender           $20,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Paul Applefield (401k)                                        $106,000.00     Investor‐Lender           $11,000.00
   80               2736 W 64th Street                                    Estate Property   Paul Applefield (Fam. Trust)                                  $155,000.00     Investor‐Lender           $20,000.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Paul Applefield (Fam. Trust)                                  $155,000.00     Investor‐Lender           $30,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Paul Applefield (Fam. Trust)                                  $155,000.00     Investor‐Lender          $105,000.00
    1             1700 Juneway Terrace                                    Estate Property   Paul Applefield (IRA 16413‐21)                                 $13,500.00     Investor‐Lender            $6,500.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Paul Applefield (IRA 16413‐21)                                 $13,500.00     Investor‐Lender            $7,000.00
    1             1700 Juneway Terrace                                    Estate Property   Paul Applefield (IRA 25164‐21)                                 $13,500.00     Investor‐Lender            $6,500.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Paul Applefield (IRA 25164‐21)                                 $13,500.00     Investor‐Lender            $7,000.00
   62             7834‐44 S Ellis Avenue                                  Estate Property   Paul Franklin                                                  $25,000.00     Investor‐Lender           $24,420.00
  131           4108 N Monticello Avenue                                  Former Property   Paul Franklin                                                  $25,000.00     Investor‐Lender           $25,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Paul Harrison                                                 $420,331.59     Investor‐Lender           $43,098.00
   81            4317 S Michigan Avenue                                   Estate Property   Paul Harrison                                                 $420,331.59     Investor‐Lender          $152,771.00
   86          7442‐48 S Calumet Avenue                                   Estate Property   Paul Harrison                                                 $420,331.59     Investor‐Lender          $124,329.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Paul Harrison                                                 $420,331.59     Investor‐Lender           $63,694.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address           Type                                     Claimant Name     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                      (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                           Amount in Claim            Form               Property
                                                                                                                                              Category as
                                                                                                                                          Identified on Claim
                                                                                                                                                 Form)
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Paul Harrison                                          $420,331.59 Investor‐Lender             $25,000.00
    1             1700 Juneway Terrace                                    Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
    2          4533‐37 S Calumet Avenue                                   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   49         7300‐04 St Lawrence Avenue                                  Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   60             7026 S Cornell Avenue                                   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $50,000.00
   70              638 N Avers Avenue                                     Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $50,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   74             3074 Cheltenham Place            7836 S Shore Drive     Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   76          7635‐43 S East End Avenue                                  Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $50,000.00
   77         7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $50,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   81            4317 S Michigan Avenue                                   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   88            7546 S Saginaw Avenue                                    Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $75,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $75,000.00
   94           816‐20 E Marquette Road                                   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,185.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $15,000.00
  111             6558 S Vernon Avenue            416‐24 E 66th Street    Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $75,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $50,000.00
10 to 12                   CCF1                                           Fund              Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
13 to 15                   CCF2                                           Fund              Paul N. Wilmesmeier                                    $790,185.00 Investor‐Lender             $25,000.00
    5             7749 S Yates Boulevard                                  Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender              $5,500.00
    6            6437 S Kenwood Avenue                                    Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender             $50,000.00
   61             7237 S Bennett Avenue                                   Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender             $50,000.00
   70              638 N Avers Avenue                                     Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender             $16,826.00
   77         7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender              $6,708.00
   83           6356 S California Avenue           2804 W 64th Street     Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender              $7,910.00
   84             7051 S Bennett Avenue                                   Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender             $50,000.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Paul Scribner                                          $200,000.00 Investor‐Lender              $7,000.00
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Paula Tucker                                            $40,000.00 Investor‐Lender             $40,000.00
  122          7616‐7624 S Phillips Avenue                                Former Property   Paule M Nagy                                            $50,000.00 Investor‐Lender             $50,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
   76          7635‐43 S East End Avenue                                     Estate Property   Penny w goree                                                           $36,000.00   Equity Investor           $50,000.00
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Pensco Trust Company Custodian FBO Kathleen A Robinson                  $15,405.00 Investor‐Lender             $12,500.00
    5            7749 S Yates Boulevard                                      Estate Property   Peter Jordan                                                           $153,456.56 Investor‐Lender
   8              1414 East 62nd Place                                       Estate Property   Peter Jordan                                                           $153,456.56 Investor‐Lender
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Peter Jordan                                                           $153,456.56 Investor‐Lender
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Peter (Pierre) Henri Gelinas                                            $26,499.94 Investor‐Lender             $12,847.46
  140           4528 S Michigan Avenue                                       Former Property   Peter (Pierre) Henri Gelinas                                            $26,499.94 Investor‐Lender             $25,000.00
  906                  SSDF6, LLC                                            Fund              Peter Flanagan (IRA Services Trust Co. CFBO: Peter Flanagan             $50,000.00   Equity Investor           $50,000.00
                                                                                               IRA176308)
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Peter Schonberger                                                     $30,000.00      Equity Investor          $30,000.00
   72           7024‐32 S Paxton Avenue                                      Estate Property   Peters, David (The Dominquez‐Peters Living Turst)                     $50,000.00     Investor‐Lender           $50,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Petra Zoeller                                                        $546,619.00     Investor‐Lender           $50,000.00
   88             7546 S Saginaw Avenue                                      Estate Property   Petra Zoeller                                                        $546,619.00     Investor‐Lender           $50,000.00
   92            7748‐50 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Petra Zoeller                                                        $546,619.00     Investor‐Lender           $70,000.00
   94           816‐20 E Marquette Road                                      Estate Property   Petra Zoeller                                                        $546,619.00     Investor‐Lender           $30,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Petra Zoeller                                                        $546,619.00     Investor‐Lender          $199,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Petra Zoeller                                                        $546,619.00     Investor‐Lender          $100,000.00
13 to 15                   CCF2                                              Fund              Petra Zoeller                                                        $546,619.00     Investor‐Lender           $35,000.00
   59          6001 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   PFFR TRUST (Garrett Miller)                                            $5,299.00     Investor‐Lender            $5,299.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Philip J Lombardo and Dianne E Lombardo                               $54,666.63     Investor‐Lender           $50,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Phillip G. Vander Kraats                                              $80,186.82     Investor‐Lender            $1,374.00
   59          6001 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   Phillip G. Vander Kraats                                              $80,186.82     Investor‐Lender              $312.00
   70              638 N Avers Avenue                                        Estate Property   Phillip G. Vander Kraats                                              $80,186.82     Investor‐Lender            $2,000.00
   72           7024‐32 S Paxton Avenue                                      Estate Property   Phillip G. Vander Kraats                                              $80,186.82     Investor‐Lender           $50,000.00
   88             7546 S Saginaw Avenue                                      Estate Property   Phillip G. Vander Kraats                                              $80,186.82     Investor‐Lender           $28,314.00
  128             8623‐54 S Ellis Avenue                                     Former Property   Phillip Silver Trust dated 12/11/08                                   $50,000.00     Investor‐Lender           $50,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Phyllis Harte                                                         $36,069.53     Investor‐Lender            $7,330.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street      Estate Property   Phyllis Harte                                                         $36,069.53     Investor‐Lender            $9,270.00
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street      Estate Property   Phyllis Harte                                                         $36,069.53     Investor‐Lender           $20,000.00
   81            4317 S Michigan Avenue                                      Estate Property   PINELLAS FLORIDA FREEDOM REALTY, LLC (GARRETT MILLER)                 $10,000.00     Investor‐Lender           $10,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Ping Liu                                                              $58,505.33     Investor‐Lender           $50,000.00
    1             1700 Juneway Terrace                                       Estate Property   Pioneer Valley Properties LLC                                         $50,000.00     Investor‐Lender           $50,000.00
    5             7749 S Yates Boulevard                                     Estate Property   PNW Investments, LLC                                                 $350,000.00     Investor‐Lender           $12,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   PNW Investments, LLC                                                 $350,000.00     Investor‐Lender           $10,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   PNW Investments, LLC                                                 $350,000.00     Investor‐Lender           $20,000.00
   50              7760 S Coles Avenue                                       Estate Property   PNW Investments, LLC                                                 $350,000.00     Investor‐Lender           $25,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address           Type                                     Claimant Name                    Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                     (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                          Amount in Claim             Form              Property
                                                                                                                                                             Category as
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   62             7834‐44 S Ellis Avenue                                  Estate Property   PNW Investments, LLC                                                  $350,000.00 Investor‐Lender            $125,000.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   PNW Investments, LLC                                                  $350,000.00 Investor‐Lender             $50,000.00
   71               701 S 5th Avenue                  414 Walnut          Estate Property   PNW Investments, LLC                                                  $350,000.00 Investor‐Lender             $75,000.00
   74             3074 Cheltenham Place            7836 S Shore Drive     Estate Property   PNW Investments, LLC                                                  $350,000.00 Investor‐Lender             $10,000.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   PNW Investments, LLC                                                  $350,000.00 Investor‐Lender             $50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   PNW Investments, LLC                                                  $350,000.00 Investor‐Lender             $18,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property   PNW Investments, LLC                                                  $350,000.00 Investor‐Lender             $25,000.00
10 to 12                   CCF1                                           Fund              PNW Investments, LLC                                                  $350,000.00 Investor‐Lender             $10,000.00
13 to 15                   CCF2                                           Fund              Prakash, Sukumar Samson                                               $215,875.00
   67              1131‐41 E 79th Place                                   Estate Property   Priscilla Wallace                                                      $25,000.00    Equity Investor          $25,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   Private Finance Solutions, LLC                                        $128,406.34 Investor‐Lender             $23,328.00
  115             109 N Laramie Avenue                                    Former Property   Private Finance Solutions, LLC                                        $128,406.34 Investor‐Lender             $88,970.00
  117             3915 N Kimball Avenue                                   Former Property   Private Finance Solutions, LLC                                        $128,406.34 Investor‐Lender             $30,311.00
  142            5209 W Warwick Avenue                                    Former Property   Private Finance Solutions, LLC                                        $128,406.34 Investor‐Lender             $88,970.00
  109             4750 S Indiana Avenue                                   Estate Property   Professional Real Estate Solutions, LLC / Edward J. Netzel             $13,204.91    Equity Investor          $50,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   PROFESSIONAL RENTAL LP, GEORGE SAMUEL                                  $58,000.04 Investor‐Lender             $50,000.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   Property Solutions LLC, Kevin Bybee (managing member)                  $60,000.00 Investor‐Lender             $60,000.00
  907                     SSDF7                                           Fund              Property Solutions LLC, Kevin Bybee (managing member)                 $144,161.89    Equity Investor         $144,161.89
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Provident Trust Group F.B.O Charles Smith SoloK                        $50,000.00 Investor‐Lender             $50,000.00
    2          4533‐37 S Calumet Avenue                                   Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                        $71,815.00 Investor‐Lender
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                        $71,815.00 Investor‐Lender             $71,815.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                        $71,815.00 Investor‐Lender             $35,345.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                        $71,815.00 Investor‐Lender             $36,470.00
  906                     SSDF6                                           Fund              Provident Trust Group, LLC FBO Stephan Tang IRA                        $71,815.00    Equity Investor          $71,815.00
10 to 12                   CCF1                                           Fund              PSB Investment Trust ‐ Stephen Boynton                                 $46,398.10    Equity Investor          $50,000.00
   76          7635‐43 S East End Avenue                                  Estate Property   QCH Investment Trust                                                   $50,000.00 Investor‐Lender             $50,000.00
    5             7749 S Yates Boulevard                                  Estate Property   Quantum Growth Holdings LLC                                            $15,321.00 Investor‐Lender              $5,500.00
   40           7953 S Woodlawn Avenue                                    Estate Property   Quantum Growth Holdings LLC                                                         Investor‐Lender            $8,053.89
   62             7834‐44 S Ellis Avenue                                  Estate Property   Quantum Growth Holdings LLC                                                         Investor‐Lender            $6,056.44
  123           7107‐29 S Bennett Avenue                                  Former Property   Quantum Growth Holdings LLC                                            $15,321.00    Equity Investor           $1,971.00
  131           4108 N Monticello Avenue                                  Former Property   Quantum Growth Holdings LLC                                                         Investor‐Lender            $8,434.38
  904                     SSDF4                                           Fund              Quantum Growth Holdings LLC                                            $15,321.00    Equity Investor          $15,321.00
 13‐15              2909 E 78th Street                                    Fund              Quest IRA Inc FBO Larry J Eggenberger IRA                              $50,000.00 Investor‐Lender             $50,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue



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                                                                                                Exhibit 6
                                                                                      Master Claims Spreadsheet
                                                                          SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address           Alternative Address          Type                                     Claimant Name                        Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                 (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                      Amount in Claim            Form               Property
                                                                                                                                                         Category as
                                                                                                                                                     Identified on Claim
                                                                                                                                                            Form)
   5          7749 S Yates Boulevard                              Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and              $89,482.53 Investor‐Lender             $12,100.00
                                                                                    Acct# 25282‐21
  74          3074 Cheltenham Place        7836 S Shore Drive     Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and            $89,482.53     Investor‐Lender           $56,000.00
                                                                                    Acct# 25282‐21
  88          7546 S Saginaw Avenue                               Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and            $89,482.53     Investor‐Lender            $5,000.00
                                                                                    Acct# 25282‐21
  92          7748‐50 S Essex Avenue      2450‐52 E 78th Street   Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and            $89,482.53     Investor‐Lender           $10,000.00
                                                                                    Acct# 25282‐21
   1          1700 Juneway Terrace                                Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐          $184,785.31     Investor‐Lender           $10,500.00
                                                                                    11 and #15528‐21
  64        4611‐15 S Drexel Boulevard                            Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐          $184,785.31     Investor‐Lender           $50,000.00
                                                                                    11 and #15528‐21
  68       6217‐27 S Dorchester Avenue                            Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐          $184,785.31     Investor‐Lender           $19,500.00
                                                                                    11 and #15528‐21
  82         6355‐59 S Talman Avenue      2616‐22 W 64th Street   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐          $184,785.31     Investor‐Lender           $45,000.00
                                                                                    11 and #15528‐21
  88          7546 S Saginaw Avenue                               Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐          $184,785.31     Investor‐Lender            $9,000.00
                                                                                    11 and #15528‐21
  89          7600 S Kingston Avenue      2527‐29 E 76th Street   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐          $184,785.31     Investor‐Lender           $39,953.00
                                                                                    11 and #15528‐21
  135        4930 W Cornelia Avenue                               Former Property   QUEST IRA INC. FBO REBECA E. SAVORY‐ROMERO IRA ACCOUNT                  $184,785.31     Investor‐Lender           $35,256.92
                                                                                    #15528‐11 AND #15528‐21
   91           7701 S Essex Avenue                               Estate Property   Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                  $55,500.00     Investor‐Lender           $50,000.00
   92         7748‐50 S Essex Avenue      2450‐52 E 78th Street   Estate Property   Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                  $55,500.00     Investor‐Lender            $5,500.00
   61          7237 S Bennett Avenue                              Estate Property   QuestIRAFBOFrancisDWebb1437711                                          $185,819.00     Investor‐Lender           $12,064.00
   74         3074 Cheltenham Place        7836 S Shore Drive     Estate Property   QuestIRAFBOFrancisDWebb1437711                                          $185,819.00     Investor‐Lender           $22,035.00
   77       7750‐58 S Muskegon Avenue     2818‐36 E 78th Street   Estate Property   QuestIRAFBOFrancisDWebb1437711                                          $185,819.00     Investor‐Lender           $50,000.00
  126      5201‐5207 W Washington Blvd                            Former Property   QuestIRAFBOFrancisDWebb1437711                                          $185,819.00     Investor‐Lender           $50,000.00
10 to 12                CCF1                                      Fund              QuestIRAFBOFrancisDWebb1437711                                          $185,819.00     Investor‐Lender           $36,222.00
    1          1700 Juneway Terrace                               Estate Property   R D Meredith General Contractors LLC                                    $100,000.00     Investor‐Lender          $100,000.00
    1          1700 Juneway Terrace                               Estate Property   R.D.Meredith General Contractors LLC 401K                               $373,617.16     Investor‐Lender           $40,000.00
   55            8107 S Ellis Avenue                              Estate Property   R.D.Meredith General Contractors LLC 401K                               $373,617.16     Investor‐Lender           $91,672.00
   68       6217‐27 S Dorchester Avenue                           Estate Property   R.D.Meredith General Contractors LLC 401K                               $373,617.16     Investor‐Lender          $150,750.00
  118          400 S Kilbourn Avenue                              Former Property   R.D.Meredith General Contractors LLC 401K                               $373,617.16     Investor‐Lender            $5,875.00
  123        7107‐29 S Bennett Avenue                             Former Property   R.D.Meredith General Contractors LLC 401K                               $373,617.16     Investor‐Lender          $103,000.00
    4        5450‐52 S Indiana Avenue      118‐132 E Garfield     Estate Property   R2V2 Investments LLC                                                     $88,590.47     Investor‐Lender           $20,000.00


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                                                                                                     Exhibit 6
                                                                                           Master Claims Spreadsheet
                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property           Property Address            Alternative Address           Type                                     Claimant Name                         Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
   68         6217‐27 S Dorchester Avenue                              Estate Property   R2V2 Investments LLC                                                        $88,590.47 Investor‐Lender             $30,188.00
  123          7107‐29 S Bennett Avenue                                Former Property   R2V2 Investments LLC                                                        $88,590.47 Investor‐Lender             $47,004.00
  904                     SSDF4                                        Fund              Race Mouty                                                                  $20,000.00   Equity Investor           $20,000.00
    3            5001 S Drexel Boulevard         909 E 50th Street     Estate Property   Rachael B Curcio                                                           $121,092.00 Investor‐Lender             $50,000.00
   67              1131‐41 E 79th Place                                Estate Property   Rachael B Curcio                                                           $121,092.00 Investor‐Lender             $71,092.00
   85         7201‐07 S Dorchester Avenue       1401 E 72nd Street     Estate Property   Rachel Beck                                                                 $64,480.66 Investor‐Lender             $50,000.00
  157             1655 N Humboldt Blvd                                 Former Property   Raghu Pulluru, FBO 1634276 Midland IRA                                     $246,000.00 Investor‐Lender            $153,000.00
  100        11117‐11119 S Longwood Drive                              Estate Property   Rajesh Gupta Roth IRA                                                      $318,674.45 Investor‐Lender            $265,562.00
13 to 15                   CCF2                                        Fund              Rajesh Gupta Roth IRA                                                       $35,984.11 Investor‐Lender             $29,000.00
    2          4533‐37 S Calumet Avenue                                Estate Property   Rajitha Dundigalla                                                          $50,000.00 Investor‐Lender             $50,000.00
   13                      CCF2                                        Estate Property   Rajitha Dundigalla                                                          $50,000.00   Equity Investor           $50,000.00
  100        11117‐11119 S Longwood Drive                              Estate Property   Rajitha Dundigalla                                                          $50,000.00 Investor‐Lender             $50,000.00
10 to 12                   CCF1                                        Fund              Rajitha Dundigalla                                                          $50,000.00   Equity Investor           $50,000.00
  116      1102 Bingham St, Houston TX 77007                           Estate Property   RAMANAN RAMADOSS                                                               $204.96   Equity Investor           $15,000.00
    6           6437 S Kenwood Avenue                                  Estate Property   Ramsey Stephan                                                              $50,000.00 Investor‐Lender              $9,481.00
   71                701 S 5th Avenue              414 Walnut          Estate Property   Ramsey Stephan                                                              $50,000.00 Investor‐Lender             $20,519.00
   81           4317 S Michigan Avenue                                 Estate Property   Ramsey Stephan                                                              $50,000.00 Investor‐Lender             $20,000.00
  912                 SSPH Portfolio 1                                 Fund              Ran Barth                                                                  $326,358.35   Equity Investor          $331,000.00
    2          4533‐37 S Calumet Avenue                                Estate Property   Randall Sotka                                                              $255,000.00 Investor‐Lender            $100,000.00
   60           7026‐42 S Cornell Avenue                               Estate Property   Randall Sotka                                                              $255,000.00 Investor‐Lender              $4,225.00
   70              638 N Avers Avenue                                  Estate Property   Randall Sotka                                                              $255,000.00 Investor‐Lender             $11,949.00
   72           7024‐32 S Paxton Avenue                                Estate Property   Randall Sotka                                                              $255,000.00 Investor‐Lender             $55,000.00
   75          7625‐33 S East End Avenue                               Estate Property   Randall Sotka                                                              $255,000.00 Investor‐Lender             $38,826.00
10 to 12                   CCF1                                        Fund              Randall Sotka                                                              $255,000.00 Investor‐Lender            $100,000.00
  904               SSDF4 Legacy Fund                                  Fund              Randeep S Kapoor                                                            $50,000.00   Equity Investor           $50,000.00

  92            7748‐50 S Essex Avenue         2450‐52 E 78th Street   Estate Property   Ranell Durgan                                                             $50,000.00     Investor‐Lender           $50,000.00
  92            7748‐50 S Essex Avenue         2450‐52 E 78th Street   Estate Property   Ranell Durgan                                                             $50,000.00     Investor‐Lender           $50,000.00
102‐106         7927‐49 S Essex Avenue                                 Estate Property   Ranell Durgan                                                            $200,000.00     Investor‐Lender          $200,000.00
102‐106         7927‐49 S Essex Avenue                                 Estate Property   Ranell Durgan (Polycomp Trust Company_CFBO)                              $200,000.00     Investor‐Lender          $200,000.00
  71               701 S 5th Avenue                414 Walnut          Estate Property   Rashmi Juneja Self Directed Roth IRA, Custodian: Kingdom Trust,           $57,800.00      Equity Investor          $50,000.00
                                                                                         account # 907667763
   5            7749 S Yates Boulevard                                 Estate Property   Raymond Thompson Investment Trust LLC                                     $80,000.00     Investor‐Lender           $30,000.00
 96‐99          8326‐58 S Ellis Avenue                                 Estate Property   Raymond Thompson Investment Trust LLC                                     $80,000.00     Investor‐Lender           $50,000.00
  118           400 S Kilbourn Avenue                                  Former Property   RE Solutions MD, LLC Employee Profit Sharing/401K by Mary E.              $50,000.00     Investor‐Lender           $50,000.00
                                                                                         Doerr, an unaccredited investor


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address             Type                                     Claimant Name         Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                              (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                   Amount in Claim            Form               Property
                                                                                                                                                      Category as
                                                                                                                                                  Identified on Claim
                                                                                                                                                         Form)
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Real Envisions LLC                                          $53,000.00 Investor‐Lender             $50,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    REBECCA D BLUST                                             $10,000.00   Equity Investor           $10,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Receivables to Cash, LLC d/b/a Berenger Capital            $150,000.00 Investor‐Lender             $50,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    Receivables to Cash, LLC d/b/a Berenger Capital            $150,000.00 Investor‐Lender             $50,000.00
  124            6801 S East End Avenue                                      Former Property    Receivables to Cash, LLC d/b/a Berenger Capital            $150,000.00 Investor‐Lender             $50,000.00
  108               2800 E 81st Street                                       Estate Property    Rende, Nicolas                                             $830,000.00 Investor‐Lender            $430,000.00
  113              7840 S Yates Avenue                                       Estate Property    Rende, Nicolas                                             $830,000.00 Investor‐Lender            $400,000.00
   54              8000 S Justine Street            1541 E 80th Street       Estate Property    Rene Hribal                                             $1,525,473.04 Investor‐Lender             $729,000.00
   64          4611‐15 S Drexel Boulevard                                    Estate Property    Rene Hribal                                             $1,525,473.04 Investor‐Lender             $300,000.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Rene Hribal                                             $1,525,473.04 Investor‐Lender             $439,517.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    Rene Hribal                                             $1,525,473.04 Investor‐Lender             $100,000.00
   92            7748‐50 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Rene Hribal                                             $1,525,473.04 Investor‐Lender             $180,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    Rene Hribal                                             $1,525,473.04 Investor‐Lender              $95,000.00
  N/A                      N/A                                               Other              Return Path                                                 $22,750.00    Trade Creditor
   68         6217‐27 S Dorchester Avenue                                    Estate Property    Reymone Randall                                             $64,076.00 Investor‐Lender             $50,500.00
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property    Reynald Lalonde & Chantal Lemaire                           $51,000.00 Investor‐Lender             $50,000.00
    1             1700 Juneway Terrace                                       Estate Property    Ricardo Acevedo Lopez                                       $15,000.00 Investor‐Lender             $15,000.00
   94           816‐20 E Marquette Road                                      Estate Property    Ricardo Acevedo Lopez                                       $35,000.00 Investor‐Lender             $35,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Richard L. Braddock                                         $92,375.45 Investor‐Lender             $40,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property    Richard L. Braddock                                          $9,526.99 Investor‐Lender              $9,250.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    Richard L. Braddock                                        $104,161.08 Investor‐Lender             $50,000.00
   70              638 N Avers Avenue                                        Estate Property    Richard L. Braddock                                        $104,161.08 Investor‐Lender             $50,000.00
   92            7748‐50 S Essex Avenue            2450‐52 E 78th Street     Estate Property    Richard L. Braddock                                         $92,375.45 Investor‐Lender             $50,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Rinku Uberoi                                               $250,000.00 Investor‐Lender            $250,000.00
    1             1700 Juneway Terrace                                       Estate Property    Rise Up Real Estate Group, LLC                             $352,258.39 Investor‐Lender            $144,046.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    Rise Up Real Estate Group, LLC                             $352,258.39 Investor‐Lender            $125,000.00
   60             7026 S Cornell Avenue                                      Estate Property    Rita Aken                                                   $75,000.00 Investor‐Lender
   61             7237 S Bennett Avenue                                      Estate Property    Rita Aken                                                   $75,000.00 Investor‐Lender
   89            7600 S Kingston Avenue            2527‐29 E 76th Street     Estate Property    Rita Aken                                                   $75,000.00 Investor‐Lender
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    Rita Deierlein                                              $32,000.00   Equity Investor           $32,000.00
    1             1700 Juneway Terrace                                       Estate Property    RLD Denouement Holding Company, LLC                         $20,000.00 Investor‐Lender             $20,000.00
  904                     SSDF4                                              Fund               RLD Denouement Holding Company, LLC                        $150,000.00   Equity Investor           $50,000.00

10 to 12        7301‐09 S Stewart Avenue                                     Fund               RLD Denouement Holding Company, LLC                      $150,000.00     Equity Investor          $100,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                              Amount in Claim            Form               Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
    6           6437 S Kenwood Avenue                                        Estate Property   Robert A Demick DDS PA 401K                                            $177,678.65 Investor‐Lender             $50,000.00
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property   Robert A Demick DDS PA 401K                                            $177,678.65 Investor‐Lender             $29,000.00
   71                701 S 5th Avenue                  414 Walnut            Estate Property   Robert A Demick DDS PA 401K                                            $177,678.65 Investor‐Lender             $50,000.00
   72           7024‐32 S Paxton Avenue                                      Estate Property   Robert A Demick DDS PA 401K                                            $177,678.65 Investor‐Lender             $50,000.00
  115             109 N Laramie Avenue                                       Former Property   Robert A Demick DDS PA 401K                                            $177,678.65 Investor‐Lender             $30,000.00
  904                     SSDF4                                              Fund              Robert A Demick DDS PA 401K                                             $50,422.00   Equity Investor           $50,422.00
102‐106          7927‐49 S Essex Avenue                                      Estate Property   ROBERT A LAPORTE                                                       $100,000.00 Investor‐Lender             $50,000.00
 13‐15              2909 E 78th Street                                       Fund              ROBERT A LAPORTE                                                       $100,000.00 Investor‐Lender             $50,000.00
                 7549‐59 S Essex Avenue
              8047‐55 S Manistee Avenue
    2          4533‐37 S Calumet Avenue                                      Estate Property   Robert Conley III                                                       $3,187.50    Investor‐Lender           $75,000.00
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Robert Conley III                                                                    Investor‐Lender          $325,000.00
  904                     SSDF4                                              Fund              Robert Conley III                                                      $9,750.00      Equity Investor         $325,000.00
  126        5201‐5207 W Washington Blvd                                     Former Property   Robert Demick                                                         $46,131.88     Investor‐Lender           $49,000.00
10 to 12                   CCF1                                              Fund              Robert E. Jeter                                                      $300,000.00     Investor‐Lender
13 to 15                   CCF2                                              Fund              Robert E. Jeter                                                      $300,000.00     Investor‐Lender
   76          7635‐43 S East End Avenue                                     Estate Property   Robert Guiney                                                        $112,260.00     Investor‐Lender           $18,250.00
   80               2736 W 64th Street                                       Estate Property   Robert Guiney                                                        $112,260.00     Investor‐Lender           $50,000.00
   86          7442‐48 S Calumet Avenue                                      Estate Property   Robert Guiney                                                        $112,260.00     Investor‐Lender           $25,000.00
  111             6558 S Vernon Avenue             416‐24 E 66th Street      Estate Property   Robert Guiney                                                        $112,260.00     Investor‐Lender           $14,058.22
  117            3915 N Kimball Avenue                                       Former Property   Robert Guiney                                                        $112,260.00     Investor‐Lender           $11,097.00
   73           7255‐57 S Euclid Avenue            1940‐44 E 73rd Street     Estate Property   Robert Houston                                                        $51,749.99     Investor‐Lender           $50,000.00
  116      1102 Bingham St, Houston TX 77007                                 Estate Property   Robert Karlsson for MiLLCreek Holdings LLC                           $255,035.70     Investor‐Lender          $200,000.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street      Estate Property   Robert Maione                                                        $110,000.00     Investor‐Lender          $110,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Robert Mennella (Madison Trust Company Custodian FBO Robert           $18,150.00     Investor‐Lender           $18,150.00
                                                                                               Mennella Roth IRA M1604064)
   1              1700 Juneway Terrace                                       Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender           $79,274.00
   2           4533‐37 S Calumet Avenue                                      Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender            $6,634.00
   5              7749 S Yates Boulevard                                     Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender           $15,000.00
   6             6437 S Kenwood Avenue                                       Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender           $47,786.00
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender           $11,412.00
  60              7026 S Cornell Avenue                                      Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender           $12,549.00
  75           7625‐33 S East End Avenue                                     Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender             $786.00
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender            $2,796.00
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender           $23,000.00
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Robert Potter                                                        $282,999.00     Investor‐Lender            $4,858.00


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                                                                                                      Exhibit 6
                                                                                            Master Claims Spreadsheet
                                                                                SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property           Property Address            Alternative Address            Type                                     Claimant Name                        Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
   85         7201‐07 S Dorchester Avenue       1401 E 72nd Street     Estate Property    Robert Potter                                                             $282,999.00 Investor‐Lender             $11,868.00
   88           7546 S Saginaw Avenue                                  Estate Property    Robert Potter                                                             $282,999.00 Investor‐Lender             $15,500.00
   93          7953‐59 S Marquette Road        2708‐10 E 80th Street   Estate Property    Robert Potter                                                             $282,999.00 Investor‐Lender             $34,716.00
  124           6801 S East End Avenue                                 Former Property    Robert Potter                                                             $282,999.00 Investor‐Lender             $13,454.00
  904             SSDF4 Legacy Fund                                    Fund               Robert Potter                                                              $15,000.00   Equity Investor           $15,000.00

   73           7255‐57 S Euclid Avenue        1940‐44 E 73rd Street   Estate Property    Robert R. Cook     Principle Assets LLC                                   $9,000.00     Investor‐Lender            $9,000.00
   87             7508 S Essex Avenue          2453‐59 E 75th Street   Estate Property    Robert R. Cook     Principle Assets LLC                                   $9,000.00     Investor‐Lender
  125           6548 N Campbell Avenue                                 Former Property    Robert Thaete                                                            $75,358.42     Investor‐Lender           $74,067.00
  155           Campo‐Mar, Puerto Rico                                 Former Property    Robert Thaete                                                            $75,358.42     Investor‐Lender           $26,000.00
    4          5450‐52 S Indiana Avenue         118‐132 E Garfield     Estate Property    Robert W. Jennings                                                      $308,632.47     Investor‐Lender          $150,000.00
  100        11117‐11119 S Longwood Drive                              Estate Property    Robert W. Jennings                                                      $308,632.47     Investor‐Lender          $150,000.00
  119            4019 S Indiana Avenue                                 Former Property    Robert Weech                                                                $503.31     Investor‐Lender            $6,912.56
13 to 15                  CCF2                                         Fund               Roberta Doucet, Cumen LLC                                                $25,000.00      Equity Investor          $25,000.00
   83           6356 S California Avenue        2804 W 64th Street     Estate Property    Rochelle Minchow                                                        $190,000.00     Investor‐Lender          $110,000.00
   87             7508 S Essex Avenue          2453‐59 E 75th Street   Estate Property    Rochelle Minchow                                                        $190,000.00     Investor‐Lender           $50,000.00
   81           4317 S Michigan Avenue                                 Estate Property    Ronald Mark Beal                                                         $90,000.00     Investor‐Lender           $90,000.00
  123          7107‐29 S Bennett Avenue                                Former Property    Ronald Tucker                                                            $51,583.00     Investor‐Lender           $51,583.00
10 to 12                  CCF1                                         Fund               Ronald Tucker and Paula Tucker                                           $51,583.00     Investor‐Lender           $51,583.00
  100        11117‐11119 S Longwood Drive                              Estate Property    Roswitha M. and John S. Ennema                                           $58,179.21     Investor‐Lender            $5,000.00
102‐106         7927‐49 S Essex Avenue                                 Estate Property    Roswitha M. and John S. Ennema                                           $58,179.21     Investor‐Lender           $45,000.00
13 to 15                  CCF2                                         Fund               Roswitha M. and John S. Ennema                                           $59,208.29      Equity Investor          $50,000.00
    6           6437 S Kenwood Avenue                                  Estate Property    RSS TRIAD INVESTMENTS, LLC                                               $31,400.00     Investor‐Lender           $30,000.00
    2          4533‐37 S Calumet Avenue                                Estate Property    Russ Moreland                                                             $3,000.00     Investor‐Lender           $50,000.00
   87             7508 S Essex Avenue          2453‐59 E 75th Street   Estate Property    Russ Moreland                                                             $3,000.00     Investor‐Lender           $50,000.00
  115            109 N Laramie Avenue                                  Former Property    Russell Shurtz (Horizon Trust Company, Custodian FBO Russell                  $0.00     Investor‐Lender           $25,000.00
                                                                                          Shurtz IRA Account 599991402)
  904                   SSDF4                                          Fund               Russell Shurtz (Horizon Trust Company, Custodian FBO Russell             $25,000.00     Equity Investor           $25,000.00
                                                                                          Shurtz IRA Account 599991402)
   68         6217‐27 S Dorchester Avenue                              Estate Property    Russell Waite                                                           $155,176.75     Investor‐Lender           $85,425.00
  111            6558 S Vernon Avenue          416‐24 E 66th Street    Estate Property    Russell Waite                                                           $155,176.75     Investor‐Lender          $220,119.00
  116      1102 Bingham St, Houston TX 77007                           Estate Property    Russell Waite                                                           $155,176.75     Investor‐Lender           $50,000.00
  143              5434 S Wood Street                                  Former Property    Ryan Lam                                                                $150,000.00     Investor‐Lender           $67,325.82
  144             6525 S Evans Avenue                                  Former Property    Ryan Lam                                                                $150,000.00     Investor‐Lender          $106,000.00
  67              1131‐41 E 79th Place                                 Estate Property    S and P Investment Properties EPSP401k, Pat Thomasson, Trustee           $22,705.83      Equity Investor          $22,000.00
   67             1131‐41 E 79th Place                                 Estate Property    S and P Investment Properties EPSP401k, Pat Thomasson, Trustee           $22,705.83     Investor‐Lender           $22,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                           Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                               (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                    Amount in Claim            Form               Property
                                                                                                                                                                       Category as
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
    5            7749 S Yates Boulevard                                      Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                             $139,985.85 Investor‐Lender             $12,000.00
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                             $139,985.85 Investor‐Lender             $42,000.00
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                             $139,985.85 Investor‐Lender             $80,000.00
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Sam Harrison                                                                  $50,000.00 Investor‐Lender             $25,000.00
  908                    SSDF 8                                              Fund              Sam Harrison                                                                  $50,000.00 Investor‐Lender             $25,000.00
   88            7546 S Saginaw Avenue                                       Estate Property   Samir S. Totah and Norma S. Totah, Trustees of the Samir S. Totah             $24,500.00 Investor‐Lender             $50,000.00
                                                                                               and Norma S. Totah Declaration Trust 03/08/200
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Samir Totah                                                                $178,437.50     Investor‐Lender          $150,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                  $235,519.28     Investor‐Lender           $50,000.00
   71               701 S 5th Avenue                   414 Walnut            Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                  $235,519.28     Investor‐Lender          $107,869.00
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                  $235,519.28     Investor‐Lender           $41,131.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Sandeep Kattar                                                              $50,000.00     Investor‐Lender           $50,000.00
10 to 12                   CCF1                                              Fund              Sandy Kikerpill, Fresh Advantage                                           $233,000.00     Investor‐Lender          $100,000.00
13 to 15                   CCF2                                              Fund              Sandy Kikerpill, Fresh Advantage                                           $233,000.00     Investor‐Lender          $100,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Sarah Geldart                                                               $57,200.00     Investor‐Lender           $37,500.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Sarah Geldart                                                               $57,200.00     Investor‐Lender           $20,000.00
  109             4750 S Indiana Avenue                                      Estate Property   Sarah Qiuhong Yang                                                         $100,000.00      Equity Investor         $100,000.00
  119             4019 S Indiana Avenue                                      Former Property   Sarah Qiuhong Yang                                                          $60,543.00     Investor‐Lender           $53,420.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Schankman, Michael                                                          $57,402.06     Investor‐Lender           $50,000.00
  119             4019 S Indiana Avenue                                      Former Property   Schankman, Michael                                                          $57,402.06     Investor‐Lender           $26,000.00
10 to 12                   CCF1                                              Fund              Schankman, Michael                                                         $112,557.00      Equity Investor          $50,000.00
   50              7760 S Coles Avenue                                       Estate Property   Scott E Pammer                                                             $243,954.00     Investor‐Lender           $12,070.00
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property   Scott E Pammer                                                             $243,954.00     Investor‐Lender           $70,000.00
   77          7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property   Scott E Pammer                                                             $243,954.00     Investor‐Lender           $70,000.00
   83            6356 S California Avenue           2804 W 64th Street       Estate Property   Scott E Pammer                                                             $243,954.00     Investor‐Lender           $50,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   Scott E Pammer                                                             $243,954.00     Investor‐Lender           $50,000.00
    1             1700 Juneway Terrace                                       Estate Property   Scott Eaton                                                                $549,101.33     Investor‐Lender           $25,000.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Scott Eaton                                                                $549,101.33     Investor‐Lender          $100,000.00
   61             7237 S Bennett Avenue                                      Estate Property   Scott Eaton                                                                $549,101.33     Investor‐Lender           $50,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Scott Eaton                                                                $549,101.33     Investor‐Lender           $25,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Scott Eaton                                                                $549,101.33     Investor‐Lender           $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Scott Eaton                                                                $549,101.33     Investor‐Lender           $60,000.00
  904                     SSDF4                                              Fund              Scott Eaton                                                                 $49,200.00      Equity Investor          $50,000.00
13 to 15                   CCF2                                              Fund              Scott Eaton                                                                 $49,200.00      Equity Investor          $20,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property   Scott Naftulin dba N North End, LLC                                         $71,946.23     Investor‐Lender           $50,000.00
  122          7616‐7624 S Phillips Avenue                                   Former Property   Scott Naftulin dba N North End, LLC                                         $71,946.23     Investor‐Lender           $50,000.00


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                                                                                                   Exhibit 6
                                                                                         Master Claims Spreadsheet
                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address           Alternative Address            Type                                     Claimant Name                              Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                          (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                               Amount in Claim            Form               Property
                                                                                                                                                                  Category as
                                                                                                                                                              Identified on Claim
                                                                                                                                                                     Form)
  123        7107‐29 S Bennett Avenue                                Former Property   Scott Naftulin dba N North End, LLC                                              $71,946.23 Investor‐Lender             $25,000.00
  125         6548 N Campbell Avenue                                 Former Property   Scott Naftulin dba N North End, LLC                                              $71,946.23 Investor‐Lender             $25,000.00
  125         6548 N Campbell Avenue                                 Former Property   Scott Naftulin dba N North End, LLC                                              $71,946.23 Investor‐Lender             $25,000.00
  61           7237 S Bennett Avenue                                 Estate Property   Scott Tyler Williams as Custodian of New Idea Properties, Inc Profit             $20,000.00 Investor‐Lender             $20,000.00
                                                                                       Sharing Plan
   4         5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property   SeaDog Properties LLC / Darrell Odum                                          $134,000.00 Investor‐Lender               $24,000.00
  67            1131‐41 E 79th Place                                 Estate Property   SeaDog Properties LLC / Darrell Odum                                          $134,000.00 Investor‐Lender               $50,000.00
  95          8201 S Kingston Avenue                                 Estate Property   SeaDog Properties LLC / Darrell Odum                                          $134,000.00 Investor‐Lender               $60,000.00
  77        7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property   Self Directed IRA Services, Inc., Custodian FBO Ping Liu IRA                   $57,290.32 Investor‐Lender               $50,000.00
   1           1700 Juneway Terrace                                  Estate Property   Serva Fidem, LLC                                                               $78,510.69 Investor‐Lender               $34,930.00
  100      11117‐11119 S Longwood Drive                              Estate Property   Serva Fidem, LLC                                                               $78,510.69 Investor‐Lender               $25,000.00
  91            7701 S Essex Avenue                                  Estate Property   Shane E Veltri                                                               $465,000.00     Equity Investor           $465,000.00
   7         7109‐19 S Calumet Avenue                                Estate Property   SHANKAR THIRUPPATHI                                                          $100,000.00 Investor‐Lender               $100,000.00
  68        6217‐27 S Dorchester Avenue                              Estate Property   SHANKAR THIRUPPATHI                                                          $100,000.00 Investor‐Lender                $84,190.00
  69           6250 S Mozart Avenue       2832‐36 W 63rd Street      Estate Property   SHANKAR THIRUPPATHI                                                          $100,000.00 Investor‐Lender                $16,310.00
   4         5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property   Shatar Capital Inc et al                                                    $2,341,486.08 Institutional Lender
                                                                                                                                                                                   Investor‐Lender
   5          7749 S Yates Boulevard                                 Estate Property   Shatar Capital Inc et al                                                    $2,341,486.08 Institutional Lender
                                                                                                                                                                                   Investor‐Lender
  95          8201 S Kingston Avenue                                 Estate Property   Shelton Gandy                                                                  $82,360.00    Equity Investor            $50,000.00
   2        4533‐37 S Calumet Avenue                                 Estate Property   Shengjie Li and Yuye Xu                                                      $165,441.12 Investor‐Lender                $50,000.00
   9            8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property   Shengjie Li and Yuye Xu                                                      $165,441.12 Investor‐Lender               $100,000.00
  68       6217‐27 S Dorchester Avenue                               Estate Property   Shengjie Li and Yuye Xu                                                      $165,441.12 Investor‐Lender                $35,000.00
  94         816‐20 E Marquette Road                                 Estate Property   Shengjie Li and Yuye Xu                                                      $165,441.12 Investor‐Lender                $25,000.00
  60           7026 S Cornell Avenue                                 Estate Property   Sherri Agnifili                                                                $30,962.50 Investor‐Lender               $30,000.00
  69           6250 S Mozart Avenue       2832‐36 W 63rd Street      Estate Property   Sheryl F. Mennella (Madison Trust Company Custodian FBO Sheryl                 $18,150.00 Investor‐Lender               $18,150.00
                                                                                       F. Mennella Roth IRA M1604088)
   5           7749 S Yates Boulevard                                Estate Property   Shlomo Zussman                                                                 $25,000.00     Investor‐Lender           $25,000.00
 13‐15           2909 E 78th Street                                  Fund              Shreeja LLC                                                                    $55,814.04     Investor‐Lender           $50,000.00
              7549‐59 S Essex Avenue
            8047‐55 S Manistee Avenue
  82         6355‐59 S Talman Avenue      2616‐22 W 64th Street      Estate Property   Sidney Cohn                                                                    $87,049.30     Investor‐Lender           $60,000.00
  73          7255‐57 S Euclid Avenue     1940‐44 E 73rd Street      Estate Property   Sidney Glenn Willeford II                                                      $75,000.00     Investor‐Lender           $75,000.00
  74          3074 Cheltenham Place         7836 S Shore Drive       Estate Property   Sidney Haggins                                                                 $85,000.00     Investor‐Lender           $30,000.00
  78         7201 S Constance Avenue      1825‐31 E 72nd Street      Estate Property   Sidney Haggins                                                                 $70,000.00     Investor‐Lender           $50,000.00
  88          7546 S Saginaw Avenue                                  Estate Property   Sidney Haggins                                                                 $70,000.00     Investor‐Lender           $20,000.00


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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property           Property Address              Alternative Address            Type                                     Claimant Name                         Claimed Amount        Claim Category as Amount Claimed
Number                                                                                                                                                          (Total Claimed      Identified on Claim to be Invested in
                                                                                                                                                               Amount in Claim              Form            Property
                                                                                                                                                                  Category as
                                                                                                                                                              Identified on Claim
                                                                                                                                                                     Form)
102‐106         7927‐49 S Essex Avenue                                    Estate Property   Sidney Haggins                                                              $85,000.00 Investor‐Lender             $35,000.00
 96‐99           8326‐58 S Ellis Avenue                                   Estate Property   Sidney Haggins                                                              $85,000.00 Investor‐Lender             $20,000.00
    1            1700 Juneway Terrace                                     Estate Property   Simon Usuga                                                                 $95,000.00 Investor‐Lender             $45,000.00
 96‐99           8326‐58 S Ellis Avenue                                   Estate Property   Simon Usuga                                                                 $95,000.00 Investor‐Lender             $50,000.00
   55              8107 S Ellis Avenue                                    Estate Property   SLB Ventures, LLC                                                          $215,215.48 Investor‐Lender             $95,000.00
   56              8209 S Ellis Avenue                                    Estate Property   SLB Ventures, LLC                                                          $215,215.48 Investor‐Lender             $24,960.00
  109            4750 S Indiana Avenue                                    Estate Property   SLB Ventures, LLC                                                          $215,215.48 Investor‐Lender             $80,040.00
    5            7749 S Yates Boulevard                                   Estate Property   Smart Technologies PSP, Nizarali Jetha ‐ Manager                           $106,458.35 Investor‐Lender           $100,000.00
   81           4317 S Michigan Avenue                                    Estate Property   Sohm Strategic Investments, LLC                                             $77,250.00 Investor‐Lender             $25,000.00
   88           7546 S Saginaw Avenue                                     Estate Property   Sohm Strategic Investments, LLC                                             $77,250.00 Investor‐Lender             $50,000.00
  904                    SSDF4                                            Fund              Sohm Strategic Investments, LLC                                             $77,250.00 Investor‐Lender and         $75,000.00
                                                                                                                                                                                       Equity Investor
13 to 15                  CCF2                                            Fund              Sonoca Corporation                                                          $47,630.56     Equity Investor         $50,000.00
  126        5201‐5207 W Washington Blvd                                  Former Property   Soujanya Simhadri                                                           $25,000.00 Investor‐Lender             $25,000.00
    9             8100 S Essex Avenue          2449‐57 East 81st Street   Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)            $148,278.93 Investor‐Lender             $50,000.00
   61            7237 S Bennett Avenue                                    Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)            $148,278.93 Investor‐Lender             $35,000.00
   73           7255‐57 S Euclid Avenue         1940‐44 E 73rd Street     Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)            $148,278.93 Investor‐Lender             $60,000.00
    1            1700 Juneway Terrace                                     Estate Property   Source One Funding, LLC                                                     $51,534.99 Investor‐Lender             $50,000.00
    1            1700 Juneway Terrace                                     Estate Property   Spectra Investments LLC/ Deborah L. Mullica                                $579,288.00 Investor‐Lender           $110,000.00
   77         7750‐58 S Muskegon Avenue         2818‐36 E 78th Street     Estate Property   Spectra Investments LLC/ Deborah L. Mullica                                $579,288.00 Investor‐Lender             $82,255.00
   89           7600 S Kingston Avenue          2527‐29 E 76th Street     Estate Property   Spectra Investments LLC/ Deborah L. Mullica                                $579,288.00 Investor‐Lender           $126,126.00
                                                                                                                                                                                       Equity Investor
  116      1102 Bingham St, Houston TX 77007                              Estate Property   Spectra Investments LLC/ Deborah L. Mullica                                $579,288.00 Investor‐Lender           $139,971.00
  115            109 N Laramie Avenue                                     Former Property   Spectra Investments LLC/ Deborah L. Mullica                                $579,288.00 Investor‐Lender           $105,772.00
  904                    SSDF4                                            Fund              Spectra Investments LLC/ Deborah L. Mullica                                $579,288.00     Equity Investor       $260,907.00
  912        South Shore Property Holdings                                Fund              Spectra Investments LLC/ Deborah L. Mullica                                $579,288.00     Equity Investor       $110,000.00
   67             1131‐41 E 79th Place                                    Estate Property   Sri Navalpakkam (AniPri Enterprises LLC)                                   $259,775.00     Equity Investor       $159,775.00
   67             1131‐41 E 79th Place                                    Estate Property   Sri Navalpakkam (AniPri Enterprises LLC)                                   $259,775.00 Investor‐Lender           $159,775.00
13 to 15                  CCF2                                            Fund              Sri Navalpakkam (AniPri Enterprises LLC)                                   $259,775.00     Equity Investor       $100,000.00
13 to 15                  CCF2                                            Fund              Sri Navalpakkam (AniPri Enterprises LLC)                                   $259,775.00 Investor‐Lender           $100,000.00
  904                    SSDF4                                            Fund              Stanley J Kessock                                                           $82,400.00     Equity Investor         $50,000.00
  904                    SSDF4                                            Fund              Stanley J Kessock                                                                         Investor‐Lender
13 to 15                  CCF2                                            Fund              STANLEY SCOTT                                                               $56,845.00 Investor‐Lender             $60,000.00
   75          7625‐33 S East End Avenue                                  Estate Property   Stephan Tang                                                               $123,256.97 Investor‐Lender             $25,185.00
   88            7546 S Saginaw Avenue                                    Estate Property   Stephan Tang                                                                $50,000.00     Equity Investor         $50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Stephan Tang                                                                $50,000.00     Equity Investor         $50,000.00


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                                                                                                    Exhibit 6
                                                                                          Master Claims Spreadsheet
                                                                              SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address            Alternative Address            Type                                     Claimant Name                         Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                      (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                           Amount in Claim            Form               Property
                                                                                                                                                              Category as
                                                                                                                                                          Identified on Claim
                                                                                                                                                                 Form)
  115          109 N Laramie Avenue                                  Former Property    Stephan Tang                                                               $123,256.97 Investor‐Lender             $50,000.00
   2         4533‐37 S Calumet Avenue                                Estate Property    Stephen V Mancuso, Laura L Mancuso, SLM Property Investments,               $50,000.00 Investor‐Lender             $50,000.00
                                                                                        IRA Trust Services Co. FBO SLM Property INvestments IRA Account
                                                                                        #5877315203
    5          7749 S Yates Boulevard                                Estate Property    Steve Weera Tonasut and Esther Kon Tonasut                                $50,000.00      Equity Investor          $50,000.00
   84          7051 S Bennett Avenue                                 Estate Property    Steve Weera Tonasut and Esther Kon Tonasut                                $50,000.00     Investor‐Lender           $50,000.00
  908                   SSDF8                                        Fund               Steve Weera Tonasut and Esther Kon Tonasut                                $16,033.00      Equity Investor          $16,033.00
  937              Mezzanine Fund                                    Fund               Steve Weera Tonasut and Esther Kon Tonasut                                $33,967.00      Equity Investor          $33,967.00
10 to 12                 CCF1                                        Fund               Steve Weera Tonasut and Esther Kon Tonasut                               $100,000.00      Equity Investor         $100,000.00
 13‐15            2909 E 78th Street                                 Fund               Steve Weera Tonasut and Esther Kon Tonasut                               $150,000.00      Equity Investor         $150,000.00
               7549‐59 S Essex Avenue
             8047‐55 S Manistee Avenue
   55            8107 S Ellis Avenue                                 Estate Property    Steven and Linda Lipschultz                                              $350,360.00     Investor‐Lender           $73,360.00
   77       7750‐58 S Muskegon Avenue        2818‐36 E 78th Street   Estate Property    Steven and Linda Lipschultz                                              $350,360.00     Investor‐Lender          $100,000.00
   93        7953‐59 S Marquette Road        2708‐10 E 80th Street   Estate Property    Steven and Linda Lipschultz                                              $350,360.00     Investor‐Lender          $177,000.00
   2         4533‐37 S Calumet Avenue                                Estate Property    Steven C Noss                                                             $69,388.00     Investor‐Lender           $50,000.00
   6          6437 S Kenwood Avenue                                  Estate Property    Steven C Noss                                                             $69,388.00     Investor‐Lender           $25,000.00
  124          6801 S East End Avenue                                Former Property    Steven C Noss                                                             $69,388.00     Investor‐Lender           $17,560.00
    4         5450‐52 S Indiana Avenue        118‐132 E Garfield     Estate Property    Steven G. Mouty                                                           $50,000.00     Investor‐Lender           $50,000.00
    5          7749 S Yates Boulevard                                Estate Property    Steven G. Mouty                                                           $50,000.00     Investor‐Lender           $50,000.00
  100      11117‐11119 S Longwood Drive                              Estate Property    Steven G. Mouty                                                          $465,000.00      Equity Investor         $150,000.00
102‐106        7927‐49 S Essex Avenue                                Estate Property    Steven G. Mouty                                                          $465,000.00      Equity Investor         $100,000.00
  904                   SSDF4                                        Fund               Steven G. Mouty                                                          $465,000.00      Equity Investor         $100,000.00
            (EB South Chicago 1, 2, 3, &4)
 13‐15            2909 E 78th Street                                 Fund               Steven G. Mouty                                                          $465,000.00     Equity Investor          $115,000.00
               7549‐59 S Essex Avenue
             8047‐55 S Manistee Avenue
   78         7201 S Constance Avenue        1825‐31 E 72nd Street   Estate Property    Steven J. Talyai                                                         $175,000.00     Investor‐Lender
  124          6801 S East End Avenue                                Former Property    Steven J. Talyai                                                         $175,000.00     Investor‐Lender
13 to 15                 CCF2                                        Fund               Steven K Chennappan                                                      $100,000.00     Investor‐Lender
  126      5201‐5207 W Washington Blvd                               Former Property    Steven K. Chennappan IRA # 17293‐31                                      $128,000.00     Investor‐Lender           $50,000.00
   78         7201 S Constance Avenue        1825‐31 E 72nd Street   Estate Property    Steven K. Chennappan IRA # 17293‐31                                      $128,000.00     Investor‐Lender           $10,000.00
   92          7748‐50 S Essex Avenue        2450‐52 E 78th Street   Estate Property    Steven K. Chennappan IRA # 17293‐31                                      $128,000.00     Investor‐Lender           $18,000.00
   93        7953‐59 S Marquette Road        2708‐10 E 80th Street   Estate Property    Steven K. Chennappan IRA # 17293‐31                                      $128,000.00     Investor‐Lender           $50,000.00
  904                   SSDF4                                        Fund               Steven K. Chennappan IRA # 17293‐31                                      $100,000.00      Equity Investor         $100,000.00
   60           7026 S Cornell Avenue                                Estate Property    Steven Lipschultz                                                         $71,126.00      Equity Investor          $31,635.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
   68          6217‐27 S Dorchester Avenue                                   Estate Property   Steven Lipschultz                                                     $71,126.00   Equity Investor           $22,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Steven Lipschultz                                                     $85,000.00   Equity Investor           $85,000.00
  125            6548 N Campbell Avenue                                      Former Property   Steven Lipschultz                                                     $71,126.00 Investor‐Lender             $38,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property   Steven Lipschultz                                                     $71,126.00   Equity Investor           $50,000.00
  904                      SSDF4                                             Fund              Steven Lipschultz                                                     $71,126.00   Equity Investor           $71,126.00
    1              1700 Juneway Terrace                                      Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender             $60,000.00
   58           5955 S Sacramento Avenue          2948‐56 W 60th Street      Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender             $40,000.00
   61             7237 S Bennett Avenue                                      Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender             $60,000.00
   62              7834‐44 S Ellis Avenue                                    Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender            $181,378.00
   64           4611‐15 S Drexel Boulevard                                   Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender            $180,000.00
   69              6250 S Mozart Avenue           2832‐36 W 63rd Street      Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender             $40,000.00
   75           7625‐33 S East End Avenue                                    Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender
   76           7635‐43 S East End Avenue                                    Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender             $30,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Steven R. Bald                                                        $45,000.00   Equity Investor           $45,000.00
  124             6801 S East End Avenue                                     Former Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender             $20,000.00
  128              8623‐54 S Ellis Avenue                                    Former Property   Steven R. Bald                                                       $586,378.00 Investor‐Lender             $60,000.00
    4            5450‐52 S Indiana Avenue           118‐132 E Garfield       Estate Property   Steven Roche                                                         $127,821.13 Investor‐Lender              $5,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   Steven Roche                                                         $127,821.13 Investor‐Lender             $42,319.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Steven Roche                                                         $127,821.13 Investor‐Lender             $10,000.00
   72            7024‐32 S Paxton Avenue                                     Estate Property   Steven Roche                                                         $127,821.13 Investor‐Lender              $9,500.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Steven Roche                                                         $127,821.13 Investor‐Lender             $50,000.00
   82            6355‐59 S Talman Avenue          2616‐22 W 64th Street      Estate Property   Steven Roche                                                         $127,821.13 Investor‐Lender             $10,000.00
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street        Estate Property   Steven Roche                                                         $127,821.13 Investor‐Lender             $20,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Steven Trzaska                                                       $167,000.00 Investor‐Lender            $100,000.00
10 to 12                    CCF1                                             Fund              Steven Trzaska                                                       $167,000.00 Investor‐Lender             $67,000.00
   67               1131‐41 E 79th Place                                     Estate Property   Stilwell, Heidi                                                      $125,000.00 Investor‐Lender             $25,000.00
10 to 12                    CCF1                                             Fund              Stilwell, Heidi                                                      $125,000.00 Investor‐Lender            $100,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Strata Trust Company FBO David J Geldart                             $230,621.00 Investor‐Lender
   75           7625‐33 S East End Avenue                                    Estate Property   Strata Trust Company FBO David J Geldart                             $230,621.00 Investor‐Lender
  115              109 N Laramie Avenue                                      Former Property   Strata Trust Company FBO David J Geldart                             $230,621.00 Investor‐Lender
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Strata Trust Company FBO Gary Wayne Williams                          $50,000.00   Equity Investor           $50,000.00
   83            6356 S California Avenue           2804 W 64th Street       Estate Property   Strata Trust Company FBO Vincent Michael Spreuwenberg IRA             $39,976.38 Investor‐Lender             $35,067.00
                                                                                               201207909
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                $70,866.00     Investor‐Lender           $35,655.00
   5             7749 S Yates Boulevard                                      Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                $70,866.00     Investor‐Lender           $23,626.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name              Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                  (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                       Amount in Claim            Form               Property
                                                                                                                                                          Category as
                                                                                                                                                      Identified on Claim
                                                                                                                                                             Form)
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member             $70,866.00 Investor‐Lender             $11,585.00
   67              1131‐41 E 79th Place                                      Estate Property   Stuart Edelman                                                  $167,250.00 Investor‐Lender             $90,000.00
   95            8201 S Kingston Avenue                                      Estate Property   Stuart Edelman                                                  $167,250.00 Investor‐Lender             $75,000.00
   80               2736 W 64th Street                                       Estate Property   Sunshine Bliss LLC                                               $32,800.00 Investor‐Lender             $32,800.00
  123          7107‐29 S Bennett Avenue                                      Former Property   Sunwest Trust Custodian FBO Jose G. Galarza IRA                  $44,789.00 Investor‐Lender             $50,000.00
10 to 12                  CCF1                                               Fund              Sunwest Trust FBO Francis Webb 1510692                           $27,000.00   Equity Investor           $27,000.00
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Sunwest Trust‐FBO Mark P. Mouty                                 $100,000.00   Equity Investor          $100,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Susan Kalisiak                                                  $469,921.00 Investor‐Lender              $9,274.00
    5            7749 S Yates Boulevard                                      Estate Property   Susan Kalisiak                                                  $469,921.00 Investor‐Lender             $48,226.00
    6           6437 S Kenwood Avenue                                        Estate Property   Susan Kalisiak                                                  $469,921.00 Investor‐Lender             $50,000.00
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Susan Kalisiak                                                  $469,921.00 Investor‐Lender             $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Susan Kalisiak                                                  $469,921.00 Investor‐Lender             $40,000.00
  904               SSDF4 Legacy Fund                                        Fund              Susan Kalisiak                                                  $106,000.00   Equity Investor           $50,000.00

   81            4317 S Michigan Avenue                                      Estate Property   SUSAN MARTINEZ                                                 $51,000.00     Investor‐Lender           $50,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Teena B Ploeger                                                $18,500.00     Investor‐Lender           $18,500.00
    1             1700 Juneway Terrace                                       Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $26,513.00
   58          5955 S Sacramento Avenue            2948‐56 W 60th Street     Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $25,000.00
   60             7026 S Cornell Avenue                                      Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $50,000.00
   61             7237 S Bennett Avenue                                      Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $15,000.00
   64          4611‐15 S Drexel Boulevard                                    Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender
   70              638 N Avers Avenue                                        Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender            $2,000.00
   71               701 S 5th Avenue                   414 Walnut            Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $50,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $50,000.00
   86          7442‐48 S Calumet Avenue                                      Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $30,000.00
   92            7748‐50 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $30,000.00
  118             400 S Kilbourn Avenue                                      Former Property   Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $50,000.00
10 to 12                   CCF1                                              Fund              Teresita M. Shelton                                           $426,513.00     Investor‐Lender           $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Terri S. Tracy                                                $265,000.00     Investor‐Lender           $25,000.00
   82           6355‐59 S Talman Avenue            2818‐36 E 78th Street     Estate Property   Terri S. Tracy                                                $265,000.00     Investor‐Lender           $70,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Terri S. Tracy                                                $265,000.00     Investor‐Lender          $120,000.00
   94           816‐20 E Marquette Road                                      Estate Property   Terri S. Tracy                                                $265,000.00     Investor‐Lender           $50,000.00
    6            6437 S Kenwood Avenue                                       Estate Property   Terry L. Merrill, Sheryl R. Merrill                           $299,500.00     Investor‐Lender           $50,000.00
   60             7026 S Cornell Avenue                                      Estate Property   Terry L. Merrill, Sheryl R. Merrill                           $299,500.00     Investor‐Lender           $50,000.00


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                 Alternative Address           Type                                     Claimant Name                   Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                       (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                            Amount in Claim            Form               Property
                                                                                                                                                               Category as
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
  74             3074 Cheltenham Place               7836 S Shore Drive     Estate Property    Terry L. Merrill, Sheryl R. Merrill                                  $299,500.00 Investor‐Lender             $50,000.00
  77          7750‐58 S Muskegon Avenue             2818‐36 E 78th Street   Estate Property    Terry L. Merrill, Sheryl R. Merrill                                  $299,500.00 Investor‐Lender             $49,500.00
  79       6160‐6212 S Martin Luther King Drive                             Estate Property    Terry L. Merrill, Sheryl R. Merrill                                  $299,500.00 Investor‐Lender             $50,000.00
  91              7701 S Essex Avenue                                       Estate Property    Terry L. Merrill, Sheryl R. Merrill                                  $299,500.00 Investor‐Lender             $50,000.00
  64           4611‐15 S Drexel Boulevard                                   Estate Property    Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M               $137,333.33 Investor‐Lender             $50,000.00
                                                                                               McDonald IRA
  88             7546 S Saginaw Avenue                                      Estate Property    Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M             $137,333.33     Investor‐Lender           $87,333.33
                                                                                               McDonald IRA
  901                     SSDF1                                             Fund               Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M             $137,333.33     Equity Investor          $137,333.33
                                                                                               McDonald IRA
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street    Estate Property   Terry M McDonald and Rhonda R McDonald                              $50,000.00     Investor‐Lender           $50,000.00
   61             7237 S Bennett Avenue                                      Estate Property   Teton Equity Group LLC                                             $208,439.99     Investor‐Lender          $100,000.00
   71                701 S 5th Avenue                    414 Walnut          Estate Property   Teton Equity Group LLC                                             $208,439.99     Investor‐Lender          $100,000.00
  N/A                       N/A                                              Other             Texas Comptroller of Public Accounts                                $42,261.72          Other
   68         6217‐27 S Dorchester Avenue                                    Estate Property   TFG Retirement Trust                                               $340,886.77     Investor‐Lender           $50,000.00
  145          4755 S St Lawrence Avenue                                     Former Property   TFG Retirement Trust                                               $340,886.77     Investor‐Lender          $261,376.12
10 to 12                   CCF1                                              Fund              TFG Retirement Trust                                               $340,886.77     Investor‐Lender          $100,000.00
   81            4317 S Michigan Avenue                                      Estate Property   Thaddeus Gala                                                      $100,000.00     Investor‐Lender
    9              8100 S Essex Avenue                                       Estate Property   Thaddeus Gala (Grand Mountain)                                     $100,000.00     Investor‐Lender
   62             7834‐44 S Ellis Avenue                                     Estate Property   Thaddeus Gala (Grand Mountain)                                     $100,000.00     Investor‐Lender
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property   The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner           $25,000.00     Investor‐Lender           $25,000.00
   80               2736 W 64th Street                                       Estate Property   The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner           $25,000.00     Investor‐Lender           $30,000.00
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property   The Edward Falkowitz Living Trust                                  $305,584.73     Investor‐Lender
   90            7656 S Kingston Avenue           2514‐2520 East 77th Street Estate Property   The Edward Falkowitz Living Trust                                  $305,584.73     Investor‐Lender
  120            7823‐27 S Essex Avenue                                      Former Property   The Edward Falkowitz Living Trust                                  $305,584.73     Investor‐Lender
   63          4520‐26 S Drexel Boulevard                                    Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                     $150,000.00     Investor‐Lender           $50,000.00
   71                701 S 5th Avenue                    414 Walnut          Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                     $150,000.00     Investor‐Lender           $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                     $150,000.00     Investor‐Lender           $50,000.00
   76          7635‐43 S East End Avenue                                     Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member               $771,830.76     Investor‐Lender           $80,000.00
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street    Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member               $771,830.76     Investor‐Lender          $150,000.00
  110        5618 S Martin Luther King Drive                                 Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member               $771,830.76     Investor‐Lender          $429,650.00
  152              7635 S Coles Avenue                                       Former Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member               $771,830.76     Investor‐Lender          $105,000.00
    7          7109‐19 S Calumet Avenue                                      Estate Property   The Jacqueline C Rowe Living Trust                                 $372,417.74     Investor‐Lender            $9,000.00
   71                701 S 5th Avenue                    414 Walnut          Estate Property   The Jacqueline C Rowe Living Trust                                 $372,417.74     Investor‐Lender
   82           6355‐59 S Talman Avenue             2616‐22 W 64th Street    Estate Property   The Jacqueline C Rowe Living Trust                                 $372,417.74     Investor‐Lender
   84             7051 S Bennett Avenue                                      Estate Property   The Jacqueline C Rowe Living Trust                                 $372,417.74     Investor‐Lender           $75,000.00


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                                                                                                  Exhibit 6
                                                                                        Master Claims Spreadsheet
                                                                            SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address            Alternative Address           Type                                     Claimant Name                        Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                   (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                        Amount in Claim            Form               Property
                                                                                                                                                           Category as
                                                                                                                                                       Identified on Claim
                                                                                                                                                              Form)
   93       7953‐59 S Marquette Road       2708‐10 E 80th Street   Estate Property    The Jacqueline C Rowe Living Trust                                        $372,417.74 Investor‐Lender
  111         6558 S Vernon Avenue          416‐24 E 66th Street   Estate Property    The Jacqueline C Rowe Living Trust                                        $372,417.74 Investor‐Lender
  118         400 S Kilbourn Avenue                                Former Property    The Jacqueline C Rowe Living Trust                                        $372,417.74 Investor‐Lender             $80,000.00
  122      7616‐7624 S Phillips Avenue                             Former Property    The Jacqueline C Rowe Living Trust                                        $372,417.74 Investor‐Lender             $25,000.00
  904                  SSDF4                                       Fund               The Jacqueline C Rowe Living Trust                                        $372,417.74   Equity Investor
  N/A                   N/A                                        Other              The Kraus Law Firm                                                         $12,010.00    Trade Creditor
  N/A                   N/A                                        Other              The Law Office of Richard K. Hellerman, PC                                 $10,032.67     Independent
                                                                                                                                                                                 Contractor
  77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street   Estate Property    The Mennco Properties, LLC. Solo 401K Plan (by Robert Mennella             $50,000.00 Investor‐Lender             $50,000.00
                                                                                      Managing Partner)
  69          6250 S Mozart Avenue         2832‐36 W 63rd Street   Estate Property    The Mennco Properties, LLC. Solo 401k Plan (Robert Mennella              $14,200.00     Investor‐Lender           $14,200.00
                                                                                      Managing Partner)
   58       5955 S Sacramento Avenue       2948‐56 W 60th Street    Estate Property   The Moore/Ferrer Family 2004 Trust                                     $208,341.66 Investor‐Lender                $50,000.00
   82        6355‐59 S Talman Avenue       2616‐22 W 64th Street    Estate Property   The Moore/Ferrer Family 2004 Trust                                     $208,341.66 Investor‐Lender                $50,000.00
 96‐99         8326‐58 S Ellis Avenue                               Estate Property   The Moore/Ferrer Family 2004 Trust                                     $208,341.66 Investor‐Lender               $100,000.00
   71            701 S 5th Avenue               414 Walnut          Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender              $100,000.00
   75       7625‐33 S East End Avenue                               Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender              $217,100.00
   76       7635‐43 S East End Avenue                               Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender              $217,100.00
   83        6356 S California Avenue       2804 W 64th Street      Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender              $149,212.00
   84         7051 S Bennett Avenue                                 Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender              $175,530.00
   86       7442‐48 S Calumet Avenue                                Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender               $11,121.00
   88         7546 S Saginaw Avenue                                 Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender               $85,500.00
   90         7656 S Kingston Avenue     2514‐2520 East 77th Street Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender               $27,165.00
  111         6558 S Vernon Avenue          416‐24 E 66th Street    Estate Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender              $100,000.00
  118          400 S Kilbourn Avenue                                Former Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender               $95,000.00
  122      7616‐7624 S Phillips Avenue                              Former Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender               $82,650.00
  124         6801 S East End Avenue                                Former Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender               $30,000.00
  150            526 W 78th Street                                  Former Property   The Peter Paul Nuspl Living Trust                                     $1,123,278.00 Investor‐Lender               $50,000.00
  904                   SSDF4                                       Fund              The Peter Paul Nuspl Living Trust                                        $91,237.31   Equity Investor          $1,123,278.00
    9           8100 S Essex Avenue       2449‐57 East 81st Street Estate Property    Therese Tibbits                                                          $77,826.66 Investor‐Lender               $60,000.00
   67           1131‐41 E 79th Place                                Estate Property   Thomas A Connely and Laurie A Connely                                    $55,000.00   Equity Investor             $55,000.00
    4       5450‐52 S Indiana Avenue         118‐132 E Garfield     Estate Property   Thomas F. Gordon                                                       $200,000.00    Equity Investor           $100,000.00
    6        6437 S Kenwood Avenue                                  Estate Property   Thomas F. Gordon                                                         $85,000.00   Equity Investor             $85,000.00
   77      7750‐58 S Muskegon Avenue       2818‐36 E 78th Street    Estate Property   Thomas F. Gordon                                                       $200,000.00    Equity Investor           $100,000.00
   70           638 N Avers Avenue                                  Estate Property   Thomas Walsh                                                             $51,749.99 Investor‐Lender               $50,000.00
    1          1700 Juneway Terrace                                 Estate Property   Thorofare Asset Based Lending REIT Fund IV, LLC                       $2,698,151.51 Institutional Lender


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                                                                                                           Exhibit 6
                                                                                                 Master Claims Spreadsheet
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address            Type                                     Claimant Name                     Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                         (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                              Amount in Claim             Form              Property
                                                                                                                                                                 Category as
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
  101            6949‐59 S Merrill Avenue         2134‐40 East 68th Street   Estate Property   Thorofare Asset Based Lending REIT Fund IV, LLC                     $1,915,706.50 Institutional Lender
    1              1700 Juneway Terrace                                      Estate Property   Tiger Chang Investments LLC                                             $49,000.00 Investor‐Lender             $10,000.00
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Tiger Chang Investments LLC                                              $5,000.00    Equity Investor           $5,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Tiger Chang Investments LLC                                             $49,000.00 Investor‐Lender             $10,000.00
   76          7635‐43 S East End Avenue                                     Estate Property   Tiger Chang Investments LLC                                             $49,000.00 Investor‐Lender             $25,000.00
102‐106           7927‐49 S Essex Avenue                                     Estate Property   Tiger Chang Investments LLC                                             $49,000.00 Investor‐Lender              $4,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   TIMMY RINK                                                                           Investor‐Lender
  123           7107‐29 S Bennett Avenue                                     Former Property   TIMMY RINKJ                                                             $78,048.23 Investor‐Lender
    4           5450‐52 S Indiana Avenue             118‐132 E Garfield      Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
   58          5955 S Sacramento Avenue            2948‐56 W 60th Street     Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
   64          4611‐15 S Drexel Boulevard                                    Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender            $100,000.00
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
   86          7442‐48 S Calumet Avenue                                      Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
   89             7600 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
   92             7748‐50 S Essex Avenue           2450‐52 E 78th Street     Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender            $100,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
102‐106           7927‐49 S Essex Avenue                                     Estate Property   Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
13 to 15                    CCF2                                             Fund              Timothy S Sharp                                                        $650,000.00 Investor‐Lender             $50,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   TMAKINDE, LLC                                                          $247,000.00 Investor‐Lender             $25,000.00
   59          6001 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   TMAKINDE, LLC                                                          $247,000.00 Investor‐Lender            $108,000.00
   70               638 N Avers Avenue                                       Estate Property   TMAKINDE, LLC                                                          $247,000.00 Investor‐Lender            $114,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Todd Colucy                                                             $54,000.02 Investor‐Lender             $50,000.00
  901                      SSDF1                                             Fund              Todd Colucy                                                             $50,000.00    Equity Investor          $50,000.00
    5             7749 S Yates Boulevard                                     Estate Property   Tolu Makinde                                                            $90,000.00 Investor‐Lender             $30,000.00
   70               638 N Avers Avenue                                       Estate Property   Tolu Makinde                                                            $90,000.00 Investor‐Lender             $15,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Tolu Makinde                                                            $90,000.00 Investor‐Lender             $25,000.00
  908                      SSDF8                                             Fund              Tolu Makinde                                                            $90,000.00 Investor‐Lender             $20,000.00
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Top Mark Home Solutions                                                 $30,800.00 Investor‐Lender             $30,000.00
   71                701 S 5th Avenue                   414 Walnut           Estate Property   Toramba Trust (ROTH) Matthew Boyd, Trustee                             $158,000.00 Investor‐Lender             $58,000.00
13 to 15                    CCF2                                             Fund              Toramba Trust (ROTH) Matthew Boyd, Trustee                             $100,000.00    Equity Investor         $100,000.00
   76          7635‐43 S East End Avenue                                     Estate Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member       $1,571,886.00 Investor‐Lender             $520,000.00

  122          7616‐7624 S Phillips Avenue                                   Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member        $1,571,886.00   Investor‐Lender          $435,350.00



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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name                     Claimed Amount      Claim Category as       Amount Claimed
Number                                                                                                                                                      (Total Claimed    Identified on Claim      to be Invested in
                                                                                                                                                           Amount in Claim           Form                  Property
                                                                                                                                                              Category as
                                                                                                                                                          Identified on Claim
                                                                                                                                                                 Form)
  123           7107‐29 S Bennett Avenue                                  Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member       $1,571,886.00 Investor‐Lender               $400,000.00

  152              7635 S Coles Avenue                                    Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member         $1,571,886.00    Investor‐Lender          $105,000.00

  59           6001 S Sacramento Avenue           2945‐51 W 60th Street   Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)                      $135,000.00 Investor‐Lender              $30,000.00
  78            7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)                      $135,000.00 Investor‐Lender              $50,000.00
  85          7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)                      $135,000.00 Investor‐Lender              $30,000.00
  89             7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)                      $135,000.00 Investor‐Lender              $25,000.00
  76           7635‐43 S East End Avenue                                  Estate Property   Trey Hopkins                                                           $100,000.00 Investor‐Lender              $100,000.00
  71                701 S 5th Avenue                  414 Walnut          Estate Property   TruStar Real Estate Solutions, LLC                                      $385,000.00 Investor‐Lender              $75,000.00
  74             3074 Cheltenham Place             7836 S Shore Drive     Estate Property   TruStar Real Estate Solutions, LLC                                      $385,000.00 Investor‐Lender              $75,000.00
  89             7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   TruStar Real Estate Solutions, LLC                                      $385,000.00 Investor‐Lender             $210,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   TruStar Real Estate Solutions, LLC                                      $385,000.00 Investor‐Lender              $25,000.00
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   TSC Trust (Patricia Scully, Trustee)                                     $50,000.00 Investor‐Lender              $50,000.00
   7           7109‐19 S Calumet Avenue                                   Estate Property   U.S. Bank National Association, as Trustee for the Registered         $1,691,737.07 Institutional Lender
                                                                                            Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                            Corp., Multifamily Mortgage Pass‐Through Certificates, Series 2017‐
                                                                                            SB30
  63           4520‐26 S Drexel Boulevard                                 Estate Property   U.S. Bank National Association, as Trustee for the Registered         $4,830,977.15 Institutional Lender
                                                                                            Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                            Corp., Multifamily Mortgage Pass‐Through Certificates, Series 2017‐
                                                                                            SB41
  64           4611‐15 S Drexel Boulevard                                 Estate Property   U.S. Bank National Association, as Trustee for the Registered         $3,697,340.98 Institutional Lender
                                                                                            Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                            Corp., Multifamily Mortgage Pass‐Through Certificates, Series 2017‐
                                                                                            SB41
  65            6751‐57 S Merrill Avenue                                  Estate Property   U.S. Bank National Association, as Trustee for the Registered         $1,604,962.42 Institutional Lender
                                                                                            Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                            Corp., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐
                                                                                            SB50*
  66              7110 S Cornell Avenue                                   Estate Property   U.S. Bank National Association, as Trustee for the Registered         $1,400,491.73 Institutional Lender
                                                                                            Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                            Corp., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐
                                                                                            SB50*
  107             1422 East 68th Street                                   Estate Property   UBS AG                                                                $4,649,579.63 Institutional Lender
  108              2800 E 81st Street                                     Estate Property   UBS AG                                                                $4,649,579.63 Institutional Lender


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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address              Alternative Address            Type                                     Claimant Name     Claimed Amount         Claim Category as     Amount Claimed
Number                                                                                                                                       (Total Claimed       Identified on Claim    to be Invested in
                                                                                                                                            Amount in Claim              Form                Property
                                                                                                                                               Category as
                                                                                                                                           Identified on Claim
                                                                                                                                                  Form)
  109            4750 S Indiana Avenue                                    Estate Property    UBS AG                                              $4,649,579.63    Institutional Lender
  110        5618 S Martin Luther King Drive                              Estate Property    UBS AG                                              $4,649,579.63    Institutional Lender
  111             6558 S Vernon Avenue            416‐24 E 66th Street    Estate Property    UBS AG                                              $4,649,579.63    Institutional Lender
  112              7450 S Luella Avenue           2220 East 75th Street   Estate Property    UBS AG                                              $4,649,579.63    Institutional Lender
  113              7840 S Yates Avenue                                    Estate Property    UBS AG                                              $4,649,579.63    Institutional Lender
  76           7635‐43 S East End Avenue                                  Estate Property    Umbrella Investment Partners                            $72,894.00     Investor‐Lender            $12,833.00
   87              7508 S Essex Avenue            2453‐59 E 75th Street   Estate Property    Umbrella Investment Partners                            $72,894.00     Investor‐Lender            $40,000.00
   95            8201 S Kingston Avenue                                   Estate Property    Umbrella Investment Partners                            $72,894.00     Investor‐Lender             $5,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Umbrella Investment Partners                            $41,500.00      Equity Investor           $40,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Umbrella Investment Partners                            $72,894.00     Investor‐Lender            $12,500.00
   5             7749 S Yates Boulevard                                   Estate Property    United Capital Properties, LLC                         $144,999.00     Investor‐Lender               $979.00
   75          7625‐33 S East End Avenue                                  Estate Property    United Capital Properties, LLC                         $144,999.00     Investor‐Lender             $2,303.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    United Capital Properties, LLC                         $144,999.00     Investor‐Lender            $30,000.00
   84            7051 S Bennett Avenue                                    Estate Property    United Capital Properties, LLC                         $144,999.00     Investor‐Lender            $36,730.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property    United Capital Properties, LLC                         $144,999.00     Investor‐Lender            $11,257.00
  92             7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property    United Capital Properties, LLC                         $144,999.00     Investor‐Lender             $8,730.00
  904               SSDF4 Legacy Fund                                     Fund               United Capital Properties, LLC                         $144,999.00     Investor‐Lender            $55,000.00

    3            5001 S Drexel Boulevard            909 E 50th Street     Estate Property    US Freedom Investments, LLC                          $175,500.00      Investor‐Lender             $17,000.00
   72           7024‐32 S Paxton Avenue                                   Estate Property    US Freedom Investments, LLC                          $175,500.00      Investor‐Lender             $50,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    US Freedom Investments, LLC                          $175,500.00      Investor‐Lender             $25,000.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    US Freedom Investments, LLC                          $175,500.00      Investor‐Lender             $25,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    US Freedom Investments, LLC                          $175,500.00      Investor‐Lender             $25,000.00
   88            7546 S Saginaw Avenue                                    Estate Property    US Freedom Investments, LLC                          $175,500.00      Investor‐Lender              $7,500.00
  901                     SSDF1                                           Fund               US Freedom Investments, LLC                          $175,500.00       Equity Investor           $100,000.00
  904                     SSDF4                                           Fund               US Freedom Investments, LLC                          $175,500.00       Equity Investor            $32,500.00
 13‐15             2909 E 78th Street                                     Fund               US Freedom Investments, LLC                          $175,500.00      Investor‐Lender             $25,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
  89             7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property    Uyen Dinh                                              $15,793.28     Investor‐Lender              $7,192.81
 13‐15             2909 E 78th Street                                     Fund               Vagmi LLC                                              $54,058.32     Investor‐Lender             $50,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue
 13‐15             2909 E 78th Street                                     Fund               Vagmi LLC                                              $27,113.23     Investor‐Lender             $25,000.00
                 7549‐59 S Essex Avenue
               8047‐55 S Manistee Avenue


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                                                                                                         Exhibit 6
                                                                                               Master Claims Spreadsheet
                                                                                   SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address           Type                                     Claimant Name                            Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                              (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                                   Amount in Claim            Form               Property
                                                                                                                                                                      Category as
                                                                                                                                                                  Identified on Claim
                                                                                                                                                                         Form)
10 to 12        7301‐09 S Stewart Avenue                                  Fund               Vagmi, LLC                                                                     $55,484.91 Investor‐Lender             $50,000.00
               7500‐06 S Eggleston Avenue
                  3030‐32 E 79th Street
  79       6160‐6212 S Martin Luther King Drive                           Estate Property    Valery Lipenko                                                               $50,000.00     Investor‐Lender           $50,000.00
  2             4533‐37 S Calumet Avenue                                  Estate Property    Vantage Appraisals 401k Profit Sharing Plan Benef Patricia Mueller           $81,024.17     Investor‐Lender           $55,000.00
                                                                                             Dcd
  904                     SSDF4                                           Fund               Vartan Tarakchyan                                                           $415,000.00      Equity Investor         $415,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Verdell Michaux                                                              $34,000.00      Equity Investor           $5,000.00
   81            4317 S Michigan Avenue                                   Estate Property    Verdell Michaux                                                              $34,000.00      Equity Investor           $4,000.00
  111             6558 S Vernon Avenue             416‐24 E 66th Street   Estate Property    Verdell Michaux                                                              $34,000.00      Equity Investor          $25,000.00
   3             5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Victor Esposito T/A 2E‐LLC I am the manager member and the sole              $50,000.00     Investor‐Lender           $50,000.00
                                                                                             member of 2E‐LLC
  902                     SSDF2                                           Fund               Victor Esposito T/A 2E‐LLC I am the manager member and the sole              $50,000.00     Equity Investor           $50,000.00
                                                                                             member of 2E‐LLC
    3            5001 S Drexel Boulevard            909 E 50th Street     Estate Property    Victor Shaw                                                                 $296,025.03     Investor‐Lender           $50,000.00
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property    Victor Shaw                                                                 $296,025.03     Investor‐Lender           $55,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Victor Shaw                                                                 $296,025.03     Investor‐Lender           $50,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property    Victor Shaw                                                                 $296,025.03     Investor‐Lender           $50,000.00
102‐106          7927‐49 S Essex Avenue                                   Estate Property    Victor Shaw                                                                 $296,025.03     Investor‐Lender           $30,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Victor Shaw                                                                 $296,025.03     Investor‐Lender           $50,000.00
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Viren R Patel                                                                $50,000.00     Investor‐Lender           $50,000.00
   83            6356 S California Avenue          2804 W 64th Street     Estate Property    Virginia Lieblein                                                            $19,551.16     Investor‐Lender           $16,698.33
  109             4750 S Indiana Avenue                                   Estate Property    Virginia Lieblein                                                            $19,551.16     Investor‐Lender            $2,852.83
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property    Virginia S Oton                                                               $9,710.00     Investor‐Lender            $9,710.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property    Vistex Properties LLC                                                       $107,000.02     Investor‐Lender          $100,000.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Vivek Pingili                                                               $150,213.00     Investor‐Lender           $30,000.00
  126         5201‐5207 W Washington Blvd                                 Former Property    Vivek Pingili                                                               $150,213.00     Investor‐Lender          $130,213.00
   1              1700 Juneway Terrace                                    Estate Property    Vladimir Matviishin                                                         $290,200.00     Investor‐Lender            $7,500.00
   2            4533‐37 S Calumet Avenue                                  Estate Property    Vladimir Matviishin                                                         $290,200.00     Investor‐Lender           $51,000.00
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property    Vladimir Matviishin                                                         $290,200.00     Investor‐Lender           $14,000.00
   62             7834‐44 S Ellis Avenue                                  Estate Property    Vladimir Matviishin                                                         $199,075.00     Investor‐Lender           $50,000.00
   64          4611‐15 S Drexel Boulevard                 SSDF1           Estate Property    Vladimir Matviishin                                                         $290,200.00     Investor‐Lender            $8,000.00
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property    Vladimir Matviishin                                                         $290,200.00     Investor‐Lender          $150,000.00
   71               701 S 5th Avenue                   414 Walnut         Estate Property    Vladimir Matviishin                                                         $199,075.00     Investor‐Lender           $55,000.00
   73            7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property    Vladimir Matviishin                                                         $199,075.00     Investor‐Lender           $50,000.00
   74             3074 Cheltenham Place             7836 S Shore Drive    Estate Property    Vladimir Matviishin                                                         $199,075.00     Investor‐Lender           $28,075.00


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                                                                                               Exhibit 6
                                                                                     Master Claims Spreadsheet
                                                                         SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property        Property Address         Alternative Address           Type                                     Claimant Name                             Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                                                     (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                                          Amount in Claim            Form               Property
                                                                                                                                                             Category as
                                                                                                                                                         Identified on Claim
                                                                                                                                                                Form)
   95         8201 S Kingston Avenue                             Estate Property   Vladimir Matviishin                                                            $290,200.00 Investor‐Lender             $20,000.00
  904                  SSDF4                                     Fund              Vladimir Matviishin                                                             $50,000.00   Equity Investor           $50,000.00
   61          7237 S Bennett Avenue                             Estate Property   Vladimir Matviishin, dba Network Expert                                        $165,000.00 Investor‐Lender             $50,000.00
   62          7834‐44 S Ellis Avenue                            Estate Property   Vladimir Matviishin, dba Network Expert                                        $165,000.00 Investor‐Lender             $50,000.00
   64       4611‐15 S Drexel Boulevard                           Estate Property   Vladimir Matviishin, dba Network Expert                                        $165,000.00 Investor‐Lender             $50,000.00
   73         7255‐57 S Euclid Avenue    1940‐44 E 73rd Street   Estate Property   Vladimir Matviishin, dba Network Expert                                        $138,075.00 Investor‐Lender             $50,000.00
   74         3074 Cheltenham Place       7836 S Shore Drive     Estate Property   Vladimir Matviishin, dba Network Expert                                        $138,075.00 Investor‐Lender             $28,075.00
 96‐99         8326‐58 S Ellis Avenue                            Estate Property   Vladimir Matviishin, dba Network Expert                                        $138,075.00 Investor‐Lender             $50,000.00
    1          1700 Juneway Terrace                              Estate Property   VLADIMIR RAUL GARCIA MELIJOV                                                   $100,000.00 Investor‐Lender            $100,000.00
   77      7750‐58 S Muskegon Avenue     2818‐36 E 78th Street   Estate Property   Walter Akita                                                                    $50,000.00 Investor‐Lender             $50,000.00
   63       4520‐26 S Drexel Boulevard                           Estate Property   Walter T Akita and Margaret M Akita                                             $50,000.00   Equity Investor           $50,000.00
   74         3074 Cheltenham Place       7836 S Shore Drive     Estate Property   Walter T Akita and Margaret M Akita                                            $100,000.00 Investor‐Lender             $50,000.00
   88         7546 S Saginaw Avenue                              Estate Property   Walter T Akita and Margaret M Akita                                            $100,000.00 Investor‐Lender             $50,000.00
    4        5450‐52 S Indiana Avenue     118‐132 E Garfield     Estate Property   Wanda M. Behling                                                                $43,719.00 Investor‐Lender             $11,219.00
  906                  SSDF6                                     Fund              Wanda M. Behling                                                                $43,719.00   Equity Investor           $11,219.00
 10‐12                  CCF1                                     Fund              Wanda M. Behling                                                                $43,719.00   Equity Investor           $32,500.00
  124         6801 S East End Avenue                             Former Property   Wayne K Larsen                                                                 $110,000.00   Equity Investor          $110,000.00
  124         6801 S East End Avenue                             Former Property   Wayne K Larsen Diane Larsen                                                    $110,000.00   Equity Investor          $110,000.00
   61          7237 S Bennett Avenue                             Estate Property   Wealth Builders 1, LLC                                                          $50,000.00 Investor‐Lender             $50,000.00
    5         7749 S Yates Boulevard                             Estate Property   Wesley Pittman                                                                 $180,048.45 Investor‐Lender             $32,000.00
   56            8209 S Ellis Avenue                             Estate Property   Wesley Pittman                                                                 $180,048.45 Investor‐Lender             $70,000.00
  123       7107‐29 S Bennett Avenue                             Former Property   Wesley Pittman                                                                 $180,048.45 Investor‐Lender
   73         7255‐57 S Euclid Avenue    1940‐44 E 73rd Street   Estate Property   Wesley Pittman (Pittman Gold LLC)                                              $180,048.45 Investor‐Lender
   75       7625‐33 S East End Avenue                            Estate Property   Wesley Pittman (Pittman Gold LLC)                                              $180,048.45 Investor‐Lender
   87           7508 S Essex Avenue      2453‐59 E 75th Street   Estate Property   Wesley Pittman (Pittman Gold LLC)                                              $180,048.45 Investor‐Lender
   92         7748‐50 S Essex Avenue     2450‐52 E 78th Street   Estate Property   Wesley Pittman (Pittman Gold LLC)                                              $180,048.45 Investor‐Lender
    5          7749 S Yates Boulevard                            Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina            $127,152.37 Investor‐Lender             $50,000.00
                                                                                   Goltsev/Goltseva), Trustees
  60        7026‐42 S Cornell Avenue                             Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina          $127,152.37     Investor‐Lender           $83,000.00
                                                                                   Goltsev/Goltseva), Trustees
  63        4520‐26 Drexel Boulevard                             Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina           $64,634.86     Equity Investor           $50,000.00
                                                                                   Goltsev/Goltseva), Trustees
  72        7024‐32 S Paxton Avenue                              Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina          $127,152.37     Investor‐Lender           $83,000.00
                                                                                   Goltsev/Goltseva), Trustees
  88         7546 S Saginaw Avenue                               Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina          $127,152.37     Investor‐Lender           $17,000.00
                                                                                   Goltsev/Goltseva), Trustees


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                                                                                                            Exhibit 6
                                                                                                  Master Claims Spreadsheet
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address                Alternative Address             Type                                     Claimant Name                             Claimed Amount       Claim Category as     Amount Claimed
Number                                                                                                                                                                  (Total Claimed     Identified on Claim    to be Invested in
                                                                                                                                                                       Amount in Claim            Form                Property
                                                                                                                                                                          Category as
                                                                                                                                                                      Identified on Claim
                                                                                                                                                                             Form)
10 to 12                  CCF1                                               Fund               White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina             $64,634.86   Equity Investor            $30,000.00
                                                                                                Goltsev/Goltseva), Trustees
  N/A                      N/A                                               Other              Whitley Penn LLP                                                             $161,406.22       Trade Creditor
  128             8623‐54 S Ellis Avenue                                     Former Property    Wiegert Tierie                                                               $104,000.00      Investor‐Lender           $10,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    William (Will) J Cook III                                                    $100,000.00      Investor‐Lender
   89            7600 S Kingston Avenue            2527‐29 E 76th Street     Estate Property    William and Janice Halbur                                                     $20,000.00      Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    William B. Dreischmeir                                                                        Investor‐Lender           $60,000.00
    1             1700 Juneway Terrace                                       Estate Property    William H. Akins, Jr.                                                      $1,100,000.00       Equity Investor          $20,000.00
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property    William H. Akins, Jr.                                                      $1,100,000.00       Equity Investor          $10,000.00
   61             7237 S Bennett Avenue                                      Estate Property    William H. Akins, Jr.                                                      $1,100,000.00       Equity Investor          $35,000.00
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property    William H. Akins, Jr.                                                      $1,100,000.00      Investor‐Lender           $50,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    William H. Akins, Jr.                                                      $1,100,000.00       Equity Investor         $110,000.00
  100        11117‐11119 S Longwood Drive                                    Estate Property    William H. Akins, Jr.                                                      $1,100,000.00      Investor‐Lender          $250,000.00
10 to 12          Chicago Capital (CCF1)                                     Fund               William H. Akins, Jr.                                                      $1,100,000.00   Investor‐Lender and          $25,000.00
                                                                                                                                                                                               Equity Investor
  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property    William H. Akins, Jr.                                                      $1,100,000.00       Equity Investor          $50,000.00
   1             1700 Juneway Terrace                                        Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                  $1,100,000.00      Investor‐Lender           $25,000.00
   4           5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                  $1,100,000.00      Investor‐Lender           $20,000.00
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                  $1,100,000.00    Investor‐Lender and         $60,000.00
                                                                                                                                                                                               Equity Investor
   61            7237 S Bennett Avenue                                       Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                  $1,100,000.00      Investor‐Lender          $100,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                  $1,100,000.00      Investor‐Lender           $35,000.00
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                  $1,100,000.00      Investor‐Lender           $10,000.00
   94           816‐20 E Marquette Road                                      Estate Property    William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                  $1,100,000.00      Investor‐Lender          $250,000.00
    1             1700 Juneway Terrace                                       Estate Property    William Hooper                                                                $93,000.00       Equity Investor          $54,800.00
  904                     SSDF4                                              Fund               William Hooper                                                                $93,000.00       Equity Investor          $93,000.00
    2           4533‐37 S Calumet Avenue                                     Estate Property    William Needham                                                              $355,428.00      Investor‐Lender          $169,500.00
   61            7237 S Bennett Avenue                                       Estate Property    William Needham                                                              $355,428.00      Investor‐Lender           $35,000.00
   62             7834‐44 S Ellis Avenue                                     Estate Property    William Needham                                                              $355,428.00      Investor‐Lender          $200,000.00
   71               701 S 5th Avenue                    414 Walnut           Estate Property    William Needham                                                              $355,428.00      Investor‐Lender           $50,000.00
   79      6160‐6212 S Martin Luther King Drive                              Estate Property    William Needham                                                              $355,428.00      Investor‐Lender           $25,000.00
   94           816‐20 E Marquette Road                                      Estate Property    William Needham                                                              $355,428.00      Investor‐Lender            $6,000.00
  126         5201‐5207 W Washington Blvd                                    Former Property    William S Burk                                                                $46,131.08      Investor‐Lender           $50,000.00




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                                                                                                        Exhibit 6
                                                                                              Master Claims Spreadsheet
                                                                                  SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property            Property Address               Alternative Address          Type                                     Claimant Name                          Claimed Amount      Claim Category as     Amount Claimed
Number                                                                                                                                                           (Total Claimed    Identified on Claim    to be Invested in
                                                                                                                                                                Amount in Claim            Form               Property
                                                                                                                                                                   Category as
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
   3             5001 S Drexel Boulevard            909 E 50th Street     Estate Property   Wilmington Trust, National Association, As Trustee For the               $2,879,601.67 Institutional Lender
                                                                                            Registered Holders of Wells Fargo Commercial Mortgage Trust
                                                                                            2014‐LC16, Commercial Mortgage Pass‐Through Certificates, Series
                                                                                            2014‐LC16*
   76          7635‐43 S East End Avenue                                  Estate Property   Winnie Quick Blackwell (née Winnie Jannett Quick)                          $11,000.00     Investor‐Lender           $11,000.00
  130           4511 N Merrimac Avenue                                    Former Property   Wisconsin Real Estate Investment Solutions LLC                            $101,166.49     Investor‐Lender           $25,000.00
  132            9531 S Fairfield Avenue                                  Former Property   Wisconsin Real Estate Investment Solutions LLC                            $101,166.49     Investor‐Lender           $50,000.00
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street   Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   61            7237 S Bennett Avenue                                    Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   64          4611‐15 S Drexel Boulevard                                 Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   84            7051 S Bennett Avenue                                    Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   88            7546 S Saginaw Avenue                                    Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
   94           816‐20 E Marquette Road                                   Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
  100        11117‐11119 S Longwood Drive                                 Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender           $50,000.00
  904               SSDF4 Legacy Fund                                     Fund              Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
  937                Mezzanine Fund                                       Fund              Wisemove Properties LLC, (Anthony and Linda Reid, members)                $668,979.00     Investor‐Lender
    2          4533‐37 S Calumet Avenue                                   Estate Property   Wolff, Cecilia                                                             $73,887.50     Investor‐Lender
   92            7748‐50 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Wolff, Cecilia                                                             $73,887.50     Investor‐Lender
  118             400 S Kilbourn Avenue                                   Former Property   Wolff, Cecilia                                                             $73,887.50     Investor‐Lender
  100        11117‐11119 S Longwood Drive                                 Estate Property   WT Investment Trust (Wiegert Tierie)                                       $18,043.99     Investor‐Lender           $17,350.00
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Xiaoqing Chen                                                              $11,408.33     Investor‐Lender           $10,000.00
    1             1700 Juneway Terrace                                    Estate Property   XUWEN LIN                                                                  $58,700.00     Investor‐Lender            $8,700.00
   71                701 S 5th Avenue                  414 Walnut         Estate Property   XUWEN LIN                                                                  $58,700.00     Investor‐Lender           $16,521.00
   84            7051 S Bennett Avenue                                    Estate Property   XUWEN LIN                                                                  $58,700.00     Investor‐Lender            $8,523.00
   89            7600 S Kingston Avenue           2527‐29 E 76th Street   Estate Property   XUWEN LIN                                                                  $58,700.00     Investor‐Lender           $24,956.00
  904                      SSDF4                                          Fund              Yanicque Michaux                                                           $20,000.00      Equity Investor          $20,000.00
   60             7026 S Cornell Avenue                                   Estate Property   Yaron Fisher                                                              $130,193.00     Investor‐Lender           $11,263.00
  133            4109 N Kimball Avenue                                    Former Property   Yaron Fisher                                                              $130,193.00     Investor‐Lender            $5,203.00
13 to 15                   CCF2                                           Fund              Yaron Fisher                                                              $130,193.00     Investor‐Lender          $108,617.00
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Yin Liu, Ping Xu                                                          $300,000.00     Investor‐Lender          $200,000.00
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Yin Liu, Ping Xu                                                          $300,000.00     Investor‐Lender          $100,000.00
  100        11117‐11119 S Longwood Drive                                 Estate Property   Yin Liu, Ping Xu                                                          $150,000.00      Equity Investor         $100,000.00
   67              1131‐41 E 79th Place                                   Estate Property   Ying Xu (Brainwave Investments)                                           $126,625.00     Investor‐Lender


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                                                                                              Exhibit 6
                                                                                    Master Claims Spreadsheet
                                                                        SEC v. EquityBuild, Inc., et al., Case No. 18‐cv‐5587
Property         Property Address         Alternative Address         Type                                     Claimant Name       Claimed Amount       Claim Category as    Amount Claimed
Number                                                                                                                              (Total Claimed     Identified on Claim   to be Invested in
                                                                                                                                   Amount in Claim            Form               Property
                                                                                                                                      Category as
                                                                                                                                  Identified on Claim
                                                                                                                                         Form)
10 to 12                CCF1                                    Fund              Ying Xu (Brainwave Investments)                          $126,625.00 Investor‐Lender
   61          7237 S Bennett Avenue                            Estate Property   Young Family Trust                                       $115,000.00 Investor‐Lender             $30,000.00
   68       6217‐27 S Dorchester Avenue                         Estate Property   Young Family Trust                                       $115,000.00 Investor‐Lender             $40,000.00
   74         3074 Cheltenham Place       7836 S Shore Drive    Estate Property   Young Family Trust                                       $115,000.00 Investor‐Lender             $45,000.00
   74         3074 Cheltenham Place       7836 S Shore Drive    Estate Property   Yvette Nazaire Camacho                                    $30,000.00 Investor‐Lender             $30,000.00
   61          7237 S Bennett Avenue                            Estate Property   Yvette Sahai                                              $47,048.08 Investor‐Lender
  126      5201‐5207 W Washington Blvd                          Former Property   Yvette Sahai                                              $47,048.08 Investor‐Lender             $28,780.00
    1          1700 Juneway Terrace                             Estate Property   Zahra (Nina) Mofrad                                       $75,000.00 Investor‐Lender             $25,000.00
   62          7834‐44 S Ellis Avenue                           Estate Property   Zahra (Nina) Mofrad                                       $75,000.00 Investor‐Lender             $75,000.00
   84          7051 S Bennett Avenue                            Estate Property   ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI            $402,500.00 Investor‐Lender            $350,000.00
  123        7107‐29 S Bennett Avenue                           Former Property   ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI             $83,178.85 Investor‐Lender            $108,766.67
  100      11117‐11119 S Longwood Drive                         Estate Property   Zouhair and Nada Stephan                                 $300,000.00 Investor‐Lender            $150,000.00
102‐106       7927‐49 S Essex Avenue                            Estate Property   Zouhair and Nada Stephan                                 $300,000.00 Investor‐Lender            $150,000.00




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